Case 22-11068-JTD   Doc 24025-2   Filed 08/29/24   Page 1 of 41




                         Exhibit A

                        Time Entries
                            Case 22-11068-JTD Detail
                                               DocFee24025-2      Filed
                                                      Task Code Billing   08/29/24
                                                                        Report                                Page 2 of 41                                  Page: 1
                                                                 Fee App - Detailed Fees
                                                                 Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill         Amount
Phase ID B112 Asset Disposition
         1368.002   07/02/2024       KAB      0.40             370.00 emails with S&C, M. Pierce and G. Williams re: de minimis asset sale notice; review
                                                                      and revise same; emails with G. Williams, C. Wood and M. Ramirez re: finalization,
                                                                      filing and service of same
         1368.002    07/02/2024     GAW       0.30             135.00 email w. KAB, MRP, and S&C re: De Minimis Sale Notice; emails w. KAB, CRW, and M.
                                                                      Ramirez re: same; review and revise same
         1368.002    07/02/2024      MR       0.40             140.00 finalize and file De Minimis Sale Notice; email with KAB, GAW and CRW re: same
         1368.002    07/02/2024     MRP       0.20             150.00 Email w/ S&C and KAB re: de minimis asset sale notice; review the same
         1368.002    07/02/2024     MRP       0.80             600.00 Emails w/ A&M re: revised exhibits for round 7 claim objection orders (.1); review the
                                                                      same (.6); emails w/ MR re: the same (.1)
         1368.002    07/08/2024      KAB      0.10              92.50 emails with M. Ramirez, M. Pierce, N. Jenner and C. Wood re: status of Japan Private
                                                                      Sale Motion and next steps; emails with S&C, M. Pierce, N. Jenner and C. Wood re:
                                                                      same
         1368.002    07/08/2024     CRW       1.40             553.00 Review and analyze docket and underlying pleadings re: Japan Sale Motion (.4); Draft
                                                                      and revise COC re: Japan Sale Mot. (.5); confer with NEJ re: same and revisions thereto
                                                                      (.3); emails with KAB, MRP, NEJ, GAW and MR re: same (.2)
         1368.002    07/08/2024      NEJ      0.90             540.00 Emails w. KAB, MRP, CRW, M. Ramirez, and MPH re: CNO/COC for FTX Japan private
                                                                      sale motion (.1); confer w. CRW re: same and revisions (.3); Emails w. KAB, MRP, GAW,
                                                                      CRW, and S&C re: same (.1); Review and revise same (.4)
         1368.002    07/12/2024     GAW       0.70             315.00 emails w. KAB, MRP, NEJ, CRW, and S&C re: COC for Japan Private Sale Motion (.2);
                                                                      call w. CRW re: same (.1); revise same (.2); emails w. KAB, MRP, NEJ and CRW re: same
                                                                      and consider issues (.2)
         1368.002    07/12/2024     CRW       0.20              79.00 Emails on Japan Private Sale Motion with KAB, MRP, NEJ, GAW, and S&C; Call with
                                                                      GAW re: same
         1368.002    07/12/2024     KAB       0.10              92.50 emails with M. Pierce, G. Williams, C. Wood and S&C re: Japan Private Sale Motion
         1368.002    07/12/2024     MRP       0.40             300.00 Emails w/ S&C re: Japan sale motion and status of the same; email w/ GAW re:
                                                                      Certification of Counsel for Japan sale motion; review and comment on draft of the
                                                                      same
         1368.002    07/15/2024     CRW       1.30             513.50 Review, revise and finalize Japan Sale Certification of Counsel (.2) and exhibits thereto
                                                                      (.7); Emails with KAB, MRP, GAW and S&C re: same (.2); emails with KAB, MRP, GAW
                                                                      and M. Ramirez re: same and filing issues (.2)
         1368.002    07/15/2024     GAW       0.50             225.00 emails w. KAB, MRP, NEJ, CRW and S&C re: COC for Japan Sale motion; emails w.
                                                                      KAB, MRP, NEJ, CRW and M. Ramirez re: same; review and revise same and exhibits
                                                                      thereto
         1368.002    07/15/2024       MR      0.70             245.00 finalize and file COC for Japan Sale Motion (.3); upload PFO re: FTX Japan Sale
                                                                      pursuant to Chambers procedures (.1); emails with MRP and GAW re: same (.1);
                                                                      emails with KAB, MRP, CRW and GAW re: finalization and filing of Japan Sale Motion
                                                                      COC (.2)
         1368.002    07/15/2024     KAB       0.30             277.50 emails with LRC team re: Japan sale order and COC, and review order
         1368.002    07/15/2024      MR       0.40             140.00 finalize and file Certification of Counsel re: sale motion
         1368.002    07/15/2024     MRP       0.60             450.00 Review revised Japan sale PFO (.3); emails w/ LRC re: finalizing Certification of Counsel
                                                                      w/r/t the same (.1); review compiled filing version or Certification of Counsel and
                                                                      revised sale order (.2)
         1368.002    07/16/2024    MBM        3.80           3,895.00 review and analyze WLD token offering documents and warrants (3.6); emails with
                                                                      A&M re: same (.2)
         1368.002    07/16/2024      NEJ      0.60             360.00 Analyze service needs for Japan sale/dismissal order (.4); Emails w. KAB, MRP, GAW,
                                                                      and CRW re: same (.1); Emails w. KAB, GAW, CRW, and S&C re: same (.1)
         1368.002    07/16/2024     MPH       0.10              35.00 Review and analyze Order Authorizing and Approving Sale of Debtors' Interests in
                                                                      FTX Japan K.K.; Email exchange with AGl, MBM, KAB, MRP, NEJ, HWR, GAW, CRW, ER
                                                                      & MR re: same
         1368.002    07/17/2024    MBM        3.80           3,895.00 continue to review and analyze WLD original docs (1.8) and review and analyze
                                                                      amendment (1.3) and consider lock up issues (.7)
         1368.002    07/22/2024    MBM        1.00           1,025.00 review and revise CPSA (.9); emails with A&M re: same (.1)
         1368.002    07/24/2024    MBM        2.30           2,357.50 call with A&M re: WLD tokens (.2); research re: same (2.1)
         1368.002    07/28/2024    MBM        2.90           2,972.50 draft and revise memorandum to A&M re: token sales and lock ups

Total for Phase ID B112           Billable   24.20       19,758.00 Asset Disposition

Phase ID B114 Assumption/Rejection of Leases and Contracts
         1368.002  07/01/2024    KAB          0.20            185.00 emails with Latham, S&C, M. Pierce and N. Jenner re: contract issue and consider
                                                                     same
         1368.002    07/01/2024     NEJ       0.10             60.00 Emails w. Latham, S&C, KAB and MRP re: contract issue and consider same
         1368.002    07/01/2024     MRP       0.20            150.00 Emails w/ S&C and KAB re: contract rejection issue; email w/ Latham, S&C and KAB
                                                                     re: the same
                            Case 22-11068-JTD Detail
                                               DocFee24025-2      Filed
                                                      Task Code Billing   08/29/24
                                                                        Report                               Page 3 of 41                                  Page: 2
                                                                 Fee App - Detailed Fees
                                                                 Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill         Amount
Phase ID B114 Assumption/Rejection of Leases and Contracts

Total for Phase ID B114           Billable    0.50            395.00 Assumption/Rejection of Leases and Contracts

Phase ID B120 Business Operations
         1368.002   07/01/2024     NEJ        0.60            360.00 Calls w. GAW re: open items and next steps (.3); Calls w. CRW re: same (.3)
         1368.002   07/01/2024 GAW            0.30            135.00 calls w. NEJ re: open items and next steps
         1368.002   07/01/2024    CRW         0.30            118.50 Calls with NEJ re: open items and next steps
         1368.002   07/02/2024     KAB        0.20            185.00 discussion with G. Williams re: open items and next steps
         1368.002   07/02/2024 GAW            0.20             90.00 discussion w. KAB re: open items and next steps
         1368.002   07/02/2024      MR        0.10             35.00 review email from GAW re: open items and consider action items
         1368.002   07/08/2024      MR        0.30            105.00 confer with GAW re: open items and deadlines
         1368.002   07/08/2024     KAB        0.60            555.00 discussion with G. Williams re: open issues
         1368.002   07/08/2024 GAW            1.00            450.00 confer w. KAB re: open issues (.6); emails (.1) and confer w. MR re: open items and
                                                                     upcoming deadlines (.3)
         1368.002    07/09/2024      KAB      0.20            185.00 discussion with G. Williams re: open issues
         1368.002    07/09/2024     GAW       0.20             90.00 confer w. KAB re: open items
         1368.002    07/11/2024     GAW       0.30            135.00 confer w. MRP & CRW re: open items
         1368.002    07/11/2024     CRW       0.30            118.50 Confer with MRP and GAW re: open items
         1368.002    07/16/2024     MRP       0.40            300.00 Confer w/ KAB and NEJ re: upcoming filings and action items
         1368.002    07/16/2024     GAW       1.00            450.00 Consider and analyze upcoming deadlines, date and unresolved matters (.3); confer
                                                                     w. M. Ramirez re: same (.1); confer w. KAB re: open items (.3); discuss strategy re:
                                                                     upcoming filings and case deadlines w. EAR and CRW (.3)
         1368.002    07/16/2024      KAB      0.30            277.50 discussion with G. Williams re: open issues
         1368.002    07/16/2024       MR      0.10             35.00 confer with GAW re: upcoming deadlines and pending matters
         1368.002    07/16/2024      KAB      0.40            370.00 confer with M. Pierce and N. Jenner re: upcoming filings and action items
         1368.002    07/16/2024      NEJ      0.40            240.00 Confer w. KAB and MRP re: upcoming filings and action items
         1368.002    07/17/2024      NEJ      0.20            120.00 Confer w. KAB re: open items and next steps
         1368.002    07/17/2024      KAB      0.20            185.00 confer with N. Jenner re: open items and next steps
         1368.002    07/19/2024     GAW       0.70            315.00 confer w. E. Rogers re: upcoming deadlines and next steps and action items
         1368.002    07/19/2024      EAR      0.70            374.50 confer w. GAW re: open matters, upcoming deadlines and action items (.7)
         1368.002    07/22/2024     GAW       1.00            450.00 review and analyze open items and upcoming deadlines (.6); emails w. M. Ramirez re:
                                                                     same (.1); confer w. MRP re: same (.3)
         1368.002    07/22/2024      MR       0.10             35.00 confer with GAW re: open items
         1368.002    07/22/2024     MRP       0.30            225.00 Discussions w/ GAW re: open issues and action items
         1368.002    07/29/2024     GAW       0.70            315.00 confer w. M. Ramirez re: critical dates (.2); confer w. EAR re: upcoming deadlines (.2);
                                                                     confer w. KAB & EAR re: open items and next steps (.3)

Total for Phase ID B120           Billable   11.10           6,254.00 Business Operations

Phase ID B122 Case Administration
         1368.002   07/01/2024    CRW         2.40            948.00 Draft 7.1.24 Service Instructions including review of main and adversary dockets re:
                                                                     same (1.3); review and analyze local rules for certain notice requirements (.5); emails
                                                                     with KAB, HWR, GAW, S&C, and Kroll re: same (.3); confer with GAW re: same (.2);
                                                                     email with HWR and GAW re: adversary service (.1)
         1368.002    07/01/2024     GAW       0.70            315.00 confer w. CRW re: service instructions (.2); emails w. HWR and CRW re: adv. service
                                                                     instructions (.1); review main docket re: service issues (.2); email w. KAB, MRP, NEJ,
                                                                     S&C and A&M re: same (.1); email/discussion w. KAB re: same (.1)
         1368.002    07/01/2024      KAB      0.20            185.00 emails and discussions with G. Williams re: 7/1 service instructions; emails with Kroll,
                                                                     S&C, M. Pierce, G. Williams and C. Wood re: same
         1368.002    07/01/2024     HWR       0.20            107.00 Emails w/ CRW and GAW re: service instructions for 7/1 adversary filings and review
                                                                     and revise draft of same
         1368.002    07/02/2024     CRW       2.10            829.50 Draft 7.2 Service Instructions including review of dockets for same (.9); discussions
                                                                     with GAW re: same (.2); emails and call with KAB re: same (.2); emails with KAB, NEJ,
                                                                     GAW, NEJ, S&C, and Kroll re: same (.4); discussion with HWR and GAW re: adversary
                                                                     instructions (.2); emails and confer with KAB and GAW re: service instructions (.2)
         1368.002    07/02/2024     GAW       1.90            855.00 discussions w. CRW re: service instructions (.2); emails w. CRW & HWR re: adv. service
                                                                     (.2); emails and discussions w. KAB and CRW re: service instructions (.2); review main
                                                                     docket and underlying materials to revise service instructions (1.0); emails w. KAB,
                                                                     CRW and S&C re: same (.2); email w. KAB, MRP, CRW, S&C and Kroll re: 7/2 service
                                                                     instructions (.1)
         1368.002    07/02/2024      KAB      0.30            277.50 discussion and emails with G. Williams and C. Wood re: 7/2 service instructions;
                                                                     emails with Kroll, S&C, M. Pierce, G. Williams and C. Wood re: same
         1368.002    07/02/2024     HWR       0.30            160.50 Emails and confer w/ GAW and CRW re: service of adversary filings
                           Case 22-11068-JTD Detail
                                              DocFee24025-2      Filed
                                                     Task Code Billing   08/29/24
                                                                       Report                       Page 4 of 41                                   Page: 3
                                                      Fee App - Detailed Fees
                                                      Landis Rath & Cobb LLP

                         Trans          Hours
           Client         Date   Tkpr   to Bill    Amount
Phase ID B122 Case Administration
         1368.002   07/03/2024 GAW       0.40       180.00 review main docket re: 7/3 service instructions; emails w. HWR & CRW re: adv. service;
                                                           confer w. CRW re: same
        1368.002    07/03/2024   CRW     0.50       197.50 Review dockets re: service; emails with HWR and GAW re: adversary service
                                                           instructions for 7.3.24; confer with GAW re: same
        1368.002    07/03/2024   HWR     0.10        53.50 Emails w/ GAW and CRW re: 7/3 adv. service
        1368.002    07/05/2024   CRW     0.80       316.00 Draft 7.5 Service Instructions (.2) and review of dockets for same (.4); confer with
                                                           GAW re: same (.1); emails with MRP, KAB, GAW, S&C and Kroll re: same (.1)
        1368.002    07/05/2024   GAW     0.60       270.00 emails w. HWR & CRW re: 7/5 adv. service instructions (.2); confer w. CRW re: same
                                                           (.1); review and analyze main docket re: same (.2); emails w. MRP, GAW, CRW, Kroll,
                                                           A&M and S&C re: 7/5 service instructions (.1)
        1368.002    07/05/2024   KAB     0.10        92.50 emails with G. Williams, C. Wood, M. Pierce, Kroll, A&M and S&C re: 7/5 service
                                                           instructions
        1368.002    07/06/2024   GAW     1.60       720.00 review and analyze open matters and upcoming deadlines (.9); draft summary of
                                                           same (.7)
        1368.002    07/08/2024   CRW     1.90       750.50 Draft, review and revise service instructions for 7.8.24 (.5); review dockets re: same (.9)
                                                           emails with KAB, MRP, NEJ, HWR, GAW, S&C and Kroll re: same (.2); confer with NEJ
                                                           re: same (.2); emails with HWR re: adversary service (.1)
        1368.002    07/08/2024   HWR     0.30       160.50 Emails w/ GAW, CRW, KAB and MRP re: draft service instructions for 7/8 adversary
                                                           filings and review and revise same and emails w/ Kroll, S&C, KAB, MRP, GAW and
                                                           CRW re: service of 7/8 filings
        1368.002    07/08/2024   NEJ     0.80       480.00 Confer w. CRW re: 7-8 service instructions (.2); Review main docket re: same (.3);
                                                           Review and revise same (.3)
        1368.002    07/09/2024   KAB     0.10        92.50 emails with M. Ramirez, E. Rogers and M. Pierce re: critical dates updates, review and
                                                           revision
        1368.002    07/09/2024   CRW     1.60       632.00 Draft and revise 7.9.24 Service Instructions (.4); review dockets re: same (.7); emails
                                                           with KAB, MRP, NEJ, GAW, S&C, and Kroll re: same (.3); discussion with GAW re: same
                                                           (.2)
        1368.002    07/09/2024    MR     2.00       700.00 review and update critical dates memo (1.4); emails with KAB and ER re: same (.1);
                                                           multiple discussions w. EAR re: updates and revisions (.5)
        1368.002    07/09/2024   GAW     1.50       675.00 confer w. CRW re: service instructions (.2); review main docket re: same (.4); emails w.
                                                           MRP, NEJ, HWR, CRW re: service (.2); emails w. HWR & CRW re: adv. service
                                                           instruction (.1); review and analyze rules re: noticing and service issues (.5); emails w.
                                                           KAB, MRP, NEJ, HWR, S&C and Kroll re: service (.1)
        1368.002    07/09/2024   EAR     2.20     1,177.00 Review and revise critical dates memorandum including review of underlying filings
                                                           with respect to the same (1.5); emails w/ KAB and MR re: same (.2); multiple
                                                           discussions w. MR re: certain updates and revisions to same (.5)
        1368.002    07/09/2024   HWR     0.30       160.50 Emails w/ GAW and CRW re: draft service instructions for 7/9 adversary filings and
                                                           review and revise same; emails w/ Kroll, S&C, KAB, MRP, GAW and CRW re: service of
                                                           7/9 filings
        1368.002    07/09/2024   HWR     0.10        53.50 Emails w/ KAB, MRP, EAR, GAW, CRW and MR re: critical dates and upcoming
                                                           deadlines in FTX adversaries
        1368.002    07/10/2024   GAW     1.50       675.00 confer w. MRP re: service for noncustomer claim objections (.3); emails w. KAB, MRP,
                                                           NEJ, CRW, S&C and Kroll re: noncustomer claim objections and draft service
                                                           instructions thereto (.5); review local rules re: same (.3); call w. CRW re: 7.10 service
                                                           instructions (.2); emails w. MRP, KAB, NEJ, CRW, S&C and Kroll re: same (.1); call w.
                                                           CRW re: same (.1)
        1368.002    07/10/2024   KAB     0.10        92.50 emails with Kroll, A&M, S&C, M. Pierce, G. Williams and C. Wood re: service of
                                                           non-customer claim objs and related issues
        1368.002    07/10/2024   CRW     1.80       711.00 Draft and revise 7.10 general service instructions (.3) and review dockets re: same
                                                           (1.0); confer with GAW re: claim obj. service (.2); emails with MRP, KAB, NEJ, GAW,
                                                           S&C and Kroll re: same (.2); call with GAW re: same (.1)
        1368.002    07/10/2024   KAB     0.20       185.00 emails and discussions with E. Rogers and M. Ramirez re: critical date revisions,
                                                           updates and issues
        1368.002    07/10/2024   EAR     0.20       107.00 Discussions and emails w. KAB and MR re: critical dates and case managment
                                                           planning
        1368.002    07/11/2024    MR     0.30       105.00 update critical dates; emails and discussions with KAB, ER and MPH re: same
        1368.002    07/11/2024   CRW     1.30       513.50 Draft and revise 7.11 Service instructions (.3) and review dockets re: same (.4); email
                                                           and discussions with GAW re: same (.2) emails with MRP, KAB, NEJ, HWR, GAW, S&C,
                                                           and Kroll re: same (.2); confer with HWR re: adversary service (.2)
        1368.002    07/11/2024   GAW     0.70       315.00 email and discussions w. CRW re: 7/11 service instructions (.2); email w. HWR & CRW
                                                           re: adv. service (.2); review main docket re: same (.3)
        1368.002    07/11/2024   KAB     1.80     1,665.00 emails with LRC team re: updates to critical dates and revised memos (.1); review and
                                                           revise attached critical dates memo (1.7)
                           Case 22-11068-JTD Detail
                                              DocFee24025-2      Filed
                                                     Task Code Billing   08/29/24
                                                                       Report                     Page 5 of 41                                  Page: 4
                                                      Fee App - Detailed Fees
                                                      Landis Rath & Cobb LLP

                         Trans          Hours
           Client         Date   Tkpr   to Bill    Amount
Phase ID B122 Case Administration
         1368.002   07/11/2024 MPH       0.40      140.00 Review and analyze docket and file; Update Calendar & Critical dates Memo re: same;
                                                          Email exchange with KAB, MRP, GAW, CRW, ER & MR re: same
        1368.002    07/11/2024   MRP     0.30      225.00 Email w/ CRW re: service instructions; review and comment on service plan of recently
                                                          filed items; emails w/ Kroll and CRW re: the same
        1368.002    07/12/2024   HWR     0.20      107.00 Emails w/ NEJ, GAW and CRW and call w/ NEJ re: draft adversary service instructions
                                                          for 7/12 filings and emails w/ Kroll, S&C, KAB, MRP, NEJ and GAW re: service of 7/12
                                                          filings
        1368.002    07/12/2024    NEJ    0.50      300.00 Emails w. GAW, CRW and HWR re: 7-12 service instructions; call w. HWR re: adversary
                                                          service; prepare same; emails w. KAB, MRP, GAW, CRW, HWR, S&C and Kroll re: same
        1368.002    07/12/2024   EAR     0.80      428.00 Review and revise critical dates memo, including review of underlying filings
        1368.002    07/12/2024   MRP     0.20      150.00 Email w/ NEJ re: service instructions; review and comment on the same; email w/ Kroll
                                                          re: service of recently filed items
        1368.002    07/15/2024   CRW     0.50      197.50 Review and revise Critical Dates in main case and consider next steps; confer with
                                                          GAW re: same
        1368.002    07/15/2024   KAB     0.20      185.00 emails with counsel to customer re: change of address, notice of transfer and related
                                                          issues; emails with S&C, A&M, M. Pierce and N. Jenner; analyze same
        1368.002    07/15/2024   CRW     0.80      316.00 Review and analyze upcoming filings, deadlines and responses, open items and next
                                                          steps re: adversary deadlines (.7); confer with GAW re: same (.1)
        1368.002    07/15/2024   GAW     0.40      180.00 review and analyze open items and upcoming deadlines related to adversaries; confer
                                                          w. CRW re: same
        1368.002    07/15/2024   CRW     2.30      908.50 Draft 7.15 Service Instructions (.6) and review dockets in connection with same (1.1);
                                                          review rules re: same (.3); confer with NEJ re: same (.2); emails with MRP, NEJ, HWR,
                                                          GAW, S&C and Kroll re: same (.1)
        1368.002    07/15/2024   HWR     0.10       53.50 Emails w/ NEJ, CRW, GAW and MRP re: draft service instructions for 7/15 adversary
                                                          filings and review/analyze same
        1368.002    07/15/2024    NEJ    0.70      420.00 Emails w. HWR, GAW and CWR re: 7-15 service instructions (.1); confer w. CRW re:
                                                          same (.2); review and revise instructions (.4)
        1368.002    07/15/2024   MPH     0.20       70.00 Update Calendar & Case Tracker re: Pre-trial Conference Adjourned to August
                                                          Omnibus Hearing; Email exchange with HWR & MR re: same
        1368.002    07/15/2024   MRP     0.40      300.00 Emails w/ CRW re: service instructions; review and revise the same; emails w/ CRW
                                                          and Kroll re: service instructions
        1368.002    07/15/2024   MRP     0.70      525.00 Analyze upcoming critical dates and deadline
        1368.002    07/15/2024   MRP     0.30      225.00 Emails w/ DPW re: claim objection and related issues; emails w/ A&M re: the same
        1368.002    07/16/2024   EAR     0.80      428.00 Review upcoming filings and case deadlines and consider next steps (.5); discuss
                                                          strategy and next steps re: the same w. GAW and CRW (.3)
        1368.002    07/16/2024   CRW     1.60      632.00 Draft and revise 7.16 Service Instructions (.4) review dockets re: same (.8); confer with
                                                          NEJ re: adv. service (.2); emails with KAB, MRP, NEJ, GAW, S&C and Kroll re: same (.1);
                                                          emails w/ KAB, MRP and NEJ re: service issues (.1)
        1368.002    07/16/2024   HWR     0.20      107.00 Confer w/ CRW and NEJ re: adv. service instructions for 7/16 filings
        1368.002    07/16/2024    KAB    0.30      277.50 multiple emails with M. Pierce, N. Jenner and C. Wood re: service issues; emails with
                                                          S&C and LRC teams re: same; emails with Kroll, S&C, and LRC teams re: same;
                                                          consider same
        1368.002    07/16/2024    NEJ    0.40      240.00 Confer w. CRW re: adv. service; emails w. KAB, MRP, GAW, CRW, S&C and Kroll re:
                                                          same; emails w. LRC re: service issues
        1368.002    07/16/2024   CRW     0.30      118.50 Discuss strategy re: upcoming filings and case deadlines with GAW and EAR
        1368.002    07/16/2024   MRP     0.50      375.00 Emails w/ NEJ re: service plan of orders and recently filed items; review and comment
                                                          on service plan of the same; emails w/ CRW and Kroll re: service instructions
        1368.002    07/17/2024   CRW     1.30      513.50 Draft 7.17 Service Instructions (.4) and review dockets re: same (.5); confer with NEJ
                                                          re: same (.1); emails with KAB, MRP, NEJ, GAW, S&C and Kroll re: same (.2); emails w.
                                                          NEJ, HWR & GAW re: adversary service instructions (.1)
        1368.002    07/17/2024    NEJ    0.30      180.00 Confer w. CRW re: 7-17 service instructions; emails w. CRW and HWR re: same; emails
                                                          w. Kroll, S&C, KAB, MRP and CRW re: same
        1368.002    07/17/2024   HWR     0.10       53.50 Emails w/ NEJ, GAW, and CRW re: draft adv. service instruction for 7/17 filings
        1368.002    07/18/2024   CRW     0.50      197.50 Review docket for 7.18.24 Service Instructions and draft same; confer with HWR and
                                                          GAW re: adv. service; emails with KAB, MRP, NEJ, HWR, GAW, S&C and Kroll re: same
        1368.002    07/18/2024    KAB    0.10       92.50 emails with Kroll, S&C, and M. Pierce re: case website and related issues
        1368.002    07/18/2024   CRW     1.00      395.00 Review and revise critical dates to prepare for upcoming filings, deadlines and
                                                          responses, open items and next steps (.8); email and discussion with GAW re: same
                                                          (.2)
        1368.002    07/18/2024   MRP     0.20      150.00 Emails w/ GAW, CRW, HWR and KAB re: service of recently filed items; review and
                                                          comment on service instructions; emails w/ Kroll re: the same
        1368.002    07/18/2024   HWR     0.40      214.00 Review draft adv. service instructions for 7/18 filings and emails w/ CRW, GAW, MRP,
                                                          KAB, S&C and Kroll re: same; confer w. GAW and CRW re: same
                           Case 22-11068-JTD Detail
                                              DocFee24025-2      Filed
                                                     Task Code Billing   08/29/24
                                                                       Report                     Page 6 of 41                                  Page: 5
                                                      Fee App - Detailed Fees
                                                      Landis Rath & Cobb LLP

                         Trans          Hours
           Client         Date   Tkpr   to Bill    Amount
Phase ID B122 Case Administration
         1368.002   07/18/2024 GAW       0.20       90.00 confer w. HWR and CRW re: adv. service; emails w. KAB, MRP, NEJ, HWR, CRW, S&C
                                                          and Kroll re: same
        1368.002    07/18/2024   GAW     0.20       90.00 email and discussion w. CRW re: upcoming filings, deadlines, open items and next
                                                          steps
        1368.002    07/18/2024   MRP     0.10       75.00 Emails w/ Kroll, S&C, and KAB re: case website and related issues
        1368.002    07/19/2024   CRW     0.50      197.50 Review dockets; draft 7.19.24 service instructions; emails with GAW re: same
        1368.002    07/19/2024   GAW     0.40      180.00 emails w. CRW re: service instructions; review main docket re: same; confer w. MBM
                                                          re: adversary service; email w. KAB, MRP and CRW re: same
        1368.002    07/19/2024    EAR    0.50      267.50 Review and revise critical dates tracker; draft summary of upcoming tasks list
        1368.002    07/22/2024   GAW     0.50      225.00 review docket re: 7/22 service instructions; email w. HWR & CRW re: adv. service;
                                                          emails w. MRP, HWR and CRW re: same; email w. MRP, HWR, CRW, S&C and Kroll re:
                                                          same
        1368.002    07/22/2024   HWR     0.30      160.50 Emails w/ GAW and CRW re: draft adv. service instructions for 7/22 filings; review and
                                                          revise same; emails w/ S&C, Kroll, KAB, MRP, GAW and CRW re: service of same
        1368.002    07/22/2024   EAR     1.10      588.50 Review and revise critical dates memorandum (.8); update 30-60 day task list (.2);
                                                          emails w. MPH re: the same (.1)
        1368.002    07/22/2024   CRW     0.70      276.50 Draft and revise 7.22 Service Instructions (.5); email w/ HWR and GAW re: adversary
                                                          service (.1); emails with KAB, MRP, HWR, GAW, S&C and Kroll re: same (.1)
        1368.002    07/23/2024   GAW     1.60      720.00 discussion w. EAR and CRW re: upcoming deadlines and next steps (.4); confer w. EAR,
                                                          CRW and M. Ramirez re: open items and updates to calendars and critical dates
                                                          memo (.4); confer w. CRW re: critical dates and action items (.4); review and revise
                                                          critical dates memo (.4)
        1368.002    07/23/2024   EAR     0.80      428.00 Confer w. GAW, MR and CRW regarding open items (.4); Confer w. GAW and CRW re:
                                                          upcoming deadlines and next steps (.4)
        1368.002    07/23/2024    MR     0.40      140.00 discussion with GAW, CRW and ER re: open items and updates to critical dates and
                                                          calendar
        1368.002    07/23/2024   CRW     1.70      671.50 Discussion with EAR and GAW re: open items and next steps (.4); confer with EAR,
                                                          GAW, and M. Ramirez re: same and critical dates updates (.4); confer with GAW re:
                                                          upcoming filings and action items (.5); review critical dates for upcoming filings,
                                                          response deadlines, open items and next steps (.4)
        1368.002    07/23/2024   GAW     0.60      270.00 email w. HWR & CRW re: adv. service instructions (.1); review and analyze main
                                                          docket re: same (.3); emails w. KAB, MRP, NEJ, and CRW re: 6/23 service instructions
                                                          (.1); emails w. KAB, MRP, NEJ, CRW, S&C and Kroll re: 6/23 service instructions (.1)
        1368.002    07/23/2024   CRW     0.90      355.50 Draft 7.23 Service Instructions (.2); review and analyze docket re: same (.5); emails w.
                                                          GAW and HWR re: adversary service (.1); emails w. KAB, MRP, NEJ, HWR, GAW, S&C
                                                          and Kroll re: same (.1)
        1368.002    07/23/2024   HWR     0.10       53.50 Emails w/ CRW and GAW re: draft service instructions for 7/23
        1368.002    07/23/2024   MPH     0.80      280.00 Review, analyze and update Critical Dates Memo (.7); Email exchange with ER re:
                                                          same (.1)
        1368.002    07/24/2024   HWR     0.40      214.00 Review and analyze draft adv. service instructions for 7/24 filings; revise same; emails
                                                          w/ GAW and CRW re: same; emails w/ Kroll, S&C, MRP, GAW and CRW re: service of
                                                          same
        1368.002    07/24/2024   CRW     1.30      513.50 Draft 7.24 service instructions (.2); review dockets re: same (.5); email with HWR and
                                                          GAW re: adversary service (.1); emails with KAB, MRP, HWR, GAW, S&C and Kroll re:
                                                          same (.3); confer with GAW re: same (.2)
        1368.002    07/24/2024   GAW     0.90      405.00 email w. HWR and CRW re: 7/24 adv. service instructions (.1); confer w. CRW re: same
                                                          (.2); review docket re: same (.3); review and revise service instructions (.1); emails w.
                                                          MRP, HWR, CRW, S&C and Kroll re: same (.2)
        1368.002    07/25/2024   CRW     0.50      197.50 Confer with EAR and MPH re: critical dates for upcoming filings, response deadlines,
                                                          open items and next steps; emails with GAW and EAR re: same
        1368.002    07/25/2024   EAR     1.20      642.00 Review/revise critical dates memorandum, including review of underlying documents
                                                          (.7); email re: revisions to same w. MPH (.1), discussion w. CRW and MPH re: critical
                                                          dates memorandum (.4)
        1368.002    07/25/2024   GAW     0.30      135.00 review docket re: service instructions; confer w. CRW re: same
        1368.002    07/25/2024   MPH     0.40      140.00 Update Calendar & Critical Dates Memo re: Maps Vault & Fondation/Serendipity
                                                          District Court Appeals; Email exchange with MR re: same; emails with EAR re: critical
                                                          dates revisions
        1368.002    07/25/2024    MR     0.10       35.00 email with Bankrupcty help desk re docket correction
        1368.002    07/25/2024   CRW     0.10       39.50 Confer with GAW re: service instructions
        1368.002    07/26/2024   CRW     0.90      355.50 Draft 7.26 Service Instructions (.4); review dockets re: same (.3); emails with HWR and
                                                          GAW re: adv. service (.1); emails with KAB, MRP, HWR, GAW, S&C and Kroll re: adv.
                                                          service instructions (.1)
        1368.002    07/26/2024   GAW     1.10      495.00 emails w. HWR & CRW re: adv. service instructions (.1); emails w. CRW re: same (.2);
                            Case 22-11068-JTD Detail
                                               DocFee24025-2      Filed
                                                      Task Code Billing   08/29/24
                                                                        Report                                 Page 7 of 41                                     Page: 6
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans               Hours
            Client         Date      Tkpr     to Bill    Amount
Phase ID B122 Case Administration
                                                                 review main docket and related materials re: same (.5); review and revise service
                                                                 instructions (.3)
         1368.002    07/26/2024     HWR        0.10        53.50 Emails w/ GAW and CRW re: adv. service instructions for 7/26 filings
         1368.002    07/26/2024     MPH        0.60       210.00 Update Critical Dates Memo
         1368.002    07/26/2024     MRP        0.20       150.00 Emails w/ GAW re: service instructions; comment on the same; emails w/ GAW and
                                                                 Kroll re: service of documents
         1368.002    07/29/2024     GAW        0.40       180.00 emails w. HWR & CRW re: service instructions for adversaries; review main docket re:
                                                                 service; email w. KAB, MRP, CRW, S&C and Kroll re: same
         1368.002    07/29/2024      EAR       0.90       481.50 Review/revise critical dates memo, including review of underlying filings (.3); email w.
                                                                 MPH re: revisions to same (.1); multiple discussions w. KAB and GAW re: upcoming
                                                                 dates and deadlines (.3); meet w. GAW re: same and action items (.2)
         1368.002    07/29/2024     CRW        0.30       118.50 Review docket re: service instructions; emails with HWR and GAW re: adv. service
                                                                 instructions
         1368.002    07/29/2024      KAB       0.30       277.50 discussions with G. Williams and E. Rogers re: upcoming dates and deadlines
         1368.002    07/29/2024       MR       0.20        70.00 confer with GAW re: critical dates
         1368.002    07/29/2024     HWR        0.10        53.50 Emails w/ GAW and CRW re: draft service instructions for 7/29 filings
         1368.002    07/30/2024      EAR       0.80       428.00 Review/revise critical dates memo (.5) and 30-60 day task tracker (.2); email w. MPH
                                                                 re: same (.1)
         1368.002    07/30/2024     CRW        0.80       316.00 Draft 7.30 Service Instructions (.3); review docket re: same (.2); emails with KAB, MRP,
                                                                 HWR, GAW, S&C and Kroll re: same (.1); confer with GAW re: same (.1); emails with
                                                                 HWR and GAW re: adv. service instructions (.1)
         1368.002    07/30/2024     GAW        0.60       270.00 emails w. HWR & CRW re: adv. service instructions (.1); confer w. CRW re: same (.1);
                                                                 review and analyze docket (.2); email w. KAB, MRP and S&C re: same (.2)
         1368.002    07/30/2024     HWR        0.10        53.50 Emails w/ CRW, GAW and MRP re: draft adversary service instructions for 7/30/24
         1368.002    07/30/2024     MPH        0.60       210.00 Review and analyze docket and update critical dates memo re: same (.5); Email
                                                                 exchange with ER re: same (.1)
         1368.002    07/30/2024     MRP        0.20       150.00 Email w/ GAW re: service plan; review and comment on service instructions; email w/
                                                                 GAW and Kroll re: the same
         1368.002    07/31/2024      KAB       0.20       185.00 emails with counsel to various customers, S&C, A&M and Kroll re: changes of address
                                                                 and claim transfers and review attachments to same
         1368.002    07/31/2024     GAW        0.70       315.00 Confer w. CRW re: 7/31 service instructions (.1); Email w. HWR & CRW re: adv service
                                                                 (.1); review main docket re: same (.2) and revise service instructions (.2); email w. KAB,
                                                                 MRP, CRW, S&C and Kroll re: same (.1)
         1368.002    07/31/2024     CRW        0.90       355.50 Confer with GAW re: 7.31 service instructions (.1); Draft same (.5); emails with KAB,
                                                                 MRP, HWR, GAW, S&C and Kroll re: same (.2); emails with HWR and GAW re: adv.
                                                                 service instructions (.1)
         1368.002    07/31/2024     HWR        0.10        53.50 Emails w/ CRW and GAW re: draft service instructions for 7/31 filings

Total for Phase ID B122           Billable    74.60     35,634.00 Case Administration

Phase ID B124 Claims Administration & Objections
         1368.002   07/01/2024 GAW            12.70      5,715.00 review and revise 9th Round omnibus claims objections including: 54th (.9); 55th (.8);
                                                                  56th (.7); 57th (.9); 58th (.8); 59th (.9); 60th (.8); 61st (.8); 62nd (.7); 63rd (.9); call w/MR
                                                                  re: same (.3); confer w. CRW re: same & omnibus claim objection reponse trackers
                                                                  (.4); attend weekly claims call w. KAB, MRP, CRW, S&C and A&M re: pending claim
                                                                  issues (.8); review and update 6th round omnibus claim objection trackers (.2); review
                                                                  and update 7th round omnibus claim tracker (.2); emails w. KAB, MRP, CRW re: claims
                                                                  issues (.1); review and update 8th omnibus claim objection response tracker (.3)
                                                                  discussion w. KAB, MRP, CRW re: pending Omnibus Claim Objections (.6); multiple
                                                                  emails w. KAB, MRP, NEJ, CRW, S&C and A&M re: 9th round omnibus claim
                                                                  objections, exhibits, and notices thereto (.4); draft 9th round omnibus claim tracker
                                                                  (.2); multiple discussions w/ KAB and CRW re: claims objection issues (.4); emails w.
                                                                  KAB, MRP, and CRW re: 62nd Omni objection (.1); review and analyze numerous
                                                                  correspondence with claimants and counsel to claimants regarding responses to
                                                                  previous rounds of omnibus claim objections (.4); confer with JH re: updating 7th and
                                                                  8th round omnibus claim objection trackers (.1)
         1368.002    07/01/2024     CRW       10.40      4,108.00 Revise Eighth Round Omnibus Claims Objection Tracker Chart (.3); emails with KAB,
                                                                  MRP, NEJ, GAW re: same (.1); Review and revise 9th Round Omnibus Claims
                                                                  Objections Customized Notices (1.5); confer with GAW re: same and claims tracker
                                                                  (.4); Attend Claims call w/ KAB, MRP, GAW, S&C and A&M (.8); discussion with KAB,
                                                                  MRP and GAW re: open claim issues (.6); Revise and finalize exhibits for Ninth Round
                                                                  (54th-62nd) Omnibus Claims Objections: 54th (.6), 55th (.6), 56th (.6), 57th (.6), 58th
                                                                  (.6) 59th (.6), 60th (.6), 61st (.5) and 62nd (.5); multiple emails with KAB, MRP, GAW
                            Case 22-11068-JTD Detail
                                               DocFee24025-2      Filed
                                                      Task Code Billing   08/29/24
                                                                        Report                                Page 8 of 41                                      Page: 7
                                                            Fee App - Detailed Fees
                                                            Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill   Amount
Phase ID B124 Claims Administration & Objections
                                                                and M. Ramirez re: same (.3); multiple discussions w. KAB & GAW re: claim objection
                                                                issue (.4); Revise Ninth (9th) Round Omnibus Claims Objection Tracker Chart (.4);
                                                                confer with GAW re: same (.1); review and revise non-customized claims objections
                                                                notices (.3)
         1368.002    07/01/2024   KAB         9.80     9,065.00 emails with various customers and/or their counsel, S&C, A&M and M. Pierce re:
                                                                responses to pending claim objs (.2); emails with LRC team re: updates to claim
                                                                trackers (.1); emails with M. Pierce, G. Williams and C. Wood re: 62nd claim obj (.1);
                                                                emails with A&M, M. Pierce and G. Williams re: same (.1); review and analyze claim
                                                                trackers in preparation for weekly call (.6); call with A&M, S&C, M. Pierce, G. Williams
                                                                and C. Wood re: open claim issues and objs. (.8); discussion with M. Pierce, G.
                                                                Williams and C. Wood re: round 9 claim objs, revisions, finalization and filing issues
                                                                and other open claim issues (.6); discussion with M. Pierce re: COCs/CNO for round 8
                                                                and round 9 (.2); multiple discussions with G. Williams and C. Wood re: claim obj
                                                                issues (.4); review and revise sealed and redacted filing versions of the 54th (.8), 55th
                                                                (.7), 56th (.7), 57th (.9), 58th (.7), 59th (.8), 60th (.6), 61st (.6) and 62nd (.5) omni claim
                                                                objs; confer with M. Ramirez re: filing of same (.3); emails with UCC, UST, M. Pierce, G.
                                                                Williams, C. Wood and S&C re: sealed claim objs (.1)
         1368.002    07/01/2024    MR         7.80     2,730.00 finalize and file 54th (.7); 55th (.7); 56th (.7); 57th (.8); 58th (.7); 59th (.7); 60th (.7); 61st
                                                                (.8); 62nd (.7) Omnibus Claim Objections; emails (.4) and calls (.3) with KAB (.3) and
                                                                GAW (.3) re: same
         1368.002    07/01/2024    JH         0.60       186.00 Confer w/ GAW re: updating 7th and 8th Omnibus Claims Objections tracker charts
                                                                (.1); Prepare and update same (.5)
         1368.002    07/01/2024   MRP         7.20     5,400.00 Confer w/ A&M re: 62nd omnibus claim objection (.1); revise 62nd omnibus claim
                                                                objection (.9); emails w/ CRW, GAW and KAB re: the same (.1); emails w/ A&M and
                                                                S&C re: updated 62nd omni objection (.1); emails w/ A&M re: exhibits for 54-62 omni
                                                                objections (.1); emails w/ S&C re: filing versions of 54-60th omni objection (.1); emails
                                                                w/ GAW re: the same (.1); review redacted 54th omni objection (.4); 55th omni (.6);
                                                                56th omni (.3); 57th (.5); 58th (.7); 59th (.4); 60th (.5); 61st (.3); 62nd (.3); revise sealed
                                                                unredacted filing versions of the same (1.7)
         1368.002    07/01/2024   MRP         0.30       225.00 Emails w/ KAB and NEJ re: CNOs and Certification of Counsel for 7th round claim
                                                                objections; confer w/ NEJ re: the same
         1368.002    07/01/2024   MRP         1.30       975.00 Emails w/ A&M and S&C re: service issue with 43rd omni objection (.1); draft
                                                                supplemental notice w/r/t 43rd omni objection (1.2)
         1368.002    07/01/2024   MRP         0.30       225.00 Email w/ G. Eisenberg and S&C re: objection to claim no. 48745; emails w/ S&C and
                                                                A&M re: inquiry w/r/t objection to FTX EU claim
         1368.002    07/02/2024   GAW        10.30     4,635.00 emails w. KAB, MRP, NEJ, CRW, S&C and A&M re: customized notices for round 9
                                                                claim objections (.1); discussion w. CRW re: same (.3); review and revise customized
                                                                notices 54th-63rd omnibus claim objections (1.9); discussion w. KAB re: same (.1);
                                                                emails w. KAB, MRP, CRW, S&C, A&M, and Kroll re: same (.2); discussion w. KAB &
                                                                CRW re: omni claim objection response trackers (.2); review order granting leave from
                                                                LR 3007-1(f) re: filing of omnibus claim objections (.3); emails w. KAB, MRP, CRW,
                                                                S&C, and A&M re: finalized exhibits to 7th round (31st-43rd) omnibus claim
                                                                objections (.1); review 31st-43rd unredacted exhibits (.7); draft sealed PFO's and
                                                                blacklines 31st (.8); 33rd (.8); 34th (.8); 35th (.8); 36th (.8); 38th (.8); and 41st (.8)
                                                                omnibus claim objections; draft PFOs and Blackline to redacted 31st (.3) and 36th (.3)
                                                                omnibus objections; emails w. KAB, MRP, NEJ, and CRW re: same (.2)
         1368.002    07/02/2024   CRW         2.70     1,066.50 Revise Seventh Round and Eighth Round Omnibus Claims Objection Tracker Charts
                                                                (1.3); emails with KAB, MRP, NEJ, GAW, and JH re: same (.2); discussion with KAB and
                                                                GAW re: same (.2); discussion with GAW re: customized notices (.3); discussion with
                                                                GAW re: tracker updates (.3); confer with KAB re: tracker updates (.3); discussion with
                                                                KAB re: 9th round claim objections and other items (.1)
         1368.002    07/02/2024   KAB         1.40     1,295.00 review NOW of Play Magnus late claim motion and emails with K. Mann and M.
                                                                Pierce re: same (.1); emails with M. Pierce, G. Williams and C. Wood re: updates to
                                                                claim tracker (.1); discussion with C. Wood re: 9th round of claim objs and next steps
                                                                (.1); emails with customers and/or their counsel, M. Pierce, N. Jenner and G. Williams
                                                                re: pending claim objs and other claim issues/inquiries and consider same (.3); emails
                                                                with S&C, A&M, and M. Pierce re: draft 43rd omni claim obj re-notice and issues
                                                                related to same (.2); review and analyze comments to notice re: same (.1); discussion
                                                                with G. Williams and C. Wood re: open claim issues and tracker updates (.2); confer
                                                                with C. Wood re: tracker updates (.3)
         1368.002    07/02/2024    MR         0.20        70.00 review email from GAW re: Omnibus Claim objections filing procedures; review same
         1368.002    07/02/2024   MRP         1.30       975.00 Review and comment on draft of customized notices for 54-62nd omnibus objection
                                                                (1.0); emails w/ GAW re: the same (.1); emails w/ S&C, A&M and GAW re: customized
                            Case 22-11068-JTD Detail
                                               DocFee24025-2      Filed
                                                      Task Code Billing   08/29/24
                                                                        Report                          Page 9 of 41                                  Page: 8
                                                           Fee App - Detailed Fees
                                                           Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill   Amount
Phase ID B124 Claims Administration & Objections
                                                                notices for 10th round omnibus objections (.1); email w/ GAW and Kroll re: the same
                                                                (.1)
         1368.002    07/02/2024   MRP         0.80       600.00 Review emails w/ S&C and Kroll re: Non-Customer solicitation updates (.3); review
                                                                solicitation summary w/r/t to certain claims (.5)
         1368.002    07/02/2024   MRP         0.20       150.00 Emails w/ Eversheds and S&C re: claim number 1596 and relates issues
         1368.002    07/02/2024   MRP         0.30       225.00 Email w/ T. McArdle re: claim subject to objection; review background w/r/t the same
         1368.002    07/03/2024    MR         0.20        70.00 confer with GAW re: procedures for omnibus claim objections
         1368.002    07/03/2024   GAW         2.70     1,215.00 confer w. MR re: omnibus claim objection procedures (.2); emails w. MRP, NEJ, MR
                                                                and A&M re: indexes and POC for 9th Round Omnibus Claim Objections (.3); review
                                                                and analyze multiple responses to omnibus claim objections from claimants and
                                                                update applicable response trackers (2.2)
         1368.002    07/03/2024   KAB         0.40       370.00 emails with S&C, M. Pierce and N. Jenner re: claimant inquiry on claim obj; emails
                                                                with counsel to customer, S&C, M. Pierce, N. Jenner, G. Williams and C. Wood re:
                                                                same; emails with A&M, S&C, M. Pierce, N. Jenner, G. Williams and C. Wood re: same
         1368.002    07/03/2024   CRW         0.30       118.50 Emails with KAB, MRP, GAW, and S&C re: Eighth Round Claim Objections; confer with
                                                                GAW re: same
         1368.002    07/03/2024   MRP         0.10        75.00 Emails w/ G. Eisenberger and KAB re: objection to claim 48745
         1368.002    07/05/2024   CRW         0.30       118.50 Update 6th Round Omnibus Claim Response Tracker Chart; emails with KAB, MRP,
                                                                GAW re: same
         1368.002    07/05/2024   GAW         0.30       135.00 emails w. KAB, MRP, NEJ and claimant to 25th omni objection re: extension to
                                                                respond; email w. KAB, NEJ & CRW re: same; revise 7th round omnibus claim tracker
         1368.002    07/05/2024   KAB         0.10        92.50 emails with counsel to customer, M. Pierce and G. Williams re: 25th omni claim obj
                                                                and related issues; emails with G. Williams, C. Wood and M. Pierce re: update to claim
                                                                tracker re: same
         1368.002    07/06/2024   GAW         0.30       135.00 review and revise 8th omnibus claims tracker
         1368.002    07/07/2024    KAB        0.30       277.50 review email and attachment from customer re: claim obj.; emails with S&C, A&M, M.
                                                                Pierce and N. Jenner re: same
         1368.002    07/07/2024    NEJ        0.10        60.00 emails w. KAB, MRP, S&C and A&M re: customer correspondence to omnibus
                                                                objection
         1368.002    07/08/2024   GAW         8.30     3,735.00 Review numerous correspondence from customers or their counsel re: 8th omnibus
                                                                claims objections (.9) and revise 8th round tracker re: same (2.0); email w. NEJ, CRW,
                                                                M. Ramirez and A&M re: 9th round omnibus claim objections for indexing (.2); confer
                                                                w. MRP re: claims objection response trackers (.2); call w. customer regarding
                                                                omnibus claim objections (.2); confer w. KAB re: customer calls and related issues (.3);
                                                                call w. JH re: same (.1); review and revise 6th omnibus claim tracker (1.6); review and
                                                                revise 7th omnibus claims tracker (1.0); confer w. CRW re: same (.3); review and revise
                                                                6th round omnibus tracker (.5); Confer w. KAB, MRP & CRW re: COCs for claim
                                                                objections and Claims Tracker updates (.2); email w. KAB, MRP, CRW, S&C and A&M
                                                                re: same (.1); participate in weekly claims call w. KAB, MRP, NEJ, CRW, A&M and S&C
                                                                re: open claim issues (.3); review and revise CNO to 42nd omnibus claim objection (.4)
         1368.002    07/08/2024    MR         0.10        35.00 confer with KAB re: upcoming claim objections for filing
         1368.002    07/08/2024   KAB         4.90     4,532.50 emails with S&C and M. McGuire re: objections to Celsius and 2AC's claims and
                                                                response to Celsius RFS motion (.1); discussion with M. McGuire and M. Pierce re:
                                                                same and next steps (.2); discussion with G. Williams re: claim responses, calls from
                                                                customers, claim tracker and related issues (.3); emails with counsel to customer, M.
                                                                Pierce, N. Jenner and G. Williams re: 31st and 36th revised claim obj orders and
                                                                consider revisions (.1); numerous emails with A&M, S&C, M. Pierce and N. Jenner re:
                                                                open claim issues, pending claim objs and next round and considerations re: same
                                                                (1.0); multiple emails with LRC team re: updates to claim obj trackers (.3); review and
                                                                revise Celsius claim objection (1.2); review and revise 3AC claim objection (.9); prepare
                                                                for (.4) and call with (.3) S&C, A&M, M. Pierce, N. Jenner, G. Williams and C. Wood re:
                                                                claim issues; confer with M. Ramirez re: upcoming claim filings (.1)
         1368.002    07/08/2024   MRP         2.50     1,875.00 Review and comment on drafts of Celsius (1.2) and 3AC (1.0) claim objections; emails
                                                                w/ S&C and LRC re: the same (.1); discussions with MBM and KAB re: same (.2)
         1368.002    07/08/2024   MRP         0.20       150.00 Multiple emails w/ counsel to customer re: revised claim objection order and inquiry
                                                                about 43rd omnibus objection
         1368.002    07/08/2024   CRW         4.80     1,896.00 Update Claim Objection Tracker Chart re: 43rd Omni Objection and certain customer
                                                                responses thereto (.7); emails with KAB, MRP, NEJ, GAW, and EAR re: same (.2); Confer
                                                                w/ MRP and GAW re: Claim Objection Response Status (.3); update claim objection
                                                                tracker charts (Sixth Round (.4); Seventh Round (1.2); Eighth Round (1.2); Confer with
                                                                GAW re: claim objection tracker charts (.3); Attend weekly claims call meeting w/
                                                                MRP, KAB, NEJ, GAW, S&C, A&M re: open claim issues (.3); discussion w/ EAR re: next
                                                                round of claim objs (.2)
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24            Page 10 of 41                                   Page: 9
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
         1368.002   07/08/2024    MRP         1.50      1,125.00 Review and comment on claim objection tracker and pending statues (.7); prepare for
                                                                 (.5) and attend weekly call w/ S&C, A&M and LRC re: pending claim objection and
                                                                 response status (.3)
         1368.002    07/08/2024   MRP         0.10         75.00 Email w/ S&C re: late filed claim and bar date issue/question
         1368.002    07/08/2024    MR         1.10        385.00 finalize and filed Celsius (.5) and 3AC (.5) Claim objections; emails with MBM, KAB and
                                                                 MRP re: same (.1)
         1368.002    07/08/2024   NEJ         0.10         60.00 Email KAB, MRP, GAW, and CRW re: response from customer re: pending omnibus
                                                                 claim objection
         1368.002    07/08/2024   EAR         0.20        107.00 Discussions w. CRW re: next round of claim objs.
         1368.002    07/08/2024   NEJ         0.10         60.00 Emails w. GAW, M. Ramirez and A&M re: exhibits for the 9th round (54th-62nd)
                                                                 omnibus claim objections
         1368.002    07/08/2024   NEJ         0.30        180.00 Attend call w. KAB, MRP, GAW, CRW, A&M, and S&C re: claim objection responses
                                                                 and status
         1368.002    07/08/2024   MBM         1.50      1,537.50 review of finalized Celsius (.6) and 3AC (.5) claim objections re: litigation issues; emails
                                                                 with S&C re: same (.2); discussion with KAB and MRP re: same (.2)
         1368.002    07/08/2024    JH         0.30         93.00 Call w/ GAW re: customer calls and related issues
         1368.002    07/08/2024   NEJ         0.10         60.00 email w. GAW, CRW, M. Ramirez and A&M re: 9th round omnibus claim objections
                                                                 for indexing
         1368.002    07/09/2024   GAW         6.90      3,105.00 confer w. CRW re: claims trackers (1st-8th) (.2); email w. KAB, MRP, NEJ, E. Rogers &
                                                                 CRW re: same (.1); email w. KAB, MRP, NEJ, S&C & Claimant re: response to 20th
                                                                 claim objection (.1); emails w. CRW & JH re: same (.1); review 5th round omnibus
                                                                 claim tracker (.1); review and revise CNO to 42nd omnibus claim objection (.3); emails
                                                                 w. KAB, MRP, NEJ, CRW, MH & M. Ramirez re: same (.1); emails w. KAB, MRP, NEJ,
                                                                 CRW re: Noncustomer Omnibus Claim objections (.2); confer w. CRW and NEJ re:
                                                                 same (.2) and next round of omnibus claim objections and related issues (.4); review
                                                                 and revise Osaka claim objection (.4); review and revise SC30 objection (.4); emails w.
                                                                 MRP, NEJ and Court re: Indexes & Proof of claim to 7th round omnibus objection (.3);
                                                                 review Cal Bears Objection (.2); confer w. MRP re: same (.2); review and revise notices
                                                                 re: same (.3); emails w. KAB, NEJ, CRW re: A&M re: response to customer's account re:
                                                                 50th Omnibus Claim (.1); revise 8th round omnibus claim tracker (.4); draft notice to
                                                                 Tai Mo Shan claim objection (.4); call w. KAB & Claimant re: additional documentation
                                                                 to support claim (.1); revise 8th omnibus claim objection response tracker re: same
                                                                 (.3); review and revise notice re: Kayamori claim (.3); review and revise notice re:
                                                                 Kayamori claim (.2); review and revise notice re: Melamed claim (.2); confer w. NEJ re:
                                                                 PFO re: 42nd omnibus claim objection (.2); draft PFO to 42nd omnibus claim
                                                                 objection (.3); confer w. M. Ramirez re: same (.1); draft notice for North Field Tech
                                                                 claim objection (.2); emails w. KAB, MRP, NEJ, S&C and A&M re: claimant to 13th
                                                                 omnibus objection issue (.1); update and revise third round omnibus claim objection
                                                                 tracker re: same (.2); emails w. S&C, MRP and HWR re: objections to various
                                                                 non-customer claims (.2)
         1368.002    07/09/2024   MRP         0.50        375.00 Email w/ chambers re: 7th round claim objections under Certificate of No Objection
                                                                 and e-binders of the same; confer w/ NEJ and GAW re: the same
         1368.002    07/09/2024    MR         0.80        280.00 draft notices of claims objection for SC30 (.2), Osaka (.1), ICC (.1) and Cal Bears (.1);
                                                                 emails with KAB, MRP, NEJ, GAW and CRW re: same (.1); confer with GAW re: same
                                                                 (.1); confer with MRP re: exhibits for non-customer claim objections (.1)
         1368.002    07/09/2024   KAB         7.00      6,475.00 emails with B. Glueckstein, A. Landis, M. McGuire and M. Pierce re: potential
                                                                 non-customer claim obj and related issues (.1); multiple emails with S&C, M. Pierce,
                                                                 G. Williams, and N. Jenner re: Osaka, SC30, Cal Bears, ICC, Tai Mo Shan, Melamed,
                                                                 Kayamori, North Field, and IPV claim objections and comments thereto (.4); emails
                                                                 with M. Ramirez, G. Williams, N. Jenner, M. Pierce and C. Wood re: notices, finalization
                                                                 and filing of various 7/9 claim objs, status and related issues (.5); review and revise
                                                                 ICC claim objection (1.2); review and revise Cal Bears claim objection (.9); review and
                                                                 revise Melamed claim objection (1.3); review and revise Kayamori claim objection (.8);
                                                                 multiple discussions with M. Pierce re: comments to the various claim objs and
                                                                 related issues (.5); numerous emails with A&M, S&C, M. Pierce, N. Jenner and G.
                                                                 Williams re: pending claim objs, diligence on responses and related issues and
                                                                 consider same (.6); emails with multiple counsel to various customers re: pending
                                                                 claim obj issues (.2); call (.2) and email (.1) with customer re: 45th omni claim obj and
                                                                 related issues; discussion with G. Williams re: same, tracker update and next steps (.1);
                                                                 emails with Kroll, M. Pierce, G. Williams and C. Wood re: timing of claim obj filings
                                                                 and service issues (.1)
         1368.002    07/09/2024    JH         0.50        155.00 Emails w/ GAW and CRW re: preparing claims trackers (1st-8th); Review and prepare
                                                                 same for Chambers; Emails w/ NEJ, GAW and CRW re: update to 5th Round Claim
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24            Page 11 of 41                                  Page: 10
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 Objection Tracker
         1368.002    07/09/2024   MRP         0.20        150.00 Email w/ Customer and KAB re: proof of claim and related inquiry; review support
                                                                 provided by claimant; emails w/ KAB and A&M re: the same
         1368.002    07/09/2024   MRP         4.20      3,150.00 Numerous emails w/ S&C and LRC re: non-customer objections (.3); confer w/ MR re:
                                                                 exhibits for non-customer objections (.1); emails w/ S&C, MR and GAW re: exhibits to
                                                                 declarations in support of non-customer objections (.1); review and comment on
                                                                 drafts of SC30 (1.1) and Oska (.9) objections; discussions w/ KAB re: the same (.5);
                                                                 review draft of Shan claim objection (.8); emails w/ S&C and KAB re: comments to
                                                                 claim objections (.2); discussion w/ GAW re: non-customer claim objections (.2)
         1368.002    07/09/2024   CRW         1.50        592.50 Review and revise notices for non-customer proofs of claim objections (.4); confer
                                                                 with GAW re: same (.1); Confer with NEJ and GAW re: upcoming proofs of claim
                                                                 objection filings and outstanding issues (.4); confer with GAW re: claims trackers
                                                                 (1st-8th Rounds) (.2); emails with KAB, MRP, NEJ, and GAW re: same (.1); emails with
                                                                 JH re: same (.1); Update 5th Round omni. claim obj. tracker chart (.1); emails with NEJ,
                                                                 GAW, and JH re: same (.1)
         1368.002    07/09/2024   HWR         0.20        107.00 Emails w/ S&C, MRP and GAW re: objections to various non-customer claims
         1368.002    07/09/2024    NEJ        1.50        900.00 Confer w. MRP and GAW re: POCs and docs for 31st-42nd omni claim objections (.4);
                                                                 emails w. MRP, GAW and Court re: same (.1); Emails w. KAB, MRP, A&M, and S&C re:
                                                                 response to 50th omni claim objection (.1); emails w. KAB, MRP, GAW, and CRW re:
                                                                 same (.1); review materials and draft email to respondent re: same (.2); confer w. GAW
                                                                 re: order for 42nd omni claim objection (.2); confer w. GAW and CRW re: next round
                                                                 of claim objections and related issues (.4)
         1368.002    07/10/2024    MR         0.30        105.00 prepare for filing claim objections; email with KAB, MRP and NEJ re: same
         1368.002    07/10/2024   GAW        10.00      4,500.00 emails w. KAB, MRP, NEJ, and S&C re: IPV objection (.1); emails w. KAB, MRP and M.
                                                                 Ramirez re: same (.1); review and revise draft IPV objection (1.3); review IPV
                                                                 declaration in support of same (.3); emails w. KAB, MRP, NEJ, E. Rogers and CRW re:
                                                                 7/10 claim objections (.1); emails w. KAB, MRP, CRW, S&C and A&M re: claim
                                                                 objection response (.2); revise 8th round omnibus claim tracker (.2); emails w. KAB,
                                                                 MRP, NEJ, CRW re: customer response to 45th omnibus claim objection (.1); confer w.
                                                                 KAB re: omnibus claim trackers (.1); multiple emails w. KAB, MRP, NEJ, S&C and A&M
                                                                 re: noncustomer objections (.7); multiple emails w. KAB, MRP, NEJ, M. Ramirez re:
                                                                 same (.8); confer w. KAB & MRP re: IPV objection (.2); review & revise IPV Objection
                                                                 (.7); confer w. KAB re: same (.1); review & revise SC30 claim objection (.5); review &
                                                                 revise current version of cal bear objection (.4); review & revise ICC objection (.6);
                                                                 review & revise current version of ICC declaration & exhibits (.2); review & revise
                                                                 current version of North Field Objection (.5); review & revise current versions of North
                                                                 Field Declarations (.3); review & revise current version of Tai Mo Shan Claim
                                                                 Objection (.3); review & revise current version of Tai Mo Shan Decl. (.2); confer w. KAB
                                                                 re: Tai Mo Shan & IPV objections (.1); emails w. KAB, MRP, NEJ, M. Ramirez re: same
                                                                 (.1); draft notice for Artz Fund Investments objection (.2); review Artz Declaration in
                                                                 support of same (.2); draft notice for Mashinsky Claim Objection (.2); review & revise
                                                                 current version of Mashinsky Objection (.3); review & revise current version of
                                                                 Mashinsky Declaration in support of same (.2); review & revise current Malemed
                                                                 Objection (.4); review Malemed Declaration in support of same (.2); call w. CRW re:
                                                                 materials for claims objection meeting (.1)
         1368.002    07/10/2024    MR         7.10      2,485.00 draft notice re: IPV claim objection (.2); finalize and file claim objections and
                                                                 declarations for Claimants SC30 (.5), Cal Bears (.5), ICC (.5), Northfield (.5), Tai Mo (.5),
                                                                 IPV (.5), Mashinsky (.7), Artz (.7), Kayamori (.5), Melamed (.5) and 63rd omnibus
                                                                 objection) (.7); numerous emails with KAB, MRP, NEJ and GAW re: same (.8)
         1368.002    07/10/2024   CRW         2.60      1,027.00 Update Seventh (.4), Eighth (.2), and Ninth (.3) Round Claim Objections Tracker
                                                                 Charts; prepare materials for upcoming claims objection meeting (1.1); emails with
                                                                 MRP, KAB, NEJ, GAW, S&C re: same (.4); confer with KAB re: same (.1); call with GAW
                                                                 re: same (.1)
         1368.002    07/10/2024   MRP         0.20        150.00 Call w/ E. Rogers re: follow-up on pending claim objections w/r/t to certain claimants
         1368.002    07/10/2024   KAB         8.20      7,585.00 call with counsel to customer re: pending claim obj and diligence analysis (.3);
                                                                 discussion with M. Pierce re: same (.1); discussion with N. Jenner re: next steps on
                                                                 certain open claim issues (.1); numerous emails with S&C, M. Pierce, N. Jenner and G.
                                                                 Williams re: non-customer claim objs filing 7/10 and related issues (.8); emails with
                                                                 counsel to customer and LRC team re: pending claim obj (.1); multiple emails with
                                                                 LRC team re: finalization and filing of numerous non-customer claim objs and
                                                                 declarations in support of same (.6); review and revise IPV claim objection (1.1);
                                                                 discussion with G. Williams re: same (.1); review and revise Artz claim objection (1.5);
                                                                 discussion with M. Pierce re: same (.1); review and revise Mashinsky claim obj (2.1);
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24           Page 12 of 41                                 Page: 11
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 review and revise 63rd omni claim obj (1.2); confer with G. Williams re: updates to
                                                                 omni claim objection tracker (.1)
         1368.002    07/10/2024   NEJ         0.80        480.00 Analyze response from customer on 45th omni claim objection and review Debtors'
                                                                 records re: same (.7); emails w. KAB, MRP, GAW, and CRW re: same (.1)
         1368.002    07/10/2024   NEJ         2.00      1,200.00 Emails w. KAB, MRP, GAW, and S&C re: claim objections (.2); Emails w. KAB, MRP,
                                                                 GAW, and M. Ramirez re: same (.2); Review and finalize: SC30 (.2); Cal Bears (.3); ICC
                                                                 (.3); North Field (.3); Tai Mo Shan (.2); and IPV (.2) claim objections; discussion w. KAB
                                                                 re: next steps on claim objections (.1)
         1368.002    07/10/2024    EAR        0.20        107.00 Discussion w. CRW re: claims objection tracker and review of the same
         1368.002    07/10/2024   CRW         0.20         79.00 Discussion with EAR re: claims objection tracker and review of same
         1368.002    07/10/2024    EAR        0.20        107.00 Call w. MRP re: customers subject to outstanding claim objections
         1368.002    07/10/2024   MRP        12.20      9,150.00 Numerous emails w/ S&C re: non-customer claim objections (.9) email w/ MR and
                                                                 GAW re: notice for IPV claim objection (.1) and review the same (.1); emails w/ KAB
                                                                 and GAW re: IPV claim objection (.2); review and comment IPV claim objection (1.1)
                                                                 review objection to Artz claim (.9); review objection to SC30 Inc. claim, dec in support
                                                                 and exhibits thereto (1.4); review Cal Bears claim objection and related exhibits (1.1);
                                                                 review updated version of Cal Bears objection (.2); review ICC claim objection,
                                                                 declaration in support and exhibits thereto (1.2); review Northfield claim objection,
                                                                 declaration in support and exhibits thereto (.9); review Mo Shan claim objection,
                                                                 Coverick declaration in support and exhibits thereto (1.0); review Kayamori objection,
                                                                 declaration in support and exhibits thereto (.8); review Mashinsky claim objection (.6);
                                                                 review draft of 63rd omnibus objection to certain non-customer claims (1.1);
                                                                 Melamed claim objection, declaration in support and exhibits thereto (1.0); numerous
                                                                 emails w/ LRC team re: finalizing and filing non-customer claim objections (.6)
         1368.002    07/10/2024   MRP         0.90        675.00 Email w/ B. Sullivan re: Debtors' objection to claim 65255
         1368.002    07/11/2024   GAW         6.00      2,700.00 multiple discussions w. CRW re: revisions/updates to various claims trackers (.8);
                                                                 review and revise 1st round (1-5) (.5); 2nd round (5-8) (.5); 3rd round (9-13) (.5); 4th
                                                                 round (14-17) (.5); 5th round (18-23) (.5); 6th round (24-30) (.5); 7th round (31-42)
                                                                 (1.0); and 8th round (43-53) (1.0) omnibus claim response trackers; emails w. KAB,
                                                                 MRP, NEJ & CRW re: claimant response to 18th omnibus claim objection (.2)
         1368.002    07/11/2024   KAB         3.20      2,960.00 numerous emails with customers and/or their counsel re: pending claim objs,
                                                                 response deadlines and related issues and consider same (.8); emails with G. Williams,
                                                                 C. Wood and M. Pierce re: tracker updates and related issues (.3); emails with A&M,
                                                                 S&C, M. Pierce, N. Jenner and G. Williams re: open claim issues and consider same
                                                                 (.8); multiple emails with A&M, S&C and M. Pierce re: claims portal and late filed
                                                                 claims and consider issues (.6); discussions with A. Landis and M. Pierce re: omni claim
                                                                 objection issues (.7)
         1368.002    07/11/2024    AGL        0.70        892.50 discussions with LRC team re: omnibus claim objection issues
         1368.002    07/11/2024   CRW         5.10      2,014.50 Update omni. claim obj. tracker charts: Fifth Round (.5), Sixth Round (.5), Seventh
                                                                 Round (.6), Eighth Round (.6), and Ninth Round (.7) and materials in preparation for
                                                                 open claim issues meeting (1.2); emails with KAB, MRP, NEJ, GAW re: same and
                                                                 tracker updates (.2); confer with GAW re: revisions and updates to claim trackers (.8)
         1368.002    07/11/2024    MR         0.40        140.00 Calls with NEJ and MRP re: order for 39th and 40th claim objections; review docket
                                                                 and claims website re: same; review same
         1368.002    07/11/2024   NEJ         0.30        180.00 Calls w. MRP and MR re: order for 39th and 40th claim objections; review same
         1368.002    07/11/2024   MRP         1.20        900.00 Emails w/ S&C and Kroll re: service of non-customer objections (.1); email w/ KAB re:
                                                                 the same (.1); emails w/ MR re: Certificate of No Objection for 7th round objection
                                                                 (.1); email w/ A. Berin re: claim on 25th omni objection (.1); emails w/ C. Thain re:
                                                                 revised order for 36th omni (.1); review comments to revised order (.2); emails w/
                                                                 A&M re: 40th omni order (.1); review the same (.1); emails an call with chambers re:
                                                                 entered order on 40th omni (.2); email w/ B. Kazan re: claim on 12th omni objection
                                                                 (.1)
         1368.002    07/11/2024   MRP         0.40        300.00 Email w/ S&C and A&M re: response to 45th omni objection; review the same
         1368.002    07/11/2024   MRP         0.10         75.00 Email w/ M. Rogers re: extension of objection response deadline; email w/ CRW re:
                                                                 the same
         1368.002    07/11/2024   MRP         0.20        150.00 Emails w/ M. Rogers and S&C re: claim transfer issue; emails w/ S&C, A&M and Kroll
                                                                 re: the same
         1368.002    07/11/2024   MRP         0.20        150.00 Emails w/ A&M re: claim objection tracker for 8th and 9th round; emails w/ GAW,
                                                                 KAB and CRW re: the same
         1368.002    07/11/2024   MRP         2.60      1,950.00 Review claim tracker and update w/r/t status pending claim issues
         1368.002    07/12/2024   GAW         2.90      1,305.00 emails w. KAB, MRP, NEJ and CRW re: 8th & 9th omnibus claims response trackers
                                                                 (.1); confer w. CRW re: omnibus claims trackers (.5); review correspondence with
                                                                 customers re: pending claim objections and revise 8th round omnibus claim tracker
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24          Page 13 of 41                                 Page: 12
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 re: same (1.7); confer w. CRW re: supplemental COC to 25th omnibus claim (.3);
                                                                 review and revise 6th round omnibus claim objection tracker (.3)
         1368.002    07/12/2024    MR         0.20         70.00 review docket re: UCC's Joinder to Debtors' objection to Celsius's Mashinsky and
                                                                 Meehan POCs; email with AGL, KAB, MRP, NEJ, GAW, CRW, ER, MPH re: same
         1368.002    07/12/2024   KAB         0.30        277.50 emails with S&C, A&M and M. Pierce re: claim portal issues and consider same and
                                                                 review and revise updated portal language
         1368.002    07/12/2024   KAB         1.10      1,017.50 emails with M. Pierce, G. Williams, N. Jenner and C. Wood re: revisions to claim
                                                                 trackers 8 & 9 and consider updates to same (.2); emails with A&M, S&C, M. Pierce,
                                                                 N. Jenner and G. Williams re: updated trackers (.1); emails with counsel to customer,
                                                                 M. Pierce, G. Williams, N. Jenner and S&C re: resolution of 25th omni claim obj as
                                                                 related to its claim and related issues (.1); emails with S&C, A&M and M. Pierce re:
                                                                 customer inquiry on KYC issues and review attachments (.1); email with customer re:
                                                                 response to 50th omni claim obj and review/analyze attachment and emails with
                                                                 S&C, A&M, M. PIerce and N. Jenner re: same (.2); emails with E. Rogers, M. Pierce, G.
                                                                 Williams and N. Jenner re: research needed on late claim issues and consider same
                                                                 (.1); discussion with E. Rogers re: late claims research and related issues (.3)
         1368.002    07/12/2024   CRW         2.20        869.00 Review and revise claim objection tracker charts in preparation for claims tracker
                                                                 meeting (1.7); confer with GAW re: same (.5)
         1368.002    07/12/2024   CRW         1.00        395.00 Draft and revise Twenty-Fifth Omnibus Objection Supplemental Certification of
                                                                 Counsel and related exhibits (.7); confer with GAW re: same and tracker updates (.3)
         1368.002    07/12/2024   NEJ         0.20        120.00 Emails w. KAB, MRP, GAW, CRW, and EAR re: late filed claims research
         1368.002    07/12/2024   EAR         0.40        214.00 Emails w. KAB, MRP, NEJ and GAW re: research needed on late claim issues;
                                                                 discussion w. KAB re: late claims research and related issues
         1368.002    07/12/2024   MRP         0.10         75.00 Email w/ KAB and EAR re: research w/r/t late filed claims
         1368.002    07/12/2024   MRP         0.20        150.00 Review UCC joinder to objection to Celsius claims and joinder to Mashinsky and
                                                                 Meehan claim objections
         1368.002    07/13/2024    KAB        0.10         92.50 emails with A&M, S&C and M. Pierce re: claim issues and consider same
         1368.002    07/15/2024   GAW         6.50      2,925.00 Review and revise omnibus claim response trackers (2.2); confer w. CRW re: same (.3);
                                                                 meet w. KAB, MRP, NEJ & CRW re: same and next steps on open claim issues (1.0);
                                                                 review and revise supplemental COC to 25th Omnibus Claim Objection (.6); email w.
                                                                 KAB, MRP, NEJ and CRW re: same (.1); weekly claims call w. KAB, MRP, NEJ, EAR, CRW,
                                                                 A&M and S&C (.6); discussion w. MRP, NEJ, EAR and CRW re: same (.1); review and
                                                                 revise COCs to 31st (.3) & 36th (.4) omnibus claim objections; review and revise PFOs
                                                                 of same (.7); email to KAB, MRP, NEJ & CRW re: same (.1); review and revise CNO
                                                                 42nd omnibus claim objection (.1)
         1368.002    07/15/2024   KAB         4.50      4,162.50 multiple emails with M. Pierce, G. Williams and C. Wood re: updates to claim tracker
                                                                 in light of 7/15 response filings (.1); emails with A&M, S&C, M. Pierce and N. Jenner
                                                                 re: round 10 claim objs and consider issues related to same (.1); emails with A&M re:
                                                                 late claim analysis and briefly review same (.3); review and revise claim trackers (2.1);
                                                                 discussion with M. Pierce, N. Jenner, G. Williams, C. Wood and E. Rogers re: claim
                                                                 trackers, open claim obj issues and next steps (1.0); call with A&M, S&C, and LRC
                                                                 teams re: pending claim obj issues (.6); emails with customers and/or their counsel,
                                                                 S&C and M. Pierce re: responses to claim objs (.1); emails with S&C, A&M, M. Pierce,
                                                                 G. Williams and C. Wood re: revised orders for 31st and 36th omni claim objs (.1);
                                                                 emails with counsel to customer, A. Kranzley, M. Pierce and N. Jenner re: late claim
                                                                 issue (.1)
         1368.002    07/15/2024   CRW         3.80      1,501.00 Update Claims Objection Response Tracker Chart re: 50th Omni Objection (.2); review
                                                                 and analyze customer responses to same (.5); emails with KAB, MRP, NEJ, GAW re:
                                                                 same (.1); confer with GAW re: same (.1); attend claims meeting with KAB, MRP, NEJ,
                                                                 GAW, and EAR (1.0); Attend weekly claims call with KAB, MRP, NEJ, GAW, and EAR
                                                                 (.6); confer with MRP, NEJ, GAW, and EAR re: same (.1); confer with GAW re: action
                                                                 items with Claims Objection Response Tracker Charts (.2); Revise 25th Omni
                                                                 Objection and tracking chart (.8); emails with NEJ and GAW re: 25th Omni Objection
                                                                 Certification of Counsel (.1); confer with NEJ re: same (.1)
         1368.002    07/15/2024   EAR         3.30      1,765.50 Research of Delaware cases regarding late-filed claim issues (3.1); confer w. NEJ re:
                                                                 same (.2)
         1368.002    07/15/2024   MRP         1.60      1,200.00 Meeting w/ LRC team re: claim objections and trackers and next steps (1.0); call w/
                                                                 A&M and S&C teams re: the same (.6);
         1368.002    07/15/2024   EAR         2.20      1,177.00 Review claims objection charts (.5), discussion re: claims objection chart and next
                                                                 steps w. LRC team (1.0), and attend weekly claims call w. LRC, A&M and S&C re: the
                                                                 same (.6), confer w. LRC team re: the same (.1)
         1368.002    07/15/2024    NEJ        1.70      1,020.00 Attend meeting with KAB, MRP, GAW, CRW, and EAR re: claim objection responses,
                                                                 next steps and trackers (1.0); Call w. KAB, MRP, GAW, CRW, EAR, A&M, and S&C re:
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24          Page 14 of 41                               Page: 13
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 same (.6); Confer w. MRP, GAW, CRW, and EAR re: same (.1)
         1368.002    07/15/2024    NEJ        0.20        120.00 Confer w. EAR re: late filed claim research
         1368.002    07/16/2024   MRP         0.10         75.00 Emails w/ A&M re: revised orders for 31st and 36th omni objections
         1368.002    07/16/2024   GAW         4.20      1,890.00 confer w. CRW re: omnibus claim trackers (.2); revise 1st round (1-5) (.4), 2nd round
                                                                 (5-8) (.4), 3rd round (9-13) (.5), 4th round (14-17) (.4), 5th round (18-23) (.4), 6th
                                                                 round (24-30) (.4), 7th round (31-42) (.4) and 8th round (43-53) (.4) omnibus claim
                                                                 response tracker; confer w. CRW re: supplemental order to 12th omnibus objection
                                                                 (.2); review and revise same (.2); multiple emails w. KAB, MRP, NEJ, and A&M re: claim
                                                                 objection responses (.3)
         1368.002    07/16/2024   CRW         5.20      2,054.00 Revise 25th Omni Objection Certification of Counsel (.6); confer with NEJ re: same and
                                                                 claim tracking issues (.4); emails with MRP, KAB, NEJ, GAW re: same (.1); Draft and
                                                                 revise 12th Omni Objection Certification of Counsel (.9) and PFO (.9); emails w/ NEJ
                                                                 re: same (.1); confer with MRP and KAB re: same (.1); confer with GAW re: same (.2);
                                                                 Update Eighth Round Claim Objection Response Tracker Charts (.7); review customer
                                                                 responses in connection with same (.8); confer with GAW re: same (.2); confer with JH
                                                                 and TD on Omnibus Claim Objection Response materials (.2)
         1368.002    07/16/2024   KAB         3.90      3,607.50 multiple emails with A&M, S&C, M. Pierce, N. Jenner, G. Williams and C. Wood re:
                                                                 open claim issues, reconciliations and related issues and consider same (.7);
                                                                 numerous emails with certain customers and/or their counsel, S&C, and LRC teams
                                                                 re: pending claim objs and related issues (.6); emails with A. Kranzley re: response to
                                                                 63rd and email M. Pierce re: same (.1); multiple emails with M. Pierce, G. Williams, N.
                                                                 Jenner and C. Wood re: claim diligence, supplemental omni obj orders and related
                                                                 issues (.6); review and analyze A&M late-filed claim analysis (1.2); discussion with E.
                                                                 Rogers re: late-filed claim research (.2); discussion with M. Pierce and E. Rogers re:
                                                                 same (.2); discussion with A. Landis re: claim objections and CFTC settlement (.3)
         1368.002    07/16/2024   AGL         0.30        382.50 discussions with KAB re: claims objection status and CFTC settlement
         1368.002    07/16/2024   NEJ         2.50      1,500.00 Revise 25th omni PFO and Certification of Counsel (.2); confer w. CRW re: same and
                                                                 claim tracking issues (.4); Confer w. CRW re: draft COC/PFO for 12th omni claim
                                                                 objection (.2); Draft ROR language for the schedule re: claimant holding proof of
                                                                 claim #39925 (.4); Confer w. MRP re: same (.1); Emails w. KAB, MRP, GAW, and CRW
                                                                 re: same (.1); Analyze issues for POCs 705/58623 from 18th omni claim objection (.6);
                                                                 Confer w. MRP re: same (.1); Email KAB, MRP, GAW, and CRW re: same (.1); Analyze
                                                                 issues for POC 3258 on 29th omni claim objection (.3)
         1368.002    07/16/2024   EAR         3.00      1,605.00 Continue research re: late-filed claims treatment in Delaware cases
         1368.002    07/16/2024   AGL         0.30        382.50 discussions with counsel to claimant re: objection and upcoming deadlines
         1368.002    07/16/2024   KAB         1.20      1,110.00 emails with S&C, M. Pierce and N. Jenner re: IBC response to claim objection and
                                                                 sealing issue (.2); review and analyze Local Rules re: same (.4); discussion with M.
                                                                 Pierce re: same (.2); draft email to Chambers re: same (.4)
         1368.002    07/16/2024   NEJ         1.50        900.00 Analyze status of open claim objections w. responses
         1368.002    07/16/2024   MRP         0.30        225.00 Emails w/ S&C re: extension of deadline for claimant on omni objection to respond;
                                                                 emails w/ DPW re: the same
         1368.002    07/16/2024   MRP         2.20      1,650.00 Emails w/ A&M, S&C and LRC team re: A&M updates on claim objection tracker (.1);
                                                                 review diligence and summaries w/r/t responses to objections on 8th round of omni
                                                                 objections (1.7); ,multiple emails w/ NEJ re: open claim issues (.4)
         1368.002    07/17/2024   CRW        11.70      4,621.50 Update Claim Objection Tracker Charts 1st Round (.7), 2nd Round (.3), 3rd Round
                                                                 (1.7), 4th Round (1.0) 5th Round (1.0) 6th Round (1.6) 7th Round (1.9) 8th Round (2.4);
                                                                 confer with NEJ re: same (.2); confer with GAW re: same (.2); emails with KAB re:
                                                                 claimant response (.1); review documents related to claim (.6)
         1368.002    07/17/2024   GAW         2.50      1,125.00 email w. KAB, MRP, CRW re: claimant response to omnibus objection (.2); review 8th
                                                                 & 9th round omnibus objections trackers re: same (.5); multiple emails w. KAB, MRP,
                                                                 NEJ and CRW re: claim objections (.2); revise and revise 1st (.4), 2nd (.4) and 3rd (.4)
                                                                 round omnibus claim response tracker; multiple emails w. KAB, MRP, S&C and
                                                                 customers re: claim objection responses (.2); review docket re: same (.1); confer w. M.
                                                                 Ramirez re: claim objections, open items ad next steps (.1)
         1368.002    07/17/2024   MRP         0.20        150.00 Emails w/ counsel to customer re: resolution of 31st and 36th omni objections and
                                                                 revised orders for the same
         1368.002    07/17/2024    MR         0.10         35.00 confer with GAW on open items relating to omnibus claim objections
         1368.002    07/17/2024   KAB         1.90      1,757.50 numerous emails with customers and/or their counsel, S&C and M. Pierce re: pending
                                                                 claim objs, response extensions and resolutions and related issues and consider
                                                                 issues (.8); emails with S&C, A&M, M. Pierce, N. Jenner and G. Williams re: same (.7);
                                                                 discussion with M. Pierce re: same and open claim issues (.1); emails with M. Pierce, N.
                                                                 Jenner, G. Williams and C. Wood re: claim issues and tracker updates (.3)
         1368.002    07/17/2024   MRP         1.00        750.00 Emails w/ counsel to customer re: 48th omni objection (.1); review claim objection
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24           Page 15 of 41                                 Page: 14
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 w/r/t relevant claim (.3); emails w/ A&M w/r/t the same (.2); Email w/ counsel to
                                                                 customer re: 13th omni objection to claims and follow-up w/r/t to Debtors' objection
                                                                 to asserted claim (.1); Emails w/ KAB, GAW and CRW re: filed responses to 9th round
                                                                 of omni objections (.1); Emails w/ S&C re: inquiry regarding objection to claim (.1);
                                                                 email w/ counsel to customer, KAB, GAW re: the same (.1)
         1368.002    07/17/2024   EAR         3.90      2,086.50 Continue research and analysis of late-filed claim research findings
         1368.002    07/17/2024   MPH         0.70        245.00 Review and analyze (1) Takuya Nagasaka's Response to Objection to the 50th
                                                                 Omnibus Claim (.1); (2) Colin Griffiths' Response to Objection to Claim 47840 (.1); (3)
                                                                 Takuya Yokoyama's Response to Objection to the 50th Omnibus Claims (.1); (4)
                                                                 Takuya Yokoyama's Response to the 50th Omnibus Claims Objection in FTX (.1); (5)
                                                                 Momentum Trading GmbH's Response to the 45th Omnibus Claims Objection in FTX
                                                                 (.1); (6) Momentum Trading GmbH's Response to Objection to the 45th Omnibus
                                                                 Claims (.1); Email exchange with KAB, MRP, NEJ, GAW, CRW, ER & MR re: same (.1)
         1368.002    07/17/2024   MRP         2.10      1,575.00 Analyze Nagasaks objection response (.6); analyze Griffiths claim objection response
                                                                 (.4); analyze Yokoyama claim objection response (.3); analyze Momentum trading
                                                                 claim objection response (.8);
         1368.002    07/17/2024   MRP         0.70        525.00 Email w/ B. Sullivan re: follow-up on claim objection to claim 65255 and review of
                                                                 additional information (.1); multiple emails w/ KAB, GAW, NEJ re: claim objection
                                                                 responses (.2); multiple emails w/ S&C re: the same (.3); discussion w/ KAB re: claim
                                                                 objection issues (.1)
         1368.002    07/18/2024   GAW         3.90      1,755.00 confer w. CRW re: claim responses & trackers (.2); emails w. KAB, MRP, CRW, S&C and
                                                                 A&M re: claim responses (.2); call w. MRP & counsel to claimant re: claim objection
                                                                 (.3); review and revise 1st (.7), 2nd (.7), 3rd (.7) and 4th (.7) round omnibus claim
                                                                 objection response tracker; call w. MRP & counsel to claimant re: notices to two claim
                                                                 objection for same claim (.4)
         1368.002    07/18/2024   MRP         2.30      1,725.00 Emails w/ S&C and A&M re: inquiry w/r/t claim objection and pending withdraw issue
                                                                 (.1); email w/ counsel to claimant re: the same (.1); call w/ claimant counsel re: request
                                                                 for rejected payment details (.1); Emails w/ S&C re: ICC asserted confidentiality of
                                                                 exhibit to objection (.1); discussion w/ KAB re: same (.3); Claim objection emails w.
                                                                 customer claimants' counsel and related analysis/follow-up (.2); emails w/ counsel to
                                                                 customer re: customer claim subject to 47th omnibus objection (.3); prepare for (.3)
                                                                 and attend call with counsel to customer (.4); emails w/ A&M re: 56th omni claim
                                                                 objection inquiry (.2); email w/ A&M, S&C, KAB, GAW and CRW re: notice for 54th
                                                                 omni objection (.2)
         1368.002    07/18/2024   CRW         4.90      1,935.50 Continue to update and revise Claim Objection Response Tracker Charts, (1st Round
                                                                 (.2), 2nd Round (.2), 3rd Round (.4), 4th Round (.4), 5th Round (.2), 6th Round (.6), 7th
                                                                 Round (.4), 8th Round (.6), 9th Round (.4)); Email GAW re: same (.1); confer with GAW
                                                                 re: same (.2); confer with MRP re: same (.1); emails with MRP, GAW and A&M re: same
                                                                 (.1); prepare for MRP call with claimant counsel (.3); call with counsel to customer re:
                                                                 claim objection issues (.5); confer with MRP re: same (.2)
         1368.002    07/18/2024   EAR         4.60      2,461.00 Draft/revise research memo re: treatment of late-filed claims
         1368.002    07/18/2024   KAB         1.30      1,202.50 emails with A&M, S&C, M. Pierce, G. Williams and C. Wood re: open claim issues and
                                                                 next steps (.4); multiple emails with customers and/or their counsel re: pending claim
                                                                 objs and related issues and consider same (.6); confer with M. Pierce re: same (.1);
                                                                 email and discussion with E. Rogers re: late-filed claim research and briefly review
                                                                 chart re: same (.2)
         1368.002    07/18/2024   KAB         1.00        925.00 multiple emails with S&C, M. Pierce and N. Jenner re: IBC claim objection, response
                                                                 and sealing issues (.5); review and analyze local rules in connection with same (.3);
                                                                 confer with M. Pierce re: same (.2)
         1368.002    07/19/2024   CRW         4.20      1,659.00 Update Omnibus Claims Objection Tracker Chart (Eighth Round (1.9) and Ninth
                                                                 Round (1.3)); confer with GAW re: same (.3); emails with KAB, MRP, GAW, S&C and
                                                                 A&M re: same (.4); emails with MRP and GAW re: same (.3)
         1368.002    07/19/2024   GAW         6.60      2,970.00 multiple emails w. KAB, MRP, NEJ and CRW re: claim objection responses (.4); confer
                                                                 w. CRW re: same (.3); review and analyze numerous correspondence re: omnibus
                                                                 claim objections (1.4); review and revise 6th (.7), 7th (1.5), 8th (1.4) and 9th (.4) round
                                                                 omnibus claim trackers; emails w. A&M re: same (.3); emails w. KAB, MRP and CRW re:
                                                                 same (.2)
         1368.002    07/19/2024   KAB         0.50        462.50 emails with customers and/or their counsel re: pending claim objs; emails with A&M,
                                                                 S&C, M. Pierce, G. Williams and C. Wood re: same
         1368.002    07/19/2024   MRP         0.10         75.00 Email w/ A. Polansky re: 47th omni objection issue
         1368.002    07/19/2024   MRP         1.70      1,275.00 prepare for (.9) and participate on call w/ Cole Schotz and UST re: Celsisus sealing
                                                                 motion (.7); debrief call w/ KAB (.1)
         1368.002    07/19/2024   MRP         4.10      3,075.00 Email w/ D. Kliner re: claim objection issue (.1); email w/ A&M and S&C re: claim
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24         Page 16 of 41                                Page: 15
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 objection to modified claim (.1); analyze the same (.5); email w/ KAB, GAW and CRW
                                                                 re: claim tracker updates (.1); emails w/ A&M and S&C re: claim no. 46675 and
                                                                 related issues (.2); review and revise claim objection tracker (2.9); emails w/ GAW re:
                                                                 the same (.2)
         1368.002    07/20/2024   CRW         1.50        592.50 Update claim objection tracker charts: 7th Round (.2) 8th Round (.6), 9th Round (.2);
                                                                 emails with KAB, MRP, and GAW re: Claim Objection Tracker Chart revisions (.3); Call
                                                                 with GAW re: same (.2)
         1368.002    07/20/2024   GAW         0.80        360.00 emails w. KAB, MRP, CRW re: 8th & 9th omnibus claim objection response trackers
                                                                 (.2); review and revise 8th (.1) & 9th (.1) Omnibus Claims Trackers; call w. CRW re:
                                                                 same (.2); email w. KAB, MRP, S&C and A&M re: 8th & 9th Omnibus claim tracker and
                                                                 correspondence from customers re: objections (.2)
         1368.002    07/22/2024   GAW         5.90      2,655.00 discussions w. CRW re: claims obj. trackers and updates/revisions needed (.3); emails
                                                                 w. CRW re: claimant responses to 8th & 9th round omnibus claim objections (.2);
                                                                 review and analyze correspondence from multiple customers re: claim objs. (1.3) and
                                                                 revise trackers related to 6th (.7), 7th (.9) and 8th (1.0) round omnibus claimant
                                                                 reponse trackers; review and revise 12th round omnibus claim supplemental
                                                                 Certification of Counsel (.3); emails w. KAB, MRP and CRW re: same (.2); prepare for
                                                                 (.1) and attend (.9) weekly claim call
         1368.002    07/22/2024   CRW         3.10      1,224.50 discussions with GAW re: open status claim objection responses (.3); update claim
                                                                 objection response tracker charts in preparation for weekly claims call: First Round
                                                                 (.1), Second Round (.2), Third Round (.3), Fourth Round (.3), Fifth Round (.3), Sixth
                                                                 Round (.4), Seventh Round (.4) Eighth Round (.5), Ninth Round (.1); emails with JH re:
                                                                 same (.1); emails with GAW re: same (.1)
         1368.002    07/22/2024    JH         0.30         93.00 Emails and confer w/ CRW re: claim objection response tracker charts in preparation
                                                                 for weekly claims call; review and prepare same
         1368.002    07/22/2024   MRP         0.90        675.00 Attend claim call w/ S&C, A&M and GAW
         1368.002    07/22/2024    MR         2.50        875.00 draft indices re: 43rd through 46th claim objections
         1368.002    07/22/2024   MPH         0.10         35.00 Review and analyze Response to Objection to Claim #89688 filed by Fatih Arguc;
                                                                 Email exchnage with KAB, MRP, GAW, CRW, ER & MR re: same
         1368.002    07/22/2024   KAB         1.00        925.00 multiple emails with S&C, A&M and LRC claim teams re: customized notices issue
                                                                 and consider same (.3); emails with customers and/or their cousnel and LRC claims
                                                                 team re: pending claim objs and related issues (.2); emails with S&C and M. Pierce re:
                                                                 ICC claim issues and consider same (.3); confer with M. Pierce re: same (.2)
         1368.002    07/22/2024   MRP         0.10         75.00 Email w/ R. Zhao re: claim objection
         1368.002    07/22/2024   MRP         0.70        525.00 Emails w/ C. Thain re: certain claims subject to 43, 45 and 47th omni objections (.1);
                                                                 review pending objections w/r/t relevant claims (.6)
         1368.002    07/22/2024   MRP         1.10        825.00 Emails w/ A&M and S&C re: review of certain claims on 44th omni (.1); analyze
                                                                 summary w/r/t customer account and claim objection to related customer claims (.7);
                                                                 emails GAW re: claim on 25th omni objection and review status of the same (.3)
         1368.002    07/22/2024   MRP         0.80        600.00 Emails w/ S&C and KAB re: ICC claim objection (.3); analyze related issues and
                                                                 strategy (.3); emails w/ KAB re: the same (.2)
         1368.002    07/22/2024   MRP         0.20        150.00 Multiple emails w/ Eversheds re: objection to claim; email w/ GAW and CRW re: the
                                                                 same
         1368.002    07/23/2024    AGL        0.40        510.00 discussions with MRP re: claim issues, objections and upcoming motions
         1368.002    07/23/2024   CRW         3.30      1,303.50 Update omnibus claim objection tracker charts: Sixth Round (.2), Eighth Round (1.7),
                                                                 Ninth Round (.3); discussions with GAW re: same (.5); emails with GAW re: same (.2);
                                                                 emails with AGL, KAB, MRP, GAW, EAR, M. Ramirez, MPH re: Arguc Response (.3);
                                                                 confer with JH re: claimant response (.1)
         1368.002    07/23/2024    MR         0.60        210.00 draft indices re: 47th - 53 claims objections
         1368.002    07/23/2024   MRP         1.50      1,125.00 Email w/ counsel to customer re: rejected payment information (.1); review the same
                                                                 (.2); emails w/ A&M and S&C re: resolution of objection to claim number 1896 (.5);
                                                                 Call w/ Cozen re: North Field claim objection (.1); Call and emails w/ C. LoTempio re:
                                                                 45th omni objection (.2); Emails w/ S&C re: North Field Claim objection; emails w/
                                                                 Cozen re: the same (.4); Emails w/ counsel to customer re: call to discuss claim
                                                                 objection (.1)
         1368.002    07/23/2024   GAW         8.00      3,600.00 multiple emails w. KAB, MRP, S&C, A&M and customers re: extension to response
                                                                 deadline and pending claim obj. issue (.5); discussions w. CRW re: customer response
                                                                 and tracker updates (.3); review and revise tracker for 12th omnibus claim objection
                                                                 (.5); review and analyze customer correspondence re: omnibus claim objections (1.6);
                                                                 review and revise 6th (.6), 7th (1.2) & 8th (1.3) round omnibus claims trackers; review
                                                                 and revise 56th omnibus claim objection (.3); review and revise 9th round omnibus
                                                                 claim tracker (1.5); emails w. CRW re: docketed claim objection responses (.2)
         1368.002    07/23/2024   MPH         0.10         35.00 Review and analyze Auros Tech Limited's Response to the Debtors' Fifty-Third
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24         Page 17 of 41                                Page: 16
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 Omnibus Objection; Email exchange with AGL, KAB, MRP, GAW, CRW, ER & MR re:
                                                                 same
         1368.002    07/23/2024   MPH         0.20         70.00 Review and analyze Starboard Digital Strategies' Motion Objecting to Discharge -
                                                                 Pursuant to Rule 4004(a) (Response to 48th Omnibus Claims Objection); Email
                                                                 exchange with AGl, KAB, MRP, GAW, CRW, ER & MR re: same
         1368.002    07/23/2024   KAB         0.50        462.50 emails with LRC team re: updates to claim trackers; emails with S&C, A&M and LRC
                                                                 teams re: same; emails with several customers and/or their counsel and LRC claims
                                                                 team re: pending claim objs and related issues
         1368.002    07/23/2024   MRP         1.60      1,200.00 Analyze claim tracker and objection status and related issues
         1368.002    07/24/2024   CRW         0.60        237.00 Update claims objection tracker charts: Eight Round Omni Obj. (.2), Ninth Round
                                                                 Omni Obj. (.2); emails with KAB, MRP, and GAW re: customer responses and next
                                                                 steps (.2)
         1368.002    07/24/2024   MRP         3.10      2,325.00 Emails w/ A&M and S&C re: notice issue w/r/t 9th round of claim objections (.2);
                                                                 Review and analyze same and consider options; emails w/ counsel to customer re:
                                                                 pending claim objection and inquiries on the same (.1); email w/ counsel to customer
                                                                 re: amended claim issue (.1); emails w/ A&M re: summary of claimants' claims and
                                                                 reconciliation of the same (.1); review and analyze reconciliation summary (.6);
                                                                 Discussion w/ AGL re: call w/ counsel to customer to discuss certain claims pending
                                                                 objection and issues related to the same (.3); Call w/ customer and GAW re:
                                                                 reconciliation report related to certain claims (.2); Emails w/ S&C and A&M re: Kroll
                                                                 claim inquiry
         1368.002    07/24/2024    MR         3.00      1,050.00 draft 48th to 50th indices re: objections to POCs (2.8); confer with LR re: review of
                                                                 50th claims objection index (.2)
         1368.002    07/24/2024   GAW         1.60        720.00 Emails w. MRP & A&M re: claimant variances w/r/t 44th & 56th omnibus claim
                                                                 objection (.2); call w. MRP & A&M re: same (.2); confer w. MRP re: customized notices
                                                                 to 54th, 56th, and 58th omnibus claim objection (.2); draft customized notices to 54th
                                                                 omnibus claim objection (.2); draft customized notices to 56th omnibus claim
                                                                 objection (.3); draft customized notices to 58th omnibus claim objection (.3); email w.
                                                                 MRP re: same (.1); email w. KAB, MRP, S&C and A&M re: same and next steps (.1)
         1368.002    07/24/2024    LR         1.80        630.00 Confer with MR re: 50th Omnibus Objections (.2); review and revise Index re: same
                                                                 (1.6)
         1368.002    07/24/2024   AGL         0.90      1,147.50 discussions with MRP re: customer claims issues and reconciliation (.3); review and
                                                                 analyze claims and reconcilations re: same (.6)
         1368.002    07/24/2024   MBM         0.80        820.00 review and analyze artz claim objection (.5); emails with Brown and S&C re: same (.3)
         1368.002    07/24/2024   MPH         0.10         35.00 Review and analyze Letter regarding Claim Filed by Emmanuel Fauquet; Email
                                                                 exchange with KAB, MRP, GAW, CRW, ER & MR re: same
         1368.002    07/24/2024   KAB         1.20      1,110.00 emails with S&C and M. McGuire re: Artz claim objection and consider issues related
                                                                 thereto (.3); multiple emails with S&C, A&M and LRC teams re: claim issues,
                                                                 customized notices and related issues (.3); emails with customers and/or their counsel
                                                                 and LRC CLaims team re: pending claim objections and related issues (.2); emails with
                                                                 S&C and M. Pierce re: ICC motion to seal claim objection and review attachment
                                                                 thereto (.4)
         1368.002    07/25/2024   GAW         5.20      2,340.00 discussions w. CRW re: 8th round claims tracker w. revisions and updates and updates
                                                                 (.3); discussions w. MRP re: tracker updates (.2); emails w. MRP, CRW, S&C and A&M
                                                                 re: 54th, 56th, and 58th customized notices (.3); review and revise 56th notice (.2);
                                                                 revise 6th round omnibus claim objection (1.1); revise 8th round omnibus claim
                                                                 tracker (.9); multiple emails w. CRW re: claimant responses to omnibus claim
                                                                 objections and tracker updates and review of same (.4); calls w. MRP & counsel to
                                                                 customers re: pending claim objs. 49th and 56th (.5); call w. MRP and counsel to
                                                                 customer re: amended claim (.4); review supporting documentation from claimant
                                                                 regarding modified amounts (.5); email w. KAB, MRP, S&C and A&M re: supporting
                                                                 documentation of claimant response concerning discrepancy (.4)
         1368.002    07/25/2024   CRW         1.20        474.00 Update claim tracker charts: Eight Round Omni Obj (.3), Ninth Round Omni Obj (.4);
                                                                 Review docket for responses to omni claim objs. (.2); discussions with GAW re: 8th
                                                                 round tracker and updates needed (.3)
         1368.002    07/25/2024   AGL         0.90      1,147.50 discussions with MRP re: customer claim issues (.4); consider strategy and next steps
                                                                 on same (.5)
         1368.002    07/25/2024   MRP         2.40      1,800.00 Call w/ counsel to customer and GAW re: client's KYC issue (.2); Discussion w/ AGL re:
                                                                 claim issues (.4); call w/ counsel to customer and GAW re: 44th and 56th omi
                                                                 objection (.5); prepare for (.7) and participate on call w/ counsel to customer and
                                                                 GAW re: amended claim (.4); Meeting w/ GAW re: updates to claim objection tracker
                                                                 and related issues (.2)
         1368.002    07/25/2024   KAB         0.50        462.50 multiple emails with LRC claims team and customers and/or their counsel re: pending
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24          Page 18 of 41                                Page: 17
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 claim objs, adjourments and reconciliations; emails with S&C, A&M and LRC claims
                                                                 teams re: same, round 9 claim objs and other claim issues
         1368.002    07/25/2024   KAB         0.50        462.50 emails with S&C, A&M, M. Pierce and G. Williams re: FTX Europe AG claim issues and
                                                                 review and analyze notice related to same
         1368.002    07/26/2024   CRW         3.70      1,461.50 Update omni claim obj. tracker charts: First Round (.2), Second Round (.1), Third
                                                                 Round (.2), Fourth Round (.1), Fifth Round (.3), Sixth Round (.1), Seventh Round (.7),
                                                                 Eighth Round (.4), Ninth Round (1.0); call with GAW re: same (.3); review docket re:
                                                                 claimant responses to claim objections (.2); emails with GAW and MRP re: tracker
                                                                 updates (.1)
         1368.002    07/26/2024   GAW         2.60      1,170.00 emails w. KAB, MRP, and S&C re: Objection to ICC Claim, Declaration ISO, and motion
                                                                 to seal (.2); review same (1.0); emails w. MRP and CRW re: notice to motion to seal
                                                                 (.2); draft notice re: same (.3); email w. MRP, CRW and MH re: same (.2); emails w.
                                                                 KAB, MRP, and S&C re: extension to response deadline for Non-Customer Claim
                                                                 Objections (.1); email w. EAR, CRW, and M. Ramirez re: same (.2); call w. CRW re: claim
                                                                 objection response to 11th & 36th omnibus claim objection and tracker updates
                                                                 needed (.3); emails w. MRP & CRW re: claim objection responses and tracker updates
                                                                 (.1)
         1368.002    07/26/2024    MR         4.70      1,645.00 draft 56th through 63rd claims objection index
         1368.002    07/26/2024   KAB         0.50        462.50 emails with various customers and/or their counsel re: pending claim issues; emails
                                                                 with A&M, S&C and LRC re: same
         1368.002    07/26/2024   KAB         0.30        277.50 multiple emails with S&C, M. Pierce and G. Williams re: ICC objection and redaction
                                                                 issues
         1368.002    07/26/2024   MPH         0.20         70.00 Review and analyze Umut Isik Cengiz's Response to Objection to Claim and Starboard
                                                                 Digital Strategies Response to Objection to Claim; Email exchange with KAB, MRP,
                                                                 GAW, CRW, ER & MR re: same
         1368.002    07/26/2024   MPH         1.90        665.00 Revise, format, finalize and file (1) Motion to Seal Debtors' Objection to Proof of
                                                                 Claim Filed by ICC Business Corporation FZ LLC and Accompanying Declaration (.8);
                                                                 (2) Debtors' Objection to Proof of Claim Filed by ICC Business Corporation FZ LLC (.5);
                                                                 and (3) (REDACTED) - Declaration of Steven P. Coverick in Support of Debtors'
                                                                 Objection to Proof of Claim Filed by ICC Business Corporation FZ LLC (.5); Emails with
                                                                 MRP, GAW & CRW re: same (.1)
         1368.002    07/26/2024   MRP         0.40        300.00 Analyze response to objection to claim 46391; emails w/ S&C and A&M re: the same
         1368.002    07/26/2024   MRP         0.10         75.00 Email w/ R. DiMassa re: claims subject to 45th omnibus objection
         1368.002    07/26/2024   MRP         1.10        825.00 Emails w/ S&C re: ICC sealing motion (.1); review redacted ICC claim objection
                                                                 exhibits (.4); emails w/ GAW and MH re: finalizing the same (.1); review filing versions
                                                                 of sealing motion and redacted documents (.5)
         1368.002    07/28/2024   GAW         2.20        990.00 emails w. KAB, MRP S&C and customer re: response to objection (.2); review and
                                                                 revise claim objection response tracker charts (2.0)
         1368.002    07/28/2024   KAB         0.30        277.50 emails with customer, S&C, and M. Pierce re: pending claim obj; emails with A&M,
                                                                 S&C and M. Pierce re: recent claim amendments and related issues and consider
                                                                 issues related to same
         1368.002    07/28/2024   MRP         0.10         75.00 Emails w/ R. Poppiti re: ICC claim objection sealing motion
         1368.002    07/28/2024   MRP         0.10         75.00 Emails w/ S&C and SRZ re: ICC objection and sealing motion
         1368.002    07/28/2024   MRP         0.20        150.00 Emails w/ S&C and A&M re: amended proofs of claim and related issues
         1368.002    07/29/2024    MR         2.50        875.00 revise indices re: 43 through 63rd omnibus claims objections
         1368.002    07/29/2024   GAW         1.60        720.00 numerous emails w. KAB, MRP, and CRW re: claimant responses and objection
                                                                 response trackers (.3); confer w. KAB and EAR re: claim objections (.2); revise/update
                                                                 claim obj. trackers (1.1)
         1368.002    07/29/2024   MRP         0.10         75.00 Call w/ E. Rogers re: status update on certain claim objection inquires
         1368.002    07/29/2024   KAB         1.00        925.00 discussion with E. Rogers and G. Williams re: claim issues and next steps (.2);
                                                                 discussion with M. Pierce re: same (.1); emails with numerous customers and/or their
                                                                 counsel and LRC team re: status of pending claim objs (.2); review and revise
                                                                 proposed language from counsel to customer re: 36th omni order and consider
                                                                 related issues (.4); emails with A&M, S&C, M. Pierce and G. Williams re: same (.1)
         1368.002    07/29/2024   CRW         2.60      1,027.00 Update omni claim obj. tracker charts: Sixth Round (.6), Eighth Round (.6), Ninth
                                                                 Round (.6); review docket re: claimant responses (.2); review and analyze claimant
                                                                 responses (.6)
         1368.002    07/29/2024   AGL         0.30        382.50 discussions with MRP re: status of claims objections and responses
         1368.002    07/29/2024   EAR         0.10         53.50 Call w. MRP re: status update on certain claim objection inquiries
         1368.002    07/29/2024   EAR         0.20        107.00 Discussion w. KAB and GAW re: claim issues and next steps
         1368.002    07/29/2024   MRP         0.20        150.00 Emails w/ A&M and S&C re: additional parties for objection on 10th omni objection
                                                                 round; review the same
         1368.002    07/30/2024   GAW         6.70      3,015.00 discussions w. CRW re: updates to 6th, 8th & 9th round omnibus claim trackers (.2);
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24          Page 19 of 41                               Page: 18
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date   Tkpr       to Bill     Amount
Phase ID B124 Claims Administration & Objections
                                                                 emails w. KAB, MRP, S&C and A&M re: 54th omnibus objection (.1); emails w. KAB,
                                                                 MRP, S&C and counsel to claimant re: 36th omni obj (.1); review and revise 6th (.9),
                                                                 7th (.7), 8th (1.3) and 9th (1.1) round omnibus claim trackers; Confer w. CRW re: status
                                                                 of 8th round omnibus claims and potential CNO/COCs (.2); discussions w. MRP re:
                                                                 same (.1); Meeting w. KAB, MRP, EAR, CRW, S&C and A&M re: claims (1.0); confer w.
                                                                 EAR & CRW re: outstanding responses, claim trackers, proposed correspondence, and
                                                                 COCs to Omnibus Claim Objections (.5); emails w. CRW & M. Ramirez re: index for 9th
                                                                 Round Omnibus Claim Objections (.1); confer w. CRW re: same (.2); discussion w. KAB
                                                                 and CRW re: next steps on claims (.2)
         1368.002    07/30/2024   MRP         0.10         75.00 Emails w/ L. Larsen re: Cal Bears claim objection
         1368.002    07/30/2024   MRP         0.10         75.00 Discussion w/ GAW re: CNOs/COCs for 8th round claim objections
         1368.002    07/30/2024   CRW         4.50      1,777.50 Update omni claim obj. tracker charts: First Round (.1), Second Round (.1), Third
                                                                 Round (.2), Fourth Round (.2), Fifth Round (.2) Sixth Round (.5); Seventh Round (.3)
                                                                 Eighth Round (.5); Ninth Round (.5); confer with JH re: same (.2); attend weekly omni
                                                                 claim obj. response call with S&C, A&M and LRC claim teams (1.0); confer with GAW
                                                                 and EAR re: drafting COCs, Debtors' responses to claimants, and next steps for
                                                                 resolving open responses (.5); discussion with KAB and GAW re: next steps on
                                                                 pending claims (.2)
         1368.002    07/30/2024    JH         0.30         93.00 Confer w/ CRW re: omnibus claim objection tracker charts; prepare materials for same
         1368.002    07/30/2024   KAB         2.00      1,850.00 call with counsel to customer re: pending claim objection (.2); multiple emails with
                                                                 A&M, S&C, M. Pierce and G. Williams re: various open claim issues (.2); prepare for
                                                                 (.3) and call with (1.0) S&C, A&M, M. Pierce, E. Rogers, G. Williams and C. Wood re:
                                                                 open claim issues; discussion with G. Williams and C. Wood re: next steps on same
                                                                 (.2); email counsel to customer re: revised 36th omni claim obj order and related
                                                                 issues (.1)
         1368.002    07/30/2024   CRW         1.00        395.00 Review and revise index for 8th and 9th Round Omni Claim Objection Tracker (.7);
                                                                 emails w. GAW & M. Ramirez re: index for 8th and 9th Round Omnibus Claim
                                                                 Objections (.1); confer w. GAW re: same (.2)
         1368.002    07/30/2024   EAR         2.20      1,177.00 Review/analyze claims tracker (.7); call w. LRC, S&C and A&M re: open claim issues
                                                                 (1.0); discussion w. GAW and CRW re: claim responses and next steps (.5)
         1368.002    07/30/2024   MPH         0.40        140.00 Review and analyze email from GAW re: extension of Claim Objection Response
                                                                 Deadline for North Field Technology & Cal Bears to August 12, 2024; Update calendar
                                                                 and Critical Dates Memo re: same; Email exchange with MRP, GAW, CRW, ER & MR
                                                                 re: same
         1368.002    07/30/2024    MR         0.10         35.00 emails w. GAW & CRW re: 9th round omnibus claim objections
         1368.002    07/30/2024   MRP         0.40        300.00 Emails w/ S. Pearson, S&C and KAB re: objection to non-customer claim on 63rd
                                                                 omni; review related POC
         1368.002    07/30/2024   MRP         0.30        225.00 Emails w/ A&M re: claim on 54th omni objection and related issues; review surviving
                                                                 claim and 56th omni treatment w/r/t claimant
         1368.002    07/30/2024   MRP         0.20        150.00 Email w/ A. Polansky re: claimant comments to revised 36th omni order; review
                                                                 proposed revisions to order
         1368.002    07/30/2024   MRP         0.50        375.00 Emails w/ S&C and A&M re: claim purchaser issues; review related background w/r/t
                                                                 the same; discussion w/ KAB re: the same
         1368.002    07/30/2024   MRP         1.50      1,125.00 Review draft objection to LayerZero estimation objection (1.3); emails w/ S&C and
                                                                 KAB re: comments to draft objection (.1); emails w/ KAB, MR and JF re: finalizing and
                                                                 filing the same (.1)
         1368.002    07/30/2024   MRP         0.10         75.00 Emails w/ KAB and R. Palacio re: Olympus Peak motion and status of the same
         1368.002    07/30/2024   MRP         0.10         75.00 Email w/ Haynes and Book re: claim subject to 36th omni objection
         1368.002    07/30/2024   MRP         3.50      2,625.00 Prepare for (2.2) and attend weekly claims call w/ A&M, S&C and LRC teams (1.0);
                                                                 discussion w/ CRW re: updates for claim tracker (.1); multiple emails w/ A&M, S&C,
                                                                 KAB and GAW re: open claim issues (.2)
         1368.002    07/31/2024   GAW         0.90        405.00 multiple emails w. KAB, MRP, CRW, S&C and A&M re: status updates to customer
                                                                 responses to omnibus claims (.4); prepare for (.3) and call w. MRP and customers'
                                                                 counsel re: same (.2)
         1368.002    07/31/2024   MRP         0.60        450.00 prepare for (.4) and attend (.2) call w/ counsel to customer and GAW re: 36th
                                                                 omnibus objection
         1368.002    07/31/2024    MR         0.40        140.00 revise index re: 50th claims objection; confer with JH re same; email with GAW and
                                                                 CRW re: same
         1368.002    07/31/2024   EAR         0.70        374.50 Draft/revise claim objection update list (.6); emails re: the same w. GAW and CRW (.1)
         1368.002    07/31/2024   KAB         0.60        555.00 emails with A&M, S&C, M. Pierce, G. Williams and C. Wood re: open claim issues,
                                                                 transaction history details and related issues (.2); emails with multiple customers
                                                                 and/or their counsel, M. Pierce, G. Williams and C. Wood re: pending claim objs and
                                                                 related issues (.4)
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24            Page 20 of 41                                Page: 19
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill      Amount
Phase ID B124 Claims Administration & Objections
         1368.002   07/31/2024    CRW         2.50         987.50 Update omni claim obj. tracker charts: Fifth Round (.1), Eighth Round (1.0); emails
                                                                  from MRP, GAW, and customers and/or their counsel re: responses to claimants (.2);
                                                                  review and analyze responses and consider next steps (1.0); emails with KAB, MRP,
                                                                  GAW, S&C and A&M (.2)
         1368.002    07/31/2024      JH        0.30         93.00 Confer w/ MR re: revisions to index re: 50th claims objection; review and revise same
         1368.002    07/31/2024     MRP        2.10      1,575.00 Emails w/ A&M re: diligence w/r/t responses to 8th and 9th round of omnibus
                                                                  objections (.2); analyze findings w/r/t certain claim objection responses (1.1); email w/
                                                                  A&M re: open issues w/r/t 7th round omni orders (.1); emails w/ S&C and A&M re:
                                                                  issues w/r/t claims upcoming 10th round of omni objections (.1); review draft of
                                                                  transaction history w/r/t claim on pending objection (.4); emails w/ A&M, S&C and
                                                                  KAB re: the same (.2)

Total for Phase ID B124           Billable   422.70    241,682.50 Claims Administration & Objections

Phase ID B134 Hearings
         1368.002   07/02/2024       MR        0.10         35.00 review email from MBM re: FTX/Mirana adversary oral argument
         1368.002   07/03/2024       MR        1.50        525.00 draft 7.17 hearing agenda (1.4); confer with GAW and HWR re: same (.1)
         1368.002   07/03/2024      GAW        0.80        360.00 confer w. MR re: 7/17 hearing and matters going forward (.1); review 6/25 amended
                                                                  agenda re: adjourned matters and consider current status (.7)
         1368.002    07/03/2024     HWR        0.10         53.50 confer w/ GAW and MR re: July 17 hearing agenda
         1368.002    07/08/2024      MR        0.10         35.00 confer with HWR re: adversary deadlines and matters on for the 7.17 hearing agenda
         1368.002    07/08/2024     GAW        0.30        135.00 emails w. RLF re: request for 11.15 hearing transcript; review and analyze transcripts
                                                                  re: same in connection with
         1368.002    07/08/2024     HWR        0.50        267.50 Review and analyze status of Friedberg pretrial conference for purposes of July 17
                                                                  hearing agenda and emails and call w/ Quinn Emanuel re: same; emails and confer w/
                                                                  MR re: same
         1368.002    07/09/2024     CRW        0.20         79.00 Confer with M. Ramirez and GAW re: agenda for 7/17 and related issues
         1368.002    07/09/2024      MR        0.80        280.00 confer with GAW and CRW re: draft 7.17 hearing agenda (.2); continue drafting same
                                                                  (.6)
         1368.002    07/09/2024     GAW        0.90        405.00 confer w. MR and CRW re: matters going forward for 7.17 hearing (.2); review and
                                                                  revise list of same (.7)
         1368.002    07/10/2024       MR       0.70        245.00 continue revising agenda re: 7.17 hearing (.5); emails with KAB, MRP, HWR, GAW and
                                                                  CRW re: same (.2)
         1368.002    07/10/2024      KAB       0.10         92.50 emails with R. Palacio re: adjournment of Olympus Peak claim transfer motion; emails
                                                                  with LRC team re: updates to hearing agenda, calendar and critical dates
         1368.002    07/10/2024      KAB       0.40        370.00 review and analyze chart of matters scheduled for/adjourned to 7/17 hearing; emails
                                                                  with M. Ramirez, H. Robertson, M. Pierce, G. Williams and C. Wood re: same
         1368.002    07/10/2024     GAW        0.30        135.00 emails w. KAB, MRP, CRW, NEJ, M. Ramirez re: adjournment of Olympus Motion;
                                                                  review and revise list of 7.17 hearing matters; emails w. LRC team re: same
         1368.002    07/10/2024     HWR        0.20        107.00 Review and analyze items listed for 7/17 hearing re: adversaries and emails w/ KAB,
                                                                  MR, MRP, GAW and CRW re: same
         1368.002    07/11/2024     GAW        0.80        360.00 review and revise 7/17 agenda (.7); discussions w. KAB re: agenda (.1)
         1368.002    07/11/2024      KAB       0.30        277.50 emails with A. Landis and M. Pierce re: 7/17 agenda, hearing and related issues;
                                                                  discussion with G. Williams re: 7/17 agenda issues
         1368.002    07/11/2024      AGL       0.30        382.50 emails and discussions with S&C and LRC teams re: agenda for 7/17 hearing,
                                                                  withdrawal of subpoena and related matters
         1368.002    07/12/2024       MR       0.50        175.00 update 7.17 hearing agenda; email with GAW re: same; confer GAW and CRW re:
                                                                  same
         1368.002    07/12/2024     GAW        1.20        540.00 emails w. M. Ramirez re: 7/17 hearing agenda (.1); emails w. M. Ramirez and JH re:
                                                                  same (.1); confer w. M. Ramirez and CRW re: same and materials needed for
                                                                  Chambers (.2); multiple emails w. KAB, MRP, NEJ & CRW re: matters going forward for
                                                                  hearing (.3); revise 7.17 matters chart (.5)
         1368.002    07/12/2024        JH      0.60        186.00 Emails w/ GAW and MR re: drafting Chambers folder for matters going forward w/r/t
                                                                  July 17th hearing (.1); Draft and prepare same (.5)
         1368.002    07/12/2024     HWR        0.30        160.50 Review and analyze status of matters for July 17 omnibus hearing re: adversaries and
                                                                  emails w/ S&C, KAB, MRP, GAW and NEJ re: same
         1368.002    07/12/2024     CRW        1.80        711.00 Review and revise materials for Chambers for 7/17 hearing (1.3); confer with GAW
                                                                  and M. Ramirez re: same (.2); emails with KAB, MRP, NEJ, GAW and M. Ramirez re:
                                                                  same (.3)
         1368.002    07/12/2024      KAB       0.70        647.50 review and analyze chart of 7/17 hearing matters and analyze status of same (.4);
                                                                  emails with M. Pierce, H. Robertson, N. Jenner and G. Williams re: status of various
                                                                  litigation matters (.2); emails with S&C and M. Pierce re: 7/17 hearing (.1)
         1368.002    07/12/2024      NEJ       1.90      1,140.00 Emails w. KAB and MRP re: August hearing for 9019 motion (.1); call w. Court re: same
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24           Page 21 of 41                                 Page: 20
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill     Amount
Phase ID B134 Hearings
                                                                 (.2); Emails w. KAB, MRP, HWR, and GAW re: status of matters for 7/17 hearing (.1);
                                                                 Call QE re: Evolve Bank 2004 motion and status (.1); Emails w. KAB, MRP, GAW, and
                                                                 QE re: same (.1); review and revise materials for Chambers for 7/17 hearing (1.3)
         1368.002    07/12/2024     MRP       0.20        150.00 Emails w/ KAB re: hearing dates for; emails w/ NEJ re: the same
         1368.002    07/12/2024     MRP       0.50        375.00 Emails w/ LRC team status of items set for July 17th hearing; review summary of
                                                                 status of hearing items
         1368.002    07/13/2024      KAB      0.10         92.50 emails with A. Kranzley and M. Pierce re: 7/17 hearing and related issues
         1368.002    07/15/2024     GAW       0.60        270.00 Emails w. KAB, MRP, NEJ & CRW re: 7/17 hearing (.1); confer w. NEJ re: same (.1);
                                                                 emails w. KAB, MRP, NEJ and S&C re: same (.1); emails w. KAB, MRP, NEJ, CRW, M.
                                                                 Ramirez and MH re: same (.2); discussions w. CRW re: tracker charts for August and
                                                                 September hearings (.1)
         1368.002    07/15/2024      KAB      0.30        277.50 multiple emails with M. Pierce, N. Jenner, C. Wood and G. Williams re: Certification of
                                                                 Counsel for Japan private sale motion, cancellation of hearing and agenda issues;
                                                                 emails with M. Ramirez, M. Pierce and N. Jenner re: finalization and filing of
                                                                 Certification of Counsel and Agenda; emails with S&C, M. Pierce, N. Jenner and G.
                                                                 Williams re: Japan Certification of Counsel and hearing issues
         1368.002    07/15/2024     CRW       0.70        276.50 Draft August 15th Hearing Matters Chart (.3); draft September 12th Hearing Matters
                                                                 Chart (.2); confer with GAW re: same (.1); emails with GAW and M. Ramirez re: same
                                                                 (.1)
         1368.002    07/15/2024      MR       0.30        105.00 update 7/17 agenda; emails with MRP, NEJ and GAW re: same
         1368.002    07/15/2024      NEJ      0.40        240.00 Review and revise agenda; call court to cancel hearing; confer w. GAW re: same;
                                                                 emails w. LRC team re: same
         1368.002    07/15/2024     MPH       0.50        175.00 Review and analyze Agenda Cancelling July 17 hearing in the Main Case, Center for
                                                                 Applied Rationality, Adv. No. 24-50066, Fridberg, Adv. No. 23-50419, Burgess, Adv.
                                                                 No. 23-50585, and FTX Digital Markets Ch. 15, Case No. 22-11217; Email exchange
                                                                 with KAB, MRP, NEJ, GAW, CRW & MR re: same
         1368.002    07/15/2024     MRP       0.70        525.00 Review and revise agenda for July 17th hearing (.6); emails w/ LRC team re: finalzing
                                                                 and filing the same (.1)
         1368.002    07/16/2024     GAW       4.50      2,025.00 review and revise matters list for 8/15 hearing (2.1); review and revise matters list for
                                                                 9/12 hearing (2.1); confer w. MR re: same (.3)
         1368.002    07/17/2024       MR      0.10         35.00 email with KAB re: LayerZero's 3018 motion being rescheduled from August 6th
                                                                 hearing
         1368.002    07/23/2024      MR       0.50        175.00 draft 8.6 hearing agenda
         1368.002    07/23/2024      MR       0.10         35.00 draft 8.13 hearing agenda
         1368.002    07/29/2024      MR       0.60        210.00 confer with HWR re: hearing agenda for Mirana adversary (.1); draft same (.5)
         1368.002    07/29/2024     HWR       0.30        160.50 Emails and confer w/ MR re: motion to dismiss hearing in Mirana and drafting agenda
                                                                 for same and review docket re: updates re: hearing date and time
         1368.002    07/29/2024     HWR       0.10         53.50 Emails w/ Quinn Emanuel, MRP, GAW and CRW re: June 25 hearing transcript
         1368.002    07/30/2024      MR       1.90        665.00 continue drafting 8.13 oral argument hearing agenda (1.8); review emails from MBM
                                                                 and HWR re: oral argument hearing date (.1); email w. MRP, EAR, GAW, CRW and
                                                                 MPH re: critical dates;
         1368.002    07/30/2024      KAB      0.10         92.50 emails with R. Palacio re: status of Olympus Peak 3001 litigation and hearing
                                                                 adjournment; emails with LRC team re: updates to agenda and critical dates
         1368.002    07/31/2024       MR      1.50        525.00 continue drafting 8.13 hearing agenda

Total for Phase ID B134           Billable   29.40     14,167.50 Hearings

Phase ID B135 Litigation
         1368.002    07/01/2024     GAW       2.00        900.00 emails w. clawback target re: draft stipulation with tax hold back language (.2); emails
                                                                 w. RSC re: adversary proceeding with avoidance actions (.4); review adversary
                                                                 complaints re: same (1.2); email w. RSC re: weekly small estate claim settlement
                                                                 schedule (.1) discussions with RSC re: same (.1)
         1368.002    07/01/2024     HWR       0.90        481.50 Review and analyze draft notices of dismissal for Lumen, Riboscience, 4J Therapeutics
                                                                 (.1); consider K. Mayberry questions re: case caption issues and review rules re: same
                                                                 (.4); emails w/ MBM, MRP and K. Mayberry re: case caption issues (.2); review/analyze
                                                                 proposed final versions of notices of dismissal for filing (.1); emails w/ MR and MBM
                                                                 re: same (.1)
         1368.002    07/01/2024     HWR       0.10         53.50 Emails w/ MR re: response deadline extension for defendants in MDL adversary and
                                                                 case updates
         1368.002    07/01/2024       MR      1.00        350.00 finalize and file notices of dismissal re: defendants in Latona adversary (.9); emails
                                                                 with MBM and HWR re: same (.1)
         1368.002    07/01/2024      RSC      0.90      1,147.50 Draft settlement summary for submission to protocol (.1), and discussion with
                                                                 williams re: weekly settlement chart revisions (.1); Prep for (.3) and participate in (.4)
                            Case 22-11068-JTD        DocFee
                                                    Detail  24025-2         FiledReport
                                                               Task Code Billing   08/29/24          Page 22 of 41                                Page: 21
                                                           Fee App - Detailed Fees
                                                           Landis Rath & Cobb LLP

                           Trans          Hours
            Client          Date   Tkpr   to Bill     Amount
Phase ID B135 Litigation
                                                              conf call with clawback target counsel re: settlement offer and issues raised re:
                                                              defenses
         1368.002    07/01/2024    MBM     0.90        922.50 review of Lumen dismissal notice (.3); emails with Robertson re: same (.2); review case
                                                              name change issues (.2) and confer (.2) with S&C and Robertson re: same
         1368.002    07/01/2024    MBM     0.60        615.00 numerous emails with Court and opposing counsel re: scheduling of Mirana oral
                                                              arguments (.4); emails with MDL counsel re: same (.2)
         1368.002    07/01/2024    MRP     0.10         75.00 Emails w/ HWR and MBM re: voluntary dismissal; email w/ S&C and HWR re: the
                                                              same
         1368.002    07/02/2024    GAW     0.50        225.00 emails w. RSC & MBM re: settlement schedule; draft small estate claim settlement
                                                              tracker
         1368.002    07/02/2024    HWR     1.30        695.50 Review/revise motion for default judgment (.2); consider issues and strategy
                                                              regarding proper relief to seek by default judgment (.6); draft analysis of same (.4)
                                                              and emails w/ MBM re: same (.1)
         1368.002    07/02/2024    KAB     0.10         92.50 emails with M. McGuire, M. Pierce, N. Jenner and M. Ramirez re: oral argument in
                                                              Mirana adversary
         1368.002    07/02/2024     RSC    0.40        510.00 Discussion with cilia re: payment instructions for two clawback target settlements;
                                                              discussion with clawback targets re: executed stips and payment instructions;
                                                              discussion wi cerra re: clawback target representation and response; discuss and
                                                              review settlement proposal from clawback target counsel
         1368.002    07/02/2024    MBM     0.40        410.00 review of small claim settlements, emails with Williams and Cobb re: same
         1368.002    07/02/2024    MBM     0.40        410.00 emails with Court and opposing counsel re: Mirana oral arguments; emails with LRC
                                                              team re: same
         1368.002    07/02/2024    MRP     0.10         75.00 Email w/ MBM re: oral argument for Mirana motion to dismiss
         1368.002    07/03/2024    RSC     0.20        255.00 Discussion with clawback target inhouse counsel re: settlement payment process;
                                                              discussion wi s&c team re: settlement issues wi clawback target
         1368.002    07/05/2024    GAW     3.20      1,440.00 revise stipulation w. clawback target re: tax hold back (1.8); emails w. RSC re: same
                                                              (.3); review, update and revise small estate claim tracker (.6); emails w. RSC & MBM re:
                                                              clawback tracker (.1); emails w. RSC and S&C re: proposed settlement schedule (.1);
                                                              email w. clawback target re: stipulation and consider issues related to same (.3)
         1368.002    07/05/2024    HWR     0.10         53.50 Review return of service for MDL adversary and emails w/ MR and TD re: same
         1368.002    07/06/2024    GAW     0.40        180.00 emails w. counsel to clawback target agreeing to stipulation; review/update small
                                                              estate claim schedule re: same; email w. RSC and S&C re: same
         1368.002    07/08/2024     MR     0.20         70.00 draft Certificate of No Objection re: Burgess 9019 settlement motion
         1368.002    07/08/2024     MR     0.60        210.00 finalize and file Stipulation to Modify Case Management Plan and Scheduling Order
                                                              in FTX insiders adversary (.5); emails with MBM and HWR re: same (.1)
         1368.002    07/08/2024    GAW     0.80        360.00 emails w. RSC & MBM re: settlement tracker (.1) and emails w. RSC & S&C re: same
                                                              (.1); review and update same (.2); call w. B. Harsh re: same (.1); emails w. RSC, MBM
                                                              and HRW re: small estate claim settlements (.1); confer w. HWR & RSC re: same (.2)
         1368.002    07/08/2024    HWR     0.80        428.00 Review and analyze stipulation regarding revised CMO and revise same (.3); emails w/
                                                              S&C, MBM, and opposing counsel re: same (.2); emails w/ MR and MH re: finalizing
                                                              and filing same (.1) and review proposed final version of same for filing (.2)
         1368.002    07/08/2024    HWR     0.50        267.50 Review status of CFAR adversary for purposes of determining status of pretrial
                                                              conference and confer and emails w/ MBM re: same; emails w/ opposing counsel re:
                                                              adjourning pretrial conference; emails w/ MBM re: default judgment issues for FTX
                                                              Foundation
         1368.002    07/08/2024    HWR     0.60        321.00 Review and revise Small Estate Claims settlement notice for clawback targets (.2);
                                                              emails w/ RSC, S&C, MBM, MR re: same (.1) and confer w/ RSC and GAW re: same
                                                              (.2); and emails w/ MR and GAW re: finalizing notice (.1)
         1368.002    07/08/2024    HWR     0.20        107.00 Review and analyze upcoming dates and deadlines in adversary proceedings; email
                                                              w/ GAW re: same; confer w/ MR re: same
         1368.002    07/08/2024     RSC    0.20        255.00 Discussions with 2 clawback targets re: defenses to clawback and counters and
                                                              consider same
         1368.002    07/08/2024    MBM     0.50        512.50 review of revised Insider CMP; emails with Robertson and S&C re: same
         1368.002    07/08/2024    MBM     0.40        410.00 emails with Robertson and Buck re: CFAR pre-trial conference
         1368.002    07/08/2024     RSC    0.20        255.00 confer with HWR and GAW re: Small Estate Claims settlement notice for clawback
                                                              target
         1368.002    07/09/2024     MR     0.60        210.00 review and revise CNO re: 9019 Burgess motion (.2); finalize and file same (.3); emails
                                                              with MBM and HWR re: same (.1)
         1368.002    07/09/2024    GAW     1.70        765.00 review and analyze approved small estate settlement schedule and underlying
                                                              documents thereto (.7); revise stipulations with clawback targets (.3); emails w.
                                                              clawback targets re: approved stipulation and payment instructions (.2); email w. KAB
                                                              & MRP re: expungement of claim and contact for professionals and consider issues
                                                              re: same (.3); email w. international claimant re: return of funds (.1); emails w. RSC,
                            Case 22-11068-JTD        DocFee
                                                    Detail  24025-2         FiledReport
                                                               Task Code Billing   08/29/24         Page 23 of 41                                Page: 22
                                                           Fee App - Detailed Fees
                                                           Landis Rath & Cobb LLP

                           Trans          Hours
            Client          Date   Tkpr   to Bill     Amount
Phase ID B135 Litigation
                                                              S&C and M. Cilia re: payment from clawback target (.1)
         1368.002    07/09/2024     MR     0.20         70.00 revise, finalize and file small claims settlement notice; emails with MBM and HWR re:
                                                              same
         1368.002    07/09/2024     MR     0.30        105.00 finalize and file June 2024 monthly consumated settlement notice; emails with MBM
                                                              and HWR re: same
         1368.002    07/09/2024    RSC     0.20        255.00 Discussion with s&c team re: june small estate claims settlement notice, and review
                                                              and comments re: notice content
         1368.002    07/09/2024    RSC     0.10        127.50 Discussion with clawback target inhouse counsel re: executed settlement stip and
                                                              settlement payment amount
         1368.002    07/09/2024    HWR     0.50        267.50 Review and revise CNO for Burgess 9019 motion and emails w/ S&C, MBM and MR
                                                              re: same; review proposed final version of CNO for filing and Orders for upload
         1368.002    07/09/2024    HWR     0.60        321.00 Review revised Small Estate Claims settlement notice and emails w/ S&C, RSC and
                                                              GAW re: same (.4); confer w/ MR re: same (.1) and emails w/ MR and MBM re:
                                                              finalizing and filing same (.1)
         1368.002    07/09/2024    HWR     0.70        374.50 Review, revise and analyze multiple iterations of June monthly consummated small
                                                              estate claims settlement notice (.4) and emails w/ RSC, GAW, MBM and S&C re: same
                                                              (.1); emails w/ MR and MBM re: finalizing and filing same (.2)
         1368.002    07/09/2024    HWR     0.10         53.50 Emails w/ Quinn Emanuel and MR re: status of Friedberg pretrial conference for July
                                                              17 hearing
         1368.002    07/09/2024    MBM     0.80        820.00 review of Burgess 9019 motion (.5); numerous emails with Robertson and S&C re:
                                                              same (.3)
         1368.002    07/09/2024    MBM     1.00      1,025.00 review of multiple iterations of small claims settlement (.4); numerous emails with
                                                              Cobb and S&C re: same (.4); emails with MR and HWR re: same (.2)
         1368.002    07/10/2024    GAW     1.30        585.00 emails w. clawback target re: payment instructions (.4); confer w. RSC re: issue w.
                                                              clawback targets and next steps (.1); email w. RSC re: same (.2); review and analyze
                                                              certificate of incorporation for clawback target (.2); review and analyze entity search
                                                              for clawback target (.2); confer w. HRW re: same (.2)
         1368.002    07/10/2024    RSC     0.60        765.00 Draft/revise and related research re: settlement counter offers to two clawback
                                                              targets and send to counsel for each (.5); confer w. GAW re: issue w. clawback targets
                                                              and next steps (.1)
         1368.002    07/10/2024    KAB     0.20        185.00 emails with A. Landis and M. Pierce re: withdrawal of subpoena request and related
                                                              issues; briefly review and analyze underlying motion
         1368.002    07/10/2024    HWR     0.10         53.50 Emails w/ RSC and S&C re: June monthly small estate claims settlement notice
         1368.002    07/10/2024    HWR     1.00        535.00 Review and consider inquiry from S&C re: mediation status for Embed adversary and
                                                              process/procedure for terminating same (.3); review/analyze local rules re: mediation
                                                              procedure (.2); draft proposed response to S&C re: procedure for terminating
                                                              mediation and lifting discovery stay (.4); emails w/ MBM and S&C re: same (.1)
         1368.002    07/10/2024    HWR     0.20        107.00 Confer w/ GAW re: issues with clawback target and corporate documents issue
         1368.002    07/10/2024    MBM     0.70        717.50 review of research re: mediation issues (.3); emails with S&C and Robertson re: same
                                                              (.4)
         1368.002    07/11/2024     MR     0.20         70.00 review/analyze docket re: Notice of Service re: discovery and deposition of debtors;
                                                              emails with AGL, KAB, MRP, NEJ, GAW, CRW and MPH re: same
         1368.002    07/11/2024    RSC     0.20        255.00 Discussion with clawback target and cilia re: final payment instructions for UK
                                                              defendant; discussion with clawback target re: settlement agreement and final
                                                              settlement amount
         1368.002    07/11/2024    GAW     0.30        135.00 emails w. RSC and MBM re: small estate claim proposed weekly schedule; email w.
                                                              RSC and clawback targets counsel re: proposed settlement; email w. RSC & MBM re:
                                                              same; review, analyze and update small estate claim settlement tracker
         1368.002    07/11/2024    HWR     0.40        214.00 Review and analyze as-entered order on Burgess 9019 and emails w/ MR re: same
                                                              and emails w/ GAW and CRW re: service of same and confer w/ CRW re: same
         1368.002    07/11/2024    MPH     0.30        105.00 Review and analyze docket and file re: FTX EU (22-11068) adversary; update critical
                                                              dates and calendar in light of same; email exchange with HWR & MR re: same
         1368.002    07/11/2024    MRP     0.10         75.00 Review 3AC deposition notice
         1368.002    07/12/2024    GAW     0.60        270.00 emails w. RSC & MBM re: additional settlement to add to settlement schedule (.2);
                                                              update settlement schedule (.3); email w. RSC & S&C re: same (.1)
         1368.002    07/12/2024    HWR     0.20        107.00 Emails w/ MBM and S&C re: MDL adversary defendants request to extend deadline to
                                                              respond to complaint
         1368.002    07/12/2024    HWR     1.00        535.00 Review/analyze inquiry from S&C re: settlement issues with certain parties to Latona
                                                              adversary (.1); review local rules/ consider Delaware process and procedure for same
                                                              (.2) and emails w/ MBM and S&C re: same (.1); emails w/ S&C, MBM, MRP, NEJ, MH
                                                              re: notice of dismissal as to Latona and Ross Rheingans-Yoo (.3); review same and
                                                              consider issues with same under Delaware practice and procedure (.2); review and
                                                              analyze proposed final version of same for filing (.1)
                            Case 22-11068-JTD       DocFee
                                                   Detail  24025-2         FiledReport
                                                              Task Code Billing   08/29/24          Page 24 of 41                                Page: 23
                                                          Fee App - Detailed Fees
                                                          Landis Rath & Cobb LLP

                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B135 Litigation
         1368.002    07/12/2024   KAB     2.50      2,312.50 emails with S&C and M. Pierce re: CFTC 9019 motion, PFO and August hearing (.3);
                                                             emails with LRC team re: preparation of notice and PFO for CFTC 9019, finalization
                                                             and filing of same (.4); confer with M. Pierce re: same and related issues (.2); review
                                                             and revise CFTC 9019 (1.6)
         1368.002    07/12/2024   KAB     0.20        185.00 emails with QE, N. Jenner and M. Pierce re: status of Evolve 2004 and withdrawal of
                                                             same; emails with LRC team re: same and draft NOW
         1368.002    07/12/2024    NEJ    3.20      1,920.00 Draft CFTC 9019 PFO (1.6); Review and revise motion (1.2); Emails w. KAB, MRP and
                                                             GAW re: same (.2); Emails w. KAB, MRP, GAW, and S&C re: same (.2)
         1368.002    07/12/2024    NEJ    0.40        240.00 Draft NOW re: Silvergate, SVA, and Evolve 2004 motion; Emails w. KAB, MRP and
                                                             GAW re: same
         1368.002    07/12/2024   MPH     0.80        280.00 Finalize and file Notice of Voluntary Dismissal re: Defendant R. Rheingans-Yoo in the
                                                             Platform Life Sciences Adversary (.7); Email exchange with MBM & HWR re: same (.1)
         1368.002    07/12/2024   MPH     1.80        630.00 Review, analyze, revise, and format USCFTC Settlement Motion in preparation of filing
                                                             and service (1.1); Email exchange with KAB, MRP, NEJ & GAW re: same (.2); file same
                                                             (.5)
         1368.002    07/12/2024   MRP     0.10         75.00 Email w/ QE re: status of Evolve 2004 motion
         1368.002    07/12/2024   MRP     0.40        300.00 Email w/ S&C and HWR re: notice of dismissal; email w/ HWR re: the same and review
                                                             draft notice
         1368.002    07/14/2024    RSC    0.10        127.50 Discussion with cilia re: satisfaction of settlement amount by clawback target
         1368.002    07/15/2024   HWR     0.10         53.50 Review and analyze agreed upon extensions of various deadlines in MDL adversary
                                                             and emails w/ MR and MH re: same
         1368.002    07/15/2024   HWR     0.20        107.00 Review and analyze deadlines in Latona and FTX Insiders adversaries and emails w/
                                                             MR and MH re: revised deadlines for Defendant SBF
         1368.002    07/15/2024   HWR     0.10         53.50 Emails w/ MR and MH re: adjournment of CFAR pretrial conference
         1368.002    07/15/2024   GAW     0.70        315.00 Emails w. clawback targets re: return of funds (.5); emails w. RSC, M. Cilia, and S&C re:
                                                             payment initiating return of funds (.2)
         1368.002    07/15/2024   HWR     1.40        749.00 Review and analyze motion to dismiss (.3) and opening brief in support filed by the
                                                             CFAR defendants in the CFAR adversary (.9); and emails w/ MH, MR, MBM, RSC, GAW
                                                             re: same (.2)
         1368.002    07/15/2024   RSC     0.20        255.00 Discussion with S&C re: safe agreements and related defenses/issues
         1368.002    07/15/2024   MPH     0.20         70.00 Review and analyze Motion to Dismiss Adversary Proceeding and Brief In Support of
                                                             Defendants' Motion to Dismiss Plaintiff's Complaint filed by Defendants in the CFAR
                                                             adversary; Email exchange with MBM, HWR, GAW & MR re: same
         1368.002    07/15/2024   MRP     0.20        150.00 Emails w/ J. Eisen and Court re: mediation report status
         1368.002    07/16/2024   MRP     0.10         75.00 Review and analyze L. Stuart email re: JOLs and Celsius claims
         1368.002    07/16/2024   HWR     4.10      2,193.50 Consider merits of arguments asserted by CFAR defendants in motion to dismiss and
                                                             strategy in response (1.5); initial research re: motion to dismiss and arguments in
                                                             response for purposes of analyzing strategy and potential arguments in response
                                                             (1.9); confer w/ MBM re: same (.2); confer w/ GAW re: research and open issues in
                                                             CFAR adversary and motion to dismiss (.4); confer w/ RSC re: motion to dismiss (.1)
         1368.002    07/16/2024   GAW     2.30      1,035.00 emails w. RSC & MBM re: proposed clawback settlement (.2); revise settlement
                                                             schedule (.8); email w. RSC and S&C re: settlement schedule (.2); confer w. RSC re:
                                                             reasonably equivalent value research question (.2); confer w. HWR re: CFAR motion to
                                                             dismiss research (.4); review S&C memorandum re: for value (.5)
         1368.002    07/16/2024   RSC     0.60        765.00 Review/analyze mtd filed by cfar
         1368.002    07/16/2024   RSC     0.90      1,147.50 Review/analyze settlement counter and explanations by clawback target (.3);
                                                             Discussion with clawback target counsel re: settlement counter and approval process
                                                             (.1); Discussion with williams re: research re: reasonably equivalent value for clawback
                                                             target response (.2); Discussion with cilia and inhouse counsel for clawback target re:
                                                             settlement payment status, including research re: history in settlement process (.2);
                                                             Discussion with clawback target counsel re: settlement counter and approval process
                                                             (.1)
         1368.002    07/16/2024   MBM     2.30      2,357.50 review and analyze CFAR motion to dismiss (2.1); confer w. HWR re: same (.2)
         1368.002    07/16/2024   HWR     0.10         53.50 Email w/ S&C, RSC and GAW re: open issues re: small estate claims settlements
         1368.002    07/16/2024   MPH     0.10         35.00 Update Calendar and Case Tracker re: Response Deadline re: MTD filed in CFAR
                                                             adversary; Email exchange with MBM, HWR, GAW & MR re: same
         1368.002    07/17/2024   GAW     2.40      1,080.00 review memorandum re: fraudulent transfer and reasonably equivalent value (.4);
                                                             review and analyze certain cases cited therein (1.1); emails w. RSC re: same (.1);
                                                             discussion w. RSC re: same (.3); email w. counsel to clawback target re: approval of
                                                             stipulation (.2); review and revise clawback stipulation re: same (.2); emails w. another
                                                             clawback target re: settlement negotiations (.1)
         1368.002    07/17/2024   HWR     2.80      1,498.00 Evaluate argument made by defendants in motion to dismiss filed in CFAR adversary
                                                             and draft analysis of same (2.7); email w/ MBM re: CFAR defendants re: motion to
                            Case 22-11068-JTD        DocFee
                                                    Detail  24025-2         FiledReport
                                                               Task Code Billing   08/29/24          Page 25 of 41                                Page: 24
                                                           Fee App - Detailed Fees
                                                           Landis Rath & Cobb LLP

                           Trans          Hours
            Client          Date   Tkpr   to Bill     Amount
Phase ID B135 Litigation
                                                              dismiss and extension of response deadline (.1)
         1368.002    07/17/2024    RSC     0.30        382.50 Discussions with 2 different clawback target counsel re: settlement offer, related docs
                                                              and status
         1368.002    07/17/2024    RSC     0.80      1,020.00 Discussion with williams re: reasonably equivalent value issues, research and
                                                              conclusions regarding safe agreements (.3); review and consider research re:
                                                              reasonably equivalent value in 3d cir as relates to safe agreements (.5)
         1368.002    07/17/2024    HWR     0.10         53.50 Review and analyze correspondence re: LayerZero estimation motion and noticed
                                                              hearing date of 8/6
         1368.002    07/17/2024    HWR     0.10         53.50 Confer w/ MR re: deadlines in FTX Insiders and Latona adversaries
         1368.002    07/17/2024    HWR     0.10         53.50 Emails w/ MBM and S&C re: Phala and Paxos 9019 motions
         1368.002    07/17/2024    MBM     3.50      3,587.50 research re: CFAR property issues
         1368.002    07/17/2024     MR     0.10         35.00 Confer with HWR re: deadlines and critical dates in FTX Insiders and Latona
                                                              adversaries
         1368.002    07/18/2024    HWR     1.10        588.50 Review and revise Paxos 9019 (.6) and Phala 9019 (.4) motions, order, and stipulation
                                                              for same and emails w/ MBM, MH, and S&C re: same (.1)
         1368.002    07/18/2024    RSC     1.50      1,912.50 Draft/revise small estate claims tracker to reflect last period of activity (.4);
                                                              Draft/revise detailed settlement response to clawback target (.3); Review/analyze
                                                              clawback target counteroffer (.2); Discussion with clawback target confirming
                                                              completed settlement process, and discussion with clawback target re: status of
                                                              payment (.1); Discussion with lrc team re: status of settlement responses for two
                                                              clawback targets (.1); Discussion with clawback target counsel re: proposed
                                                              settlement stipulation (.1); Draft/revise settlement stip for clawback target settlement
                                                              (.3)
         1368.002    07/18/2024     RSC    0.10        127.50 Discussion with S&C re: cfar mtd/response
         1368.002    07/18/2024    HWR     1.50        802.50 Confer and emails w/ MBM re: motion to dismiss in CFAR Adversary and analysis of
                                                              arguments (.1); emails w/ MBM and opposing counsel re: briefing schedule (.1); draft
                                                              and revise outline and analysis of arguments made by CFAR defendants in Motion to
                                                              Dismiss (1.3)
         1368.002    07/18/2024    HWR     0.30        160.50 Review and analyze SBF responses and objection to discovery requests in Latona and
                                                              FTX Insiders adversaries; emails w/ MBM and MH re: samel review notices of service
                                                              for same
         1368.002    07/18/2024    MPH     0.20         70.00 Review and analyze Notice of Service of Defendant Samuel Bankman-Fried's
                                                              Objections and Responses to Plaintiffs' First Request for Production filed in the
                                                              Platform Life Services Adversary and the SBF Adversary; Email exchange with MBM,
                                                              HWR, GAW & MR re: same
         1368.002    07/18/2024    MPH     1.30        455.00 Revise, format, finalize & file Paxos 9019 Motion (1.2); Email exchange with MBM &
                                                              HWR re: same (.1)
         1368.002    07/18/2024    MBM     2.60      2,665.00 review and revise paxos 9019 (1.4); emails with S&C and HWR re: same (.1); review
                                                              and revise Phala 9019 (1.0); emails with S&C and HWR re: same (.1)
         1368.002    07/18/2024    MBM     0.40        410.00 review of SBF's rpo responses
         1368.002    07/18/2024    MRP     0.90        675.00 Review SBF responses and objections to discovery
         1368.002    07/19/2024    GAW     2.10        945.00 multiple emails w. counsel to clawback targets re: stipulation, settlement
                                                              negotiations, and representation (.3); email w. RSC re: same (.1); email w. S&C re:
                                                              clawback target issues (.1); emails w. RSC re: small estate claim settlement order (.2);
                                                              email w. counsel to clawback target re: same (.1); review and revise stipulation re:
                                                              proposed changes by counsel to clawback targets (.4); review small estate claim
                                                              settlement schedule (.4); email w. clawback target re: settlement (.1); emails w.
                                                              another clawback target re: payment (.2); emails w. RSC, S&C and RLKS re: same (.2)
         1368.002    07/19/2024    HWR     0.70        374.50 Call w/ MBM re: response to motion to dismiss in CFAR adversary and open issues
                                                              related thereto (.3); review and analyze outline of MTD arguments, complaint, motion
                                                              to dismiss, and court rules re: motion to dimiss, pleading and amendment issues (.4)
         1368.002    07/21/2024    MBM     1.50      1,537.50 review of MTD research
         1368.002    07/21/2024    HWR     4.30      2,300.50 Research responsive arguments and consider open issues in CFAR adversary (2.8);
                                                              draft summary and analysis of research findings and open issues (1.3); email w/ MBM
                                                              re: same (.1); emails w/ MBM and opposing counsel re: briefing schedule (.1)
         1368.002    07/22/2024    CRW     4.10      1,619.50 Draft and revise adversary stip (1.9), pfo (.9), and COC (.5) re: MTD scheduling
                                                              stipulation; Emails with HWR and GAW re: same (.2); discussions with HWR re: same
                                                              (.6)
         1368.002    07/22/2024    GAW     0.40        180.00 review and analyze stipulation w. clawback target re: claim expungement; email w.
                                                              KAB & MRP re: same
         1368.002    07/22/2024    HWR     3.60      1,926.00 Call w/ B. Harsch, D. O'Hara, RSC and MBM re: response to CFAR Defendants MTD
                                                              (.4); discussions w/ CRW re: drafting and revising Certification of Counsel, stipulation
                                                              and order regarding briefing schedule for CFAR Defendants MTD (.6); emails w/ GAW
                            Case 22-11068-JTD        DocFee
                                                    Detail  24025-2         FiledReport
                                                               Task Code Billing   08/29/24          Page 26 of 41                                Page: 25
                                                           Fee App - Detailed Fees
                                                           Landis Rath & Cobb LLP

                           Trans          Hours
            Client          Date   Tkpr   to Bill     Amount
Phase ID B135 Litigation
                                                              and CRW re: drafting same (.1); review and revise same (.5); emails w/ K. Buck, MBM
                                                              and RSC re: briefing schedule and open issues in adversary (.1); review and revise
                                                              request for default against certain defendants in CFAR Adversary (.3); draft request for
                                                              default judgment against certain defendants (.3); emails w/ MBM re: default papers
                                                              (.1); emails and confer w/ MBM re: response to motion to dismiss (.1); consider
                                                              arguments in opposition to MTD and begin drafting outline for same (.9); emails w/
                                                              RSC re: analysis of CFAR Defendants motion to dismiss and additional research for
                                                              purposes of preparing for call w/ B. Harsch and D. O'Hara (.2)
         1368.002    07/22/2024    HWR     1.10        588.50 Review revised Phala 9019 motion and emails w/ S&C and MBM re: same (.3); emails
                                                              w/ MR, MH and JF and confer w/ MH and JF re: draft notice for Phala 9019 motion,
                                                              revising and finalizing motion and stipulation for filing (.4); review and analyze
                                                              proposed final version of notice, motion, order and stipulation for filing and revise
                                                              motion (.2); emails w/ MR and MBM re: finalizing and filing motion, and supporting
                                                              documents (.2)
         1368.002    07/22/2024     MR     0.60        210.00 finalize and file Phala 9019 motion (.5); emails with MBM and HWR re: same (.1)
         1368.002    07/22/2024    MBM     3.10      3,177.50 continue to analyze CFAR MTD (2.8); call with Harsch and LRC re: same (.3)
         1368.002    07/22/2024     RSC    0.70        892.50 Review/analyze draft outline of cfar mtd to prep for strategy call wi S&C team (.4);
                                                              participate in strategy call with S&C and LRC teams re: cfar mtd response (.3)
         1368.002    07/23/2024    GAW     0.90        405.00 emails w. KAB, MRP and QE re: NOW re: joint 2004 motion (.2); confer w. MRP re:
                                                              same (.2); review and revise NOW re: same (.5)
         1368.002    07/23/2024    MRP     0.50        375.00 Emails w/ QE re: withdraw of joint 2004 motion; discussion w/ GAW re: the same;
                                                              review and revise draft NOW; emails w/ GAW and KAB re: the same
         1368.002    07/23/2024     MR     0.30        105.00 file Certification of Counsel re: MTD Briefing in CFAR Adversary matter; emails with
                                                              MBM, HWR and MPH re: same
         1368.002    07/23/2024    HWR     0.70        374.50 Review proposed final version of Certification of Counsel, Stipulation and Order re:
                                                              briefing schedule on CFAR Defendants' MTD (.3) and emails w/ MR, MH re: finalizing
                                                              same and emails w/ MBM, MH and MR re: filing same (.1); review and analyze
                                                              proposed final version of order for upload in accordance with Del. Bankr. procedures
                                                              and emails w/ MR and MBM re: same (.1); emails w/ K. Buck re: stipulation and order
                                                              (.1); emails w/ MBM and S&C re: CFAR request and open issues (.1)
         1368.002    07/23/2024    HWR     0.20        107.00 Review and analyze MDL adversary docket re: open issues and emails w/ MR, MH and
                                                              MBM re: same
         1368.002    07/23/2024    MPH     1.20        420.00 Review, analyze, revise and format Certification of Counsel re: Stipulation for Motion
                                                              to Dismiss Briefing Schedule (.9); Update calendar and case tracker re: same (.2); Email
                                                              exchange with MBM, HWR & MR re: same (.1)
         1368.002    07/23/2024    MBM     3.50      3,587.50 research re: issues related to CFAR MTD and response thereto
         1368.002    07/23/2024    MRP     0.50        375.00 Emails w/ S&C re: amendment to GSA (.1); review GSA order w/r/t same (.4)
         1368.002    07/24/2024    GAW     0.20         90.00 email w. clawback target re: receipt of payment for small estate claim settlement;
                                                              review and revise tracker
         1368.002    07/24/2024    MRP     0.30        225.00 Email w/ M. Lunn and GAW re: notice of withdraw of joint 2004 motion; review and
                                                              analyze finalized NOW; emails w/ GAW and MR re: filing the same; email w/ QE re:
                                                              filing NOW for 2004 motion
         1368.002    07/24/2024    GAW     0.40        180.00 emails w. MRP & UCC re: NOW 2004 Joint Motion; revise Notice of Withdrawal;
                                                              emails w. MRP & M. Ramirez re: same
         1368.002    07/24/2024     MR     0.30        105.00 finalize and file NOW re: 2004 joint motion; emails with MRP and GAW re: same
         1368.002    07/24/2024    HWR     0.20        107.00 Review entered order approving stipulation re: briefing schedule in CFAR adversary;
                                                              Email w/ S&C and MBM re: request from CFAR counsel
         1368.002    07/24/2024    CRW     2.30        908.50 Prepare materials for response to mtd re: adversary CFAR (2.0); emails with HWR and
                                                              GAW re: same (.1); emails with HWR, TD, and ALS re: same (.1); discussion with HWR
                                                              re: same (.1)
         1368.002    07/24/2024    HWR     2.00      1,070.00 Emails w/ S&C, MBM, MR and MH re: responses and objections to LayerZero
                                                              discovery requests and preparing Notice of Service for same (.2); review and analyze
                                                              final drafts of responses and objections to LayerZero defendants second RFP (.3), first
                                                              set of interrogatories (.4), first set of requests for admission (.3) and 30(b)(6)
                                                              deposition notice (.3); coordinate service of same pursuant to Delaware bankruptcy
                                                              court rules and procedures (.2); emails w/ S&C and MBM re: proposed final and final
                                                              versions of responses and objections for service (.3)
         1368.002    07/24/2024    HWR     3.80      2,033.00 Draft response to motion to dismiss in CFAR adversary (3.5); confer w/ CRW re:
                                                              research needed for same (.1) and emails w/ CRW, GAW, MH and MR re: materials for
                                                              same (.2)
         1368.002    07/24/2024    HWR     0.10         53.50 Email w/ MBM re: default papers for one of the defendants in CFAR Adversary
         1368.002    07/24/2024     ALS    1.00        220.00 Email and confer with CRW re: prepping binder re: materials for MTD in CFAR
                                                              Adversary (.1); prepare materials re: same (.7); confer with TD re: same (.2)
                            Case 22-11068-JTD       DocFee
                                                   Detail  24025-2         FiledReport
                                                              Task Code Billing   08/29/24         Page 27 of 41                                Page: 26
                                                          Fee App - Detailed Fees
                                                          Landis Rath & Cobb LLP

                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B135 Litigation
         1368.002    07/24/2024   RSC     0.40        510.00 review/analyze settlement offer with supporting docs from clawback target counsel;
                                                             Review and respond to clawback target request to extend payment deadline
         1368.002    07/24/2024   MBM     7.00      7,175.00 continue to review and analyze CFAR MTD (4.9); and research findings for response
                                                             (2.1) and consider responses to same
         1368.002    07/24/2024   MPH     0.40        140.00 Review and analyze docket and file in LayerZero Adversary re: Defendants' Discovery
                                                             Requests; Email exchange with HWR & MR re: same
         1368.002    07/24/2024   MPH     0.20         70.00 Review and analyze Order Approving Stipulation Regarding Briefing Defendants
                                                             Center for Applied Rationality, Lightcone Infrastructure, Inc., and Lightcone Rose
                                                             Garden LLC's Motion to Dismiss Plaintiffs' Complaint; Review and revise calendar &
                                                             Case Tracker re: same; Email exchange with MBM, HWR,GAW & MR re: same
         1368.002    07/25/2024   HWR     0.20        107.00 Review and analyze draft Notice of Service and revise same and emails w/ MR and
                                                             MBM re: same
         1368.002    07/25/2024   GAW     0.10         45.00 emails w. clawback target re: call regarding settlement negotiations
         1368.002    07/25/2024   HWR     0.10         53.50 Emails w/ MBM and opposing counsel re: CFAR request
         1368.002    07/25/2024   HWR     3.30      1,765.50 Continue to draft response to CFAR Defendants motion to dismiss (2.8); confer w/
                                                             CRW re: analyzing cases and authorities cited by CFAR in MTD for purposes of
                                                             drafting response (.4); emails w/ MBM re: draft (.1)
         1368.002    07/25/2024   HWR     0.60        321.00 Confer and emails w/ MBM re: default request and default judgment against certain
                                                             defendants in CFAR adversary (.1); consider issues with requesting default judgment
                                                             against certain defendants and process/procedure for same (.2); review complaint re:
                                                             issues with default judgment (.2); emails w/ MBM, RSC and S&C re: draft default
                                                             papers (.1)
         1368.002    07/25/2024   CRW     4.50      1,777.50 Prepare materials for MTD response (1.6); research and analyze authorities cited by
                                                             CFAR defendants in MTD (2.5); confer with HWR re: same (.4)
         1368.002    07/25/2024   HWR     0.10         53.50 Emails w/ S&C and MBM re: MDL adversary status and response deadline for MDL
                                                             Defendants to respond to PI motion
         1368.002    07/25/2024   RSC     0.70        892.50 Review/analyze m&c/settlement response from clawback target asserting defenses
                                                             (.4); review/analyze revised settlement stip from clawback target counsel (.1) and
                                                             discussion wi clawback target counsel re: issues wi revision and final version (.1);
                                                             respond to settlement offer to clawback target counsel (.1)
         1368.002    07/25/2024   MBM     6.40      6,560.00 continue to review research findings and outline for response to CFAR MTD
         1368.002    07/25/2024    MR     0.40        140.00 emails with HWR re: layerzero discovery requests; document review of same; emails
                                                             with MBM and HWR re: Notice of Service for same; file same
         1368.002    07/26/2024   HWR     0.10         53.50 Emails w/ MR, MH and JF re: status of MDL adversary
         1368.002    07/26/2024   HWR     1.10        588.50 Review and analyze R&Os to Three Arrows discovery requests and consider
                                                             procedural issues with same (.8); emails w/ MBM and MRP and S&C re: same (.3)
         1368.002    07/26/2024   HWR     1.70        909.50 Review and analyze authorities cited by CFAR defendants in MTD for purposes of
                                                             considering arguments against and drafting response to MTD (.7); continue drafting
                                                             response to MTD (1.0)
         1368.002    07/26/2024   GAW     0.60        270.00 emails w. RSC, S&C and RLKS re: receipt of remitted funds (.2); email w. clawback
                                                             target re: same (.1); emails w. RSC & MBM re: settlement schedule (.2); email w. RSC
                                                             & S&C re: same (.1)
         1368.002    07/26/2024   MBM     1.80      1,845.00 review of MDL response to PI motion
         1368.002    07/26/2024   MPH     0.10         35.00 Email exchange with HWR & MR re: CFAR Adversary
         1368.002    07/26/2024   MPH     0.10         35.00 Review and analyze Motion for Leave to Exceed the Page Limitations with Respect to
                                                             the Defendants' Opposition to Debtors' Motion for Preliminary Declaratory and
                                                             Injunctive Relief Enforcing the Automatic Stay and Enjoining Certain MDL Actions;
                                                             Email exchange with MB, HWR & MR re: same
         1368.002    07/26/2024   MRP     1.10        825.00 Emails w/ S&C re: Debtors' objections and responses to 3AC discovery requests (.2);
                                                             emails w/ HWR and MBM re: the same (.2); review responses (.6); emails w/ HWR and
                                                             MBM re: comments on the same (.1)
         1368.002    07/27/2024   GAW     0.40        180.00 emails w. MRP & QE re: MDL complaint; confer w. MRP re: same; email w. MRP, HWR
                                                             & MBM re: same
         1368.002    07/27/2024   HWR     0.50        267.50 Review request from QE re: certain adversary filings and review files re: same; emails
                                                             w/ MBM, MRP, GAW and QE re: same
         1368.002    07/27/2024   MRP     0.20        150.00 Emails w/ QE, HWR and MBM re: MDL adversary complaint
         1368.002    07/29/2024   CRW     2.80      1,106.00 Analyze Def. CFAR MTD authority (.2); research additional authority for response (1.8);
                                                             emails with HWR re: same (.2); confer with HWR re: same (.6)
         1368.002    07/29/2024   HWR     0.70        374.50 Emails w/ S&C and MBM re: deadline to file reply in support of motion for preliminary
                                                             injunction in MDL adversary (.2); review and analyze MDL defendants' response to PI
                                                             motion (.4); emails w/ MR and MH re: MDL response brief (.1)
         1368.002    07/29/2024   HWR     5.90      3,156.50 Emails w/ MH re: deadlines and open issues in CFAR adversary (.1); Emails w/ MBM re:
                                                             brief in opposition to CFAR Defendants' MTD (.1); continue drafting response (2.6);
                            Case 22-11068-JTD            DocFee
                                                        Detail  24025-2         FiledReport
                                                                   Task Code Billing   08/29/24             Page 28 of 41                                 Page: 27
                                                               Fee App - Detailed Fees
                                                               Landis Rath & Cobb LLP

                           Trans              Hours
            Client          Date      Tkpr    to Bill      Amount
Phase ID B135 Litigation
                                                                   research re: various legal issues for purposes of drafting response (1.3) and confer (.6)
                                                                   and emails (.2) w/ CRW re: research issues; review CFAR Defendants' opening brief
                                                                   and complaint for purposes of drafting response brief and considering arguments for
                                                                   same (1.0)
         1368.002    07/29/2024      HWR        0.30        160.50 Emails w/ MH and MR re: drafting NOS for service of R&Os to Three Arrows Capital
                                                                   discovery requests and emails w/ counsel to Three Arrows and S&C, AGL, MBM and
                                                                   KAB re: request to meet and confer
         1368.002    07/29/2024      HWR        0.80        428.00 Emails w/ B. Carroll, MRP and A&M re: equity claimants proofs of claim (.2); call w/ B.
                                                                   Carroll re: same (.1); confer w/ MRP re: same and issues related thereto (.2); review
                                                                   and analyze proofs of claim re: same (.3)
         1368.002    07/29/2024      MPH        0.10         35.00 Email exchange with HWR & MR re: CFAR Motion to Dismiss
         1368.002    07/29/2024      MPH        0.30        105.00 Draft and revise the Debtors' Responses and Objections to the Foreign
                                                                   Representatives of Three Arrows Capital, Ltd.'s First Set of Interrogatories; First Set of
                                                                   Requests for the Production of Documents; and Notice of Deposition; Email exchange
                                                                   with HWR & MR re: same
         1368.002    07/29/2024     MBM         0.40        410.00 emails with S&C re: MDL response, emails with MDL counsel re: same
         1368.002    07/30/2024     CRW         1.70        671.50 continue research/ additional authority for response (1.2); emails with HWR re: same
                                                                   (.2); discussions with HWR re: same (.3)
         1368.002    07/30/2024      HWR        0.40        214.00 Review and analyze NOS for service of R&Os to Three Arrows discovery requests and
                                                                   revise same; emails w/ MH and MBM re: same and review/analyze same for filing
         1368.002    07/30/2024      HWR        0.10         53.50 Emails w/ S&C and MBM re: reply deadline for PI motion in MDL adversary
         1368.002    07/30/2024      HWR        0.10         53.50 Review and analyze COC, Order and Stipulation further extending response deadline
                                                                   in Bankman & Fried adversary and emails w/ MBM re: same
         1368.002    07/30/2024      HWR        0.20        107.00 Emails w/ MBM, S&C and MR re: adjourning hearing on Mirana MTD and proposed
                                                                   new dates for same
         1368.002    07/30/2024      HWR       11.90      6,366.50 Continue drafting response to CFAR Defendants motion to dismiss (6.5); research
                                                                   issues regarding same (2.3); confer (.3) and emails (.2) w/ CRW re: research issues (.5);
                                                                   review and analyze CRW research findings (.4); review opposition to MTD and exhibits
                                                                   to same for purposes of drafting response (.7); review and analyze complaint for
                                                                   purposes for drafting response (1.0)
         1368.002    07/30/2024       RSC       0.60        765.00 Review/analyze clawback target settlement offer wi supporting documents (.3); draft
                                                                   and email settlement response to clawback target re: revised and supported offer (.1);
                                                                   Review/analyze clawback target settlement response asserting defenses (.2)
         1368.002    07/30/2024      MPH        0.70        245.00 Draft & revise Notice of Service of Debtors' Responses and Objections to the Foreign
                                                                   Representatives of Three Arrows Capital, Ltd.'s First Set of Interrogatories (.2); First Set
                                                                   of Requests for the Production of Documents (.2); and Notice of Deposition in
                                                                   preparation of filing and service (.2); Email exchange with MBM, HWR & MR re: same
                                                                   (.1)
         1368.002    07/30/2024     MBM         0.40        410.00 review of 6th scheduling order for emails with Quinn re: same
         1368.002    07/30/2024     MBM         0.30        307.50 emails with Court and S&C re: Mirana MTD
         1368.002    07/31/2024     GAW         0.20         90.00 emails w. RSC and S&C re: small estate claim tracker; emails w. RSC, S&C, UCC and
                                                                   UST re: small estate claim settlements; review and analyze tracker re: same
         1368.002    07/31/2024      CRW        3.70      1,461.50 Continue to research authority for response to CFAR MTD (3.0); emails with HWR re:
                                                                   same (.2); confer with HWR re: same (.5)
         1368.002    07/31/2024       RSC       0.20        255.00 Draft/revise settlement summaries prior to submission into protocol as requested by
                                                                   S&C
         1368.002    07/31/2024      HWR        0.10         53.50 Review and analyze order approving stipulation to extend response deadline in
                                                                   Bankman & Fried adversary
         1368.002    07/31/2024      HWR        0.10         53.50 Review and analyze updates re: scheduling on PI motion and complaint response
                                                                   deadline in MDL adversary and emails w/ MBM and S&C re: same
         1368.002    07/31/2024      HWR       11.60      6,206.00 Continue drafting adversary response to CFAR Defendants motion to dismiss (8.1);
                                                                   research re: issues related to response and arguments included in same (2.1); confer
                                                                   w/ CRW re: research issues for response to MTD (.5); review CRW research findings
                                                                   and analysis (.9)
         1368.002    07/31/2024      RSC        0.10        127.50 discussion wi clawback target counsel re: settlement status and consummation
         1368.002    07/31/2024     MBM         3.20      3,280.00 review and revise response to CFAR MTD
         1368.002    07/31/2024     MPH         0.20         70.00 Review and analyze Order Approving Sixth Stipulation re: Extension of Response
                                                                   Deadline and Adjournment of Pretrial Conference in the 23-50584 Adversary; Update
                                                                   Calendar and Case Tracker re: same; Email exchange with MBM, HWR, GAW & MR re:
                                                                   same

Total for Phase ID B135            Billable   195.80    128,138.50 Litigation
                              Case 22-11068-JTD                DocFee
                                                              Detail  24025-2         FiledReport
                                                                         Task Code Billing   08/29/24           Page 29 of 41                                Page: 28
                                                                     Fee App - Detailed Fees
                                                                     Landis Rath & Cobb LLP

                            Trans                Hours
             Client          Date      Tkpr      to Bill         Amount
Phase ID B138 Committee Meetings/Communications
         1368.002 07/03/2024    KAB        0.10                    92.50 review and analyze amended notice of UCC appointment

Total for Phase ID B138             Billable       0.10            92.50 Committee Meetings/Communications

Phase ID B140 Creditor Inquiries
         1368.002   07/02/2024         KAB         0.10            92.50 review several creditor inquiries re: case, DS notice and related issues; emails with
                                                                         Kroll, S&C and M. Pierce re: same
          1368.002    07/08/2024       KAB         0.30           277.50 review multiple customer emails re: case status and/or receipt of notices; emails with
                                                                         S&C, Kroll and LRC teams re: responses to same; confer GAW re: same
          1368.002    07/08/2024      GAW          0.50           225.00 review and analyze voicemails from customers re: case inquiries; confer w. KAB re:
                                                                         same; emails w. KAB, MRP, NEJ. CRW and M. Hitchens re: same
          1368.002    07/09/2024      MRP          0.20           150.00 Review and analyze customer email re: withdraw inquiry
          1368.002    07/15/2024      KAB          0.20           185.00 emails with A. Landis and M. Pierce re: creditor inquiry on DS; review and analyze
                                                                         creditor inquiry; emails with Kroll, S&C and M. Pierce re: processing same
          1368.002    07/16/2024       KAB         0.10            92.50 emails with S&C, M. Pierce and customer re: phishing scam
          1368.002    07/18/2024       KAB         0.30           277.50 review creditor inquiries; multiple emails with Kroll, S&C and M. Pierce re: processing
                                                                         same
          1368.002    07/22/2024      MRP          0.20           150.00 Email w/ A&G re: creditor inquiry w/r/t bankruptcy notices; review attachments w/r/t
                                                                         the same
          1368.002    07/22/2024      MRP          0.60           450.00 Email w/ EAR re: inbound creditor inquiry call tracker (.1); review tracker and status
                                                                         w/r/t inquiries (.5)
          1368.002    07/24/2024      MRP          0.10            75.00 Emails w/ M. Robinson re: inquiry about notices to client
          1368.002    07/29/2024      MRP          0.30           225.00 Emails w/ claimant re: inquiry regarding distributions

Total for Phase ID B140             Billable       2.90         2,200.00 Creditor Inquiries

Phase ID B146 Plan and Disclosure Statement (including Business Plan)
         1368.002   07/01/2024     KAB         3.20         2,960.00 numerous emails with Kroll, A&M, S&C, M. Pierce and N. Jenner re: various
                                                                      solicitation issues and consider same (.5); review and revise drafts of emails for
                                                                      various solicitation services (1.2); review and revise Kroll response to solicitation
                                                                      inquiries and review confirmation hearing notice and solicitation order in connection
                                                                      with same (1.3); email and confer with M. Pierce re: same (.1); emails with S&C and M.
                                                                      Pierce re: same (.1)
         1368.002   07/01/2024     MRP         0.70           525.00 Emails w/ KAB re: draft form response w/r/t solicitation (.1); review and comment on
                                                                      the same (.6)
         1368.002   07/01/2024     MRP         0.90           675.00 Numerous emails w/ Kroll, A&M and S&C re: solicitation and related issues (.3);
                                                                      review attachments and open items related to the same (.6)
         1368.002   07/02/2024     KAB         1.40         1,295.00 numerous emails with S&M, A&M, Kroll, M. Pierce and N. Jenner re: solicitation
                                                                      issues, review various email attachments and consider same (.9); emails with S&C,
                                                                      Kroll and M. Pierce re: form response for solicitation inquiries and review attachments
                                                                      thereto (.2); emails with LRC team re: same and in-house process for responding to
                                                                      inbounds and consider same (.3)
         1368.002   07/02/2024      MR         0.10            35.00 review email from KAB re: Stock Response for Inquiries Re: Plan Confirmation Hearing
                                                                      Notice or Solicitation Package
         1368.002   07/02/2024     MRP         0.60           450.00 Emails w/ Kroll and S&C re: confirmation/solicitation inquiry form responses (.1);
                                                                      review updated responses w/r/t the same (.4); emails w/ KAB and LRC team re: the
                                                                      same (.1)
         1368.002   07/02/2024     MRP         1.00           750.00 Multiple emails w/ S&C, A&M and Kroll re: solicitation for impaired classes (.4); review
                                                                      draft email notices w/r/t the same (.6)
         1368.002   07/05/2024     KAB         0.10            92.50 emaIls with Kroll, S&C, A&M, M. Pierce and N. Jenner re: solicitation issues
         1368.002   07/05/2024     MRP         0.10            75.00 Emails w/ Kroll, S&C and A&M re: solicitation issues
         1368.002   07/08/2024     MRP         0.10            75.00 Emails w/ S&C, A&M and Kroll re: status of solicitation mailing and related issues
         1368.002   07/08/2024     KAB         0.50           462.50 multiple emails with A&M and S&C re: status of solicitation and related issues; emails
                                                                      with Kroll, S&C and A&M re: same and update on publication notice; consider issues
                                                                      related to same
         1368.002   07/08/2024 GAW             0.20            90.00 confer w. MRP & CRW re: solicitation response & tracker; discussion and emails w.
                                                                      CRW re: same
         1368.002   07/08/2024     MRP         0.20           150.00 Discussion w/ GAW and CRW re: solicitation response tracker
         1368.002   07/08/2024     EAR         0.20           107.00 emails w. KAB re: plan review and analysis; discussion w. KAB re: plan review and next
                                                                      steps
         1368.002   07/08/2024    CRW          0.40           158.00 Confer with MRP and GAW re: Solicitation; confer with GAW re: same
         1368.002   07/08/2024 MPH             0.60           210.00 Review and analyze creditor voicemails re: Plan solicitation (.3); Prepare Call Tracker
                                                                      spreadsheet re: same (.2); Email exchange with KAB, MRP, NEJ, GAW & CRW re: same
                            Case 22-11068-JTD              DocFee
                                                          Detail  24025-2         FiledReport
                                                                     Task Code Billing   08/29/24           Page 30 of 41                                Page: 29
                                                                 Fee App - Detailed Fees
                                                                 Landis Rath & Cobb LLP

                          Trans               Hours
            Client         Date    Tkpr       to Bill        Amount
Phase ID B146 Plan and Disclosure Statement (including Business Plan)
                                                                     (.1)
         1368.002    07/09/2024   CRW          1.20           474.00 Draft FTX confirmation/solicitation response tracker chart (.6); Confer with GAW re:
                                                                     same (.5); confer with EAR re: same (.1)
         1368.002    07/09/2024   GAW          0.90           405.00 emails w. AS & CRW re: customer calls about solicitation (.2); email w. EAR, CRW, MH
                                                                     & AS re: same (.1); confer w. CRW re: solicitation tracker (.2); review and revise same
                                                                     (.4)
         1368.002    07/09/2024    KAB         0.20           185.00 discussion with E. Rogers re: solicitation inbounds and critical dates review/revision
         1368.002    07/09/2024    KAB         0.30           277.50 emails with LRC team re: solicitation inbound inquiries and processing issues;
                                                                     consider same; discussion with L. Pedicone and G. Williams re: same
         1368.002    07/09/2024   MRP          0.10            75.00 Review MAPs Vault notice of appeal w/r/t estimation opinion
         1368.002    07/09/2024   MRP          0.10            75.00 Emails w/ Kroll, S&C and A&M re: update w/r/t solicitation mailings
         1368.002    07/09/2024   KAB          0.50           462.50 numerous emails with A&M, S&C, Kroll, and M. Pierce re: solicitation issues and
                                                                     consider same
         1368.002    07/09/2024    EAR         1.80           963.00 Review/analyze solicitation order(1.6); confer w. KAB re: same (.2)
         1368.002    07/10/2024    KAB         0.20           185.00 review and analyze Maps Vault notice of appeal of Digital Assets Order, transmittal of
                                                                     record and related filings
         1368.002    07/10/2024    KAB         1.90         1,757.50 emails with DE DOJ re: scam accounts and cease & desist order (.1); review and
                                                                     analyze attachments and DE statutes referenced therein (1.2); review and analyze plan
                                                                     re: related distribution issues (.3); email S&C, A. Landis and M. Pierce re: same (.3)
         1368.002    07/10/2024    KAB         0.20           185.00 emails with A&M and A. Kranzley re: solicitation status updates and related issues
         1368.002    07/10/2024    EAR         3.00         1,605.00 review and analysis of plan with respect to solicitation (2.9); emails w. KAB and MR re:
                                                                     updates on same (.1)
         1368.002    07/10/2024    KAB         0.40           370.00 emails with S&C, A&M and Kroll teams re: updates on solicitation, solicitation FAQs
                                                                     and related issues; emails with E. Rogers re: plan
         1368.002    07/10/2024    EAR         0.20           107.00 Multiple discussions w. KAB and MPH re: status of solicitation calls and planned
                                                                     responses
         1368.002    07/10/2024   MPH          0.40           140.00 Review and analyze (1) Notice of Appeal; (2) Transmittal of Record on Appeal; (3)
                                                                     Notice of Appeal from Bankruptcy Court; and (4) Notice of Docketing of Bankruptcy
                                                                     Appeal file by Maps Vault Inc. on appeal to District Court; Email exchange with AGL,
                                                                     MBM, KAB, MRP, NEJ, HWR, GAW, CRW, ER & MR re: same
         1368.002    07/11/2024   KAB          0.90           832.50 numerous emails with A&M, Kroll and S&C re: solicitation issues and consider same
         1368.002    07/11/2024   KAB          0.30           277.50 discussion with E. Rogers re: solicitation inquiries and critical dates
         1368.002    07/11/2024   MPH          0.80           280.00 Review and analyze creditor voicemails re: solicitation (.3); Review and revise call
                                                                     tracker spreadsheet re: same (.4); Email exchange with KAB, MRP, GAW, CRW, ER &
                                                                     MR re: same (.1)
         1368.002    07/11/2024   MRP          0.10            75.00 Review MAPs notice of appeal
         1368.002    07/12/2024    MR          0.20            70.00 review docket re: district court appeals on estimation order; email with MPH re: same
         1368.002    07/12/2024   KAB          1.10         1,017.50 emails with M. Pierce and counsel to 3 customers re: solicitation materials and related
                                                                     issues (.1); discussion with E. Rogers re: solicitation inquiries from creditors and
                                                                     responses (.2); calls to and/or with E. Rogers and 12 creditors re: case, plan and claim
                                                                     issues (.8)
         1368.002    07/12/2024   KAB          0.10            92.50 emails with LRC team re: Emergent extension of exclusivity
         1368.002    07/12/2024   MPH          0.40           140.00 Review and analyze: (1) Notice of Appeal Appellants listed as: Fondation Serendipity,
                                                                     Fondation Elements, Serendipity Network Ltd., and Liquidity Network Ltd. Appellees
                                                                     listed as: FTX Trading Ltd., et al., Official Committee of Unsecured Creditors. Filed by
                                                                     Fondation Elements, Fondation Serendipity, Liquidity Network Ltd, Serendipity
                                                                     Network Ltd.; and (2) Notice of Docketing Record on Appeal to District Court. Civil
                                                                     Action Number: 24-0804, filed in District Court Appeal by Fondation/Serendipity;
                                                                     Update Calendar & Critical Dates Memo re: same; Email exchange with AGL, MBM,
                                                                     KAB, MRP, GAW, CRW, ER & MR re: same
         1368.002    07/12/2024   MPH          0.10            35.00 Email exchange with ER re: Creditor Voicemails re: solicitation
         1368.002    07/12/2024    EAR         1.90         1,016.50 review and analysis of plan w/ respect to solicitation inquiries
         1368.002    07/12/2024   GAW          0.60           270.00 review and analyze order re: emergent debtors exclusivity motion and consider
                                                                     updates needed to agenda, critical dates and calendar
         1368.002    07/12/2024   MRP          2.60         1,950.00 Multiple emails w/ S&C re: CFTC 9019 motion (.3); email w/ NEJ re: drafting PFO for
                                                                     CFTC 9019 motion; review draft of the same and comment on draft PFO (1.9); emails
                                                                     w/ MR re: finalzing the same (.1); review compiled filing version of 9019 motion (.4)
         1368.002    07/12/2024   MRP          0.10            75.00 Emails w/ MBM and S. Gerald re: inquiry w/r/t solicitation ballot and voting notice
         1368.002    07/13/2024   KAB          0.10            92.50 emails with S&C, A&M, Kroll and M. Pierce re: solicitation update
         1368.002    07/15/2024   KAB          0.10            92.50 emails with S&C and A&M re: solicitation update and status
         1368.002    07/15/2024   KAB          0.30           277.50 discussion with E. Rogers re: solicitation creditor inbounds and status and update on
                                                                     claim research; call with FA to customer and E. Rogers re: solicitation materials
         1368.002    07/15/2024    EAR         0.80           428.00 Return customer calls w. KAB re: solicitation and confer w. KAB re: the same (.3);
                            Case 22-11068-JTD              DocFee
                                                          Detail  24025-2         FiledReport
                                                                     Task Code Billing   08/29/24           Page 31 of 41                                Page: 30
                                                                 Fee App - Detailed Fees
                                                                 Landis Rath & Cobb LLP

                          Trans               Hours
            Client         Date    Tkpr       to Bill        Amount
Phase ID B146 Plan and Disclosure Statement (including Business Plan)
                                                                     confer w. MPH re: edits to solicitation tracking documents (.1); review/revisions of the
                                                                     same (.3); emails w. MPH re: the same (.1)
         1368.002    07/15/2024   MPH          0.40           140.00 Review and analyze creditor voicemails re: solicitation; Update Call Tracker
                                                                     Spreadsheet re: same; Email exchange with ER re: same and discussion with ER re:
                                                                     same
         1368.002    07/16/2024   KAB          0.20           185.00 review email from Potter re: LayerZero 3018; briefly review attachment
         1368.002    07/16/2024   MRP          1.30           975.00 Analyze LayerZero estimation motion
         1368.002    07/17/2024   KAB          1.20         1,110.00 review and analyze LayerZero's 3018 motion (.9); emails with A. Kranzley re: hearing
                                                                     issues related to same and consider same (.2); emails with LRC team re: hearing on
                                                                     same (.1)
         1368.002    07/17/2024    KAB         0.20           185.00 review and analyze voicemail from customer re: case mail received and questions
                                                                     related thereto; emails with M. Hitchens and E. Rogers re: processing message,
                                                                     updates to inquiry trackers and next steps for return calls
         1368.002    07/17/2024   MPH          0.10            35.00 Review and analyze Motion of LayerZero Labs Ltd., Ari Litan, and Skip & Goose LLC
                                                                     Pursuant to Bankruptcy Rule 3018(a) for Estimation and Temporary Allowance of
                                                                     Claims for Purposes of Voting to Accept or Reject the Plan; Email exchange with AGL,
                                                                     MBM, KAB, MRP, NEJ, GAW, CRW, ER & MR
         1368.002    07/17/2024   MPH          0.20            70.00 Update calendar re: Maps Vault & Fondation/Serendipity Appeals to file Joint Letter
                                                                     re: Mediation; Email exchange with MR re: same
         1368.002    07/17/2024   MPH          0.30           105.00 Review and analyze creditor voicemails re: solicitation; Update Call Tracker
                                                                     spreadsheet re: same; Email exchange with KAB & ER re: same
         1368.002    07/18/2024    KAB         0.30           277.50 discussion with E. Rogers re: solicitation related inbounds and tracker; call with E.
                                                                     Rogers and customer re: solicitation materials
         1368.002    07/18/2024    EAR         0.30           160.50 Discussion with KAB re: solicitation related inbounds and tracker; call with KAB and
                                                                     customer re: solicitation materials and related
         1368.002    07/19/2024    KAB         1.20         1,110.00 emails with S&C and M. Pierce re: customer's letter re: solicitation and case issues and
                                                                     consider next steps (.2); review and analyze customer letter (.7); call to customer re:
                                                                     same (.1); emails with A. Landis and M. Pierce re: other customer solicitation inquiries
                                                                     and review and analyze same and email with Kroll, S&C and M. Pierce re: same and
                                                                     next steps (.2)
         1368.002    07/19/2024    EAR         5.10         2,728.50 Review/assess 30+ voicemails from customers regarding FTX solicitation (2.8);
                                                                     multiple emails w. KAB, MRP, MPH regarding the same (.6); discussion w. MPH re:
                                                                     solicitation calls and responses (.2); update and revise solicitation response and
                                                                     tracking chart (1.5)
         1368.002    07/19/2024   MPH          0.90           315.00 Review and analyze creditor voicemails re: solicitation (.3); Update Call Tracker
                                                                     Spreadsheet re: same (.3); Email exchange with ER re: same (.1); discussion with ER re:
                                                                     same (.2)
         1368.002    07/19/2024   MRP          0.30           225.00 Emails w/ KAB and S&C re: response from Creditor w/r/t solicitation; review
                                                                     attachment
         1368.002    07/19/2024   MRP          0.10            75.00 Emails w/ GAW and A&M re: MORs
         1368.002    07/19/2024   MRP          0.10            75.00 Email w/ AGL and KAB re: creditor solicitation inquires
         1368.002    07/22/2024   MRP          0.50           375.00 Email w/ EAR re: confirmation inbound inquires and review chart w/r/t the same;
                                                                     discussion w/ EAR re: call backs for inbound inquiries; multiple return calls to
                                                                     customers re: confirmation hearing notice inquiries
         1368.002    07/22/2024    EAR         4.60         2,461.00 Review and update solicitation calls tracker (1.1); return 30+ calls (3.4); discussion w.
                                                                     MRP re: same (.1)
         1368.002    07/22/2024   MPH          2.30           805.00 Review and analyze numerous creditor voicemails re: solicitation (1.1); Update Call
                                                                     Tracker spreadsheet re: same (1.1); Email ER re: same (.1)
         1368.002    07/23/2024   EAR          0.10            53.50 Confer w. JH re: solicitation calls
         1368.002    07/23/2024   MRP          0.40           300.00 Email w/ S. Gerald re: solicitation inquiry; emails w/ A&M team re: the same
         1368.002    07/23/2024   EAR          1.90         1,016.50 Return calls regarding plan solicitation materials (1.6); emails to MRP re: the same (.3)
         1368.002    07/23/2024    JH          0.10            31.00 Confer w/ EAR re: inbound calls w/r/t plan solicitation questions
         1368.002    07/23/2024   MPH          1.70           595.00 Review and analyze numerous creditor voicemails re: solicitation (.8); update same on
                                                                     Call tracker Spreadsheet (.8); Email exchange with ER re: same (.1)
         1368.002    07/23/2024    KAB         0.60           555.00 review email and attachments from S&C re: GSA amendment and review and analyze
                                                                     attachments thereto
         1368.002    07/23/2024    KAB         0.40           370.00 emails with S&C, M. Pierce and G. Williams re: ballots inquiry and related issues;
                                                                     consider same; email with counsel to claimant and M. Pierce re: same
         1368.002    07/24/2024   MRP          0.70           525.00 Emails w/ KAB re: GSA amendment (.1); analyze GSA Order and GSA (.5); emails w/
                                                                     S&C and KAB re: amending GSA (.1)
         1368.002    07/24/2024    EAR         1.00           535.00 Return solicitation phone calls (.7) and update call tracker re: the same (.2); emails w.
                                                                     MPH re: the same (.1)
         1368.002    07/24/2024   MPH          0.20            70.00 Review and analyze find Appellant's Statement of the Issues on Appeal and
                            Case 22-11068-JTD              DocFee
                                                          Detail  24025-2         FiledReport
                                                                     Task Code Billing   08/29/24           Page 32 of 41                                Page: 31
                                                                 Fee App - Detailed Fees
                                                                 Landis Rath & Cobb LLP

                          Trans               Hours
            Client         Date    Tkpr       to Bill        Amount
Phase ID B146 Plan and Disclosure Statement (including Business Plan)
                                                                     Designation of Items to be Included in the Record on Appeal filed in the FTX main
                                                                     case and in the Maps Vault District Court Appeal; Email exchange with AGL, MBM,
                                                                     KAB, MRP, GAW, CRW, ER & MR re: same
         1368.002    07/24/2024   MPH          2.40           840.00 Review and analyze numerous Creditor Voicemails re: solicitation (2.0); update same
                                                                     on Call Tracker Spreadsheet (.3); Email exchange with ER re: same (.1)
         1368.002    07/24/2024    KAB         1.10         1,017.50 consider GSA amendment issues (3); emails with M. Pierce re: same (.2); emails with
                                                                     S&C and M. Pierce re: same (.3); emails with S&C, A&M and M. Pierce re: FTX Europe
                                                                     issues and consider same (.3)
         1368.002    07/25/2024   GAW          0.20            90.00 Review voicemail from caller regarding confirmation; email w. EAR re: same
         1368.002    07/25/2024   MRP          0.80           600.00 Multiple emails w/ S&C, KAB, GAW and A&M re: FTX EU notice (.2); review and revise
                                                                     drafts of notice (.6)
         1368.002    07/25/2024   GAW          0.10            45.00 emails w. KAB, MRP, S&C and A&M re: FTX Europe notice and related issues
         1368.002    07/25/2024    EAR         0.90           481.50 Review and return inbound solicitation calls (.8); email w. GAW re: same (.1)
         1368.002    07/25/2024   MPH          0.20            70.00 Review and analyze Appellants' Statement of the Issues on Appeal and Designation of
                                                                     Items to be Included in the Record on Appeal filed in the FTX main case and the
                                                                     Fondation Serendipity District Court appeal; Email exchange with AGL, MBM, KAB,
                                                                     MRP, GAW, CRW, ER & MR re: same
         1368.002    07/25/2024   MPH          0.70           245.00 Review and analyze Creditor Voicemails re: solicitation (.3); Update Call tracker
                                                                     Spreadsheet re: same (.3); Email exchange with ER re: same (.1)
         1368.002    07/25/2024    KAB         1.30         1,202.50 emails with S&C, M. PIerce and A. Landis re: liquidating trust and plan administration
                                                                     agreements and issues related to same and briefly review and analyze attachments
                                                                     (.4); emails with A. Landis and M. Pierce re: same and next steps (.1); begin review of
                                                                     DE statutory trust statute (.8)
         1368.002    07/25/2024    KAB         0.30           277.50 multiple emails with S&C, A&Ma nd LRC teams re: FTX EU notice issues and consider
                                                                     same
         1368.002    07/26/2024   HWR          0.90           481.50 Review precedent and research re: DE statutory trusts (.7); and emails w/ RLB and JLC
                                                                     re: same (.1); and review S&C and KAB inquiry re: same (.1)
         1368.002    07/26/2024    EAR         3.40         1,819.00 Research and analysis of DE trust issues related to plan administration and plan
                                                                     supplement (3.1); emails (.1) and discussion (.2) w. KAB re: the same
         1368.002    07/26/2024    EAR         0.50           267.50 Review and return inbound solicitation calls (.3); update call tracker re: the same (.1);
                                                                     emails w. MPH re: the same (.1)
         1368.002    07/26/2024    AGL         1.70         2,167.50 discussion with KAB re: trust issues (.2); emails with KAB and S&C team re: Trust
                                                                     Agreement (.2); emails with KAB and EAR re: research on same (.2); brief research re:
                                                                     same (.5) and review of agreement (.6)
         1368.002    07/26/2024    KAB         2.90         2,682.50 call with A. Landis re: Delaware Trust research issues (.2); emails with E. Rogers and A.
                                                                     Landis re: same and consider related issues (.3); review and analyze initial research
                                                                     findings re: same (1.9); email (.1) and call (.2) with E. Rogers re: same; emails with E.
                                                                     Rogers H. Robertson, J. Cree and R. Butcher re: same (.2)
         1368.002    07/26/2024    KAB         0.20           185.00 emails with S&C and M. Pierce re: 3018 research; consider same
         1368.002    07/26/2024    RLB         1.40         1,435.00 Review issues related to proposed Delaware statutory trust and general governing
                                                                     principles re Delaware statutory trusts (.6); Draft summary of general principles and
                                                                     considerations governing Delaware statutory trusts to guide assessment of draft trust
                                                                     documents (.5); Email with K. Brown, J. Cree and H. Robertson re: request for existing
                                                                     research regarding Delaware statutory trusts and guiding principles (.3)
         1368.002    07/26/2024   MRP          0.20           150.00 Emails w/ S&C re: LayerZero motion and related research question
         1368.002    07/27/2024   CRW          4.60         1,817.00 Analyze Rule 3018 motion (.9); research on responses, applicable precedent, and
                                                                     strategies for same (3.1); discussion with EAR re: same (.4); emails with KAB, MRP and
                                                                     EAR re: same (.2)
         1368.002    07/27/2024    KAB         0.10            92.50 emails with M. Pierce, E. Rogers and C. Wood re: 3018 research
         1368.002    07/27/2024    EAR         4.50         2,407.50 Emails w. MRP, CRW, and KAB re: 3018 Motion research (.4); discussion w. CRW re:
                                                                     the same (.4); research and analysis of DE case law and filings re: Rule 3018 issues
                                                                     (3.7)
         1368.002    07/27/2024    EAR         4.50         2,407.50 Continue research of DE trust law (2.5); review and revise proposed liquidation trust
                                                                     agreement (1.1) and plan administration agreement (.9)
         1368.002    07/27/2024   MRP          0.30           225.00 Emails w/ EAR, CRW and KAB re: estimation issue research
         1368.002    07/28/2024   CRW          6.50         2,567.50 Analyze Rule 3018 motion (.4); research on responses, applicable precedent, and
                                                                     strategies for go-forward procedure (5.6); discussion with EAR re: same (.4); emails
                                                                     with EAR, KAB and MRP re: same (.1)
         1368.002    07/28/2024    KAB         0.40           370.00 emails with E. Rogers, M. Pierce and C. Wood re: 3018 research and briefly review
                                                                     same
         1368.002    07/28/2024    EAR         5.30         2,835.50 Continue review and analysis of opinions and filings concerning Rule 3018 issues and
                                                                     consider the same (2.1); draft and revise analysis (2.4); emails (.2) and discussion (.4)
                                                                     w. CRW re: the same; emails to MRP re: the same (.2)
                              Case 22-11068-JTD                 DocFee
                                                               Detail  24025-2         FiledReport
                                                                          Task Code Billing   08/29/24          Page 33 of 41                              Page: 32
                                                                      Fee App - Detailed Fees
                                                                      Landis Rath & Cobb LLP

                             Trans                Hours
             Client           Date    Tkpr        to Bill         Amount
Phase ID B146 Plan and Disclosure Statement (including Business Plan)
         1368.002   07/28/2024     EAR          5.20        2,782.00 Continue research of DE trust law and draft analysis re: the same (4.2); review and
                                                                      analyze precedent re: liquidation trust agreements (.4) and plan administration
                                                                      agreements (.4); draft and send email to KAB re: the same (.2)
         1368.002   07/28/2024    CRW           0.60          237.00 Emails (.2) and discussion (.4) with EAR re: opinions and filings concerning Rule 3018
                                                                      issues
         1368.002   07/28/2024     MRP          0.10           75.00 Emails w/ S&C re: MDL objections based on customer property argument
         1368.002   07/28/2024     MRP          0.10           75.00 Emails w/ EAR, CRW and KAB re: Rule 3018 research
         1368.002   07/29/2024       JH         0.20           62.00 Email and confer w/ EAR re: index for Liquidating Trust Agreement
         1368.002   07/29/2024     EAR          6.60        3,531.00 continue research and analysis re: plan administration agreement (3.2) and liquidation
                                                                      trust agreement (2.3); prepare for (.5) and attend meeting w. KAB and AL re: the same
                                                                      (.4); emails w. KAB and JH re: materials related to the same (.2)
         1368.002   07/29/2024     AGL          5.40        6,885.00 meeting with KAB and EAR re: Trust agreement and summary chart (.4); detailed
                                                                      review and comments to same (4.5); discussions with KAB re: same (.5)
         1368.002   07/29/2024     MRP          0.40          300.00 Email w/ AGL re: letter to MDL Plaintiffs' counsel; review the same
         1368.002   07/29/2024     AGL          1.30        1,657.50 review and revise Plan Administrator Agreement (.9) and discussions with KAB re:
                                                                      same (.4)
         1368.002   07/29/2024     KAB         10.00        9,250.00 meeting with A. Landis and E. Rogers re: trust research (.4); review and revise LTA
                                                                      (5.9); review and revise LTA review guide (.9); review and revise plan administration
                                                                      agreement (1.6); discussions with A. Landis re: comments to PAA (.4); emails with E.
                                                                      Rogers re: same (.1); emails with A&M, S&C, M. Pierce and G. Williams re: solicitation
                                                                      issue (.1); discussions with A. Landis re: Trust Agreement (.5); discussions with M.
                                                                      Pierce re: same (.1)
         1368.002   07/29/2024     EAR          0.90          481.50 Received/returned inbound solicitation calls (.6); emails w. MH re: the same (.1);
                                                                      discussion w. LR re: the same (.1); update call tracker re: same (.1)
         1368.002   07/29/2024       LR         0.20           70.00 Review and analyze creditor voice mail messages re: plan notice and forwarding same
                                                                      to MPH; confer with EAR re: same
         1368.002   07/29/2024     KAB          0.50          462.50 confer with M. Pierce re: 3018 research findings and next steps; briefly review same;
                                                                      emails with S&C and M. Pierce re: same
         1368.002   07/29/2024 MPH              1.40          490.00 Review and analyze numerous Creditor Voicemails re: solicitation (.7); Update Call
                                                                      Tracker re: same; (.6) Email exchange with ER re: same (.1)
         1368.002   07/29/2024     AGL          0.10          127.50 Email with MRP re: letter to MDL Plaintiffs' counsel
         1368.002   07/29/2024     MRP          3.30        2,475.00 Analyze 3018 research findings and conduct further research on the same
         1368.002   07/29/2024     MRP          0.70          525.00 Emails w/ S&C, KAB and AGL re: updated draft Liquidation Trust Agreement (.1);
                                                                      briefly review the same (.6)
         1368.002   07/29/2024     MRP          0.30          225.00 Emails w/ S&C re: MDL objection and related issues
         1368.002   07/30/2024     MRP          0.20          150.00 Emails w/ S&C, KAB and AGL re: draft trust agreement; discussion w/ KAB re: the
                                                                      same
         1368.002   07/30/2024     MRP          0.10           75.00 Email w/ A&M, S&C and KAB re: inquiry w/r/t ballots related to certain claims
         1368.002   07/30/2024     AGL          1.10        1,402.50 discussions (.8) and emails (.3) with potential Delaware Trustees re: Delaware
                                                                      Statutory Trust issues
         1368.002   07/30/2024     AGL          0.80        1,020.00 discussion with S&C tax team and LRC team re: trust tax issues (.3); multiple
                                                                      discussions with KAB re: same (.5)
         1368.002   07/30/2024     KAB          1.70        1,572.50 prepare for (.4) and call with (.3) A. Landis and S&C re: plan related trust and tax
                                                                      issues; call with R. Popotti re: same (.2); calls with M. Harvey re: same (.3); multiple
                                                                      discussions with A. Landis re: same (.5)
         1368.002   07/30/2024     KAB          0.30          277.50 emails with S&C, A&M and Kroll re: update on solicitation and balloting issues; emails
                                                                      with counsel to customer, M. PIerce and E. Rogers re: ballot issues and consider same
         1368.002   07/30/2024     KAB          0.30          277.50 emails with A. Landis, M. Pierce and various potential Delaware trustees re: Delaware
                                                                      Statutory trust issues
         1368.002   07/30/2024     KAB          0.30          277.50 emails with L. Rogers, M. Ramirez, M. Hitchens and M. Pierce re: plan supplement,
                                                                      notice and exhibits; review and consider same
         1368.002   07/30/2024     KAB          1.60        1,480.00 review and revise objection to LayerZero 3018 motion (1.3); emails with S&C and M.
                                                                      Pierce re: same (.1); emails with M. Ramirez, E. Rogers, G. Williams and M. Pierce re:
                                                                      finalization, filing and service of same (.2)
         1368.002   07/30/2024     EAR          1.10          588.50 Review and return solicitation inquiries (.9); update call tracker (.1); emails w. MPH re:
                                                                      the same (.1)
         1368.002   07/30/2024     EAR          2.30        1,230.50 Review/analyze plan and disclosure statement re: documents to include in plan
                                                                      supplement (1.5), email with KAB re: same (.1); review recent DE rulings re: liquidation
                                                                      trusts and prepare analysis of the same (.5); review objection to LayerZero 3018
                                                                      motion and emails with LRC team re: same (.2)
         1368.002   07/30/2024 MPH              1.30          455.00 Review and analyze numerous Creditor Voicemails re: solicitation (.7); Update Call
                                                                      Tracker spreadsheet re: same (.5); Email exchange with ER re: same (.1)
         1368.002   07/30/2024     MRP          0.20          150.00 Emails w/ KAB, AGL and EAR re: draft trust agreement; emails w/ S&C re: the same
                               Case 22-11068-JTD                 DocFee
                                                                Detail  24025-2         FiledReport
                                                                           Task Code Billing   08/29/24           Page 34 of 41                               Page: 33
                                                                       Fee App - Detailed Fees
                                                                       Landis Rath & Cobb LLP

                             Trans                 Hours
              Client          Date      Tkpr       to Bill         Amount
Phase ID B146 Plan and Disclosure Statement (including Business Plan)
         1368.002   07/30/2024     MRP         0.10            75.00 Email w/ YCST re: MDL issues
         1368.002   07/30/2024     MRP         0.70           525.00 Emails w/ S&C, AGL and KAB re: updated draft of liquidating trust agreements (.1);
                                                                      briefly review updated draft agreement (.6)
         1368.002   07/31/2024      MR         0.20            70.00 confer with GAW re: filing plan supplement; emails with KAB and ER re: same
         1368.002   07/31/2024     KAB         0.40           370.00 emails with S&C, A&M, and Kroll re: solicitation and balloting updates; emails with M.
                                                                      Pierce, A&M, Kroll and S&C re: resolution of LayerZero 3018 and balloting issues;
                                                                      emails with M. Ramirez and E. Rogers re: plan supplement
         1368.002   07/31/2024     MRP         0.10            75.00 Emails w/ Alix Partners and S&C re: MDL asserted customer property issues
         1368.002   07/31/2024     MRP         0.10            75.00 Email w/ counsel to customer re: ballot question
         1368.002   07/31/2024     AGL         5.30         6,757.50 continue research re: trust issues (3.9); discussions with KAB and WTC re: same (.5);
                                                                      and emails (.2) and calls (.2) with Committee counsel re: same; call (.2) and emails (.3)
                                                                      with S&C tax and trust teams re: same
         1368.002   07/31/2024     EAR         1.30           695.50 Review/return solicitation inquires (1.0), emails w. MPH re: the same (.1); update call
                                                                      tracker (.2)
         1368.002   07/31/2024     KAB         6.10         5,642.50 multiple discussions with A. Landis re: Delaware Statutory Trust and tax issues (.8);
                                                                      draft and revise summary of issues and recommendations (3.8); emails with S&C and
                                                                      A. Landis re: same (.2); emails (.1) and call with R. Poppiti and A. Landis re: trust issues
                                                                      (.2); emails (.2) and calls (.5) with Wilmington Trust and A. Landis re: Delaware resident
                                                                      trust issues; call with S&C re: Delaware trust issues (.2); confer with EAR re: liquidation
                                                                      trust issues (.1)
         1368.002   07/31/2024     EAR         1.20           642.00 Confer w. KAB re: liquidation trust issues (.1); review and consider emails
                                                                      analyzing/discussing the same (.1); review of DE trust manual re: the same (1.0)
         1368.002   07/31/2024 MPH             0.70           245.00 Review and analyze numerous Creditor Voicemails re: solicitation (.3); Update Call
                                                                      Tracker spreadsheet re: same (.3); Email exchange with ER re: same (.1)
         1368.002   07/31/2024 GAW             0.10            45.00 Confer with MR re: filing plan supplement
         1368.002   07/31/2024     MRP         0.20           150.00 Emails w/ AGL and S&C re: MDL objection w/r/t customer property issue and
                                                                      response thereto
         1368.002   07/31/2024     MRP         0.70           525.00 Emails w/ H. Cohen re: solicitation question (.1; review background and attachments
                                                                      (.6)
         1368.002   07/31/2024     MRP         0.10            75.00 Emails w/ S&C and Proskauer re: resolution of LayerZero estimation motion; email w/
                                                                      S&C re: the same
         1368.002   07/31/2024     MRP         0.60           450.00 Draft notice of filing MDL objection (.4); confer w/ AGL re: the same (.1); emails w/
                                                                      S&C re: the same (.1)

Total for Phase ID B146              Billable     170.80        119,726.50 Plan and Disclosure Statement (including Business Plan)

Phase ID B150 Relief from Stay/Adequate Protection Proceedings
         1368.002    07/01/2024   MRP          0.10           75.00 Email w/ Cole Schotz re: unsealing exhibit to Celsius declaration
         1368.002    07/07/2024   KAB          0.10           92.50 emails with RLF, A. Landis and M. Pierce re: Celsisus' stay relief motion and related
                                                                    issues
         1368.002    07/08/2024   MRP          0.40          300.00 Discussion w/ KAB and MBM re: objection to Celsius RFS motion; email w/ S&C re:
                                                                    the same; emails w/ MBM, KAB and MR re: finalizing and filing objection; call and
                                                                    email w/ RLF re: JOL objection to Celsius motion
         1368.002    07/08/2024    MR          0.90          315.00 finalize and file objection to celsius's RFS motion and declaration in support of same
                                                                    (.8); emails with MBM, KAB and MRP re: same (.1)
         1368.002    07/08/2024 MBM            4.00        4,100.00 review of celsius stay and claim objections (3.7); emails with S&C re: same (.1);
                                                                    conference with Brown and Pierce re: same (.2)
         1368.002    07/08/2024 MBM            1.00        1,025.00 review of finalized Celsius stay relief response (.7); emails with S&C re: same (.2);
                                                                    conference with Pierce re: same (.1)
         1368.002    07/09/2024 MPH            0.30          105.00 Review and analyze: (1) The Foreign Representatives' Objection to the Celsius
                                                                    Litigation Administrators Motion for Relief from the Automatic Stay; (2) Declaration of
                                                                    Peter Greaves in Support of the Foreign Representatives' Objection to the Celsius
                                                                    Litigation Administrator's Motion for Relief from the Automatic Stay; and (3)
                                                                    Declaration of Sophia Rolle-Kapousouzoglou in Support of the Foreign
                                                                    Representatives' Objection to the Celsius Litigation Administrator's Motion for Relief
                                                                    from the Automatic Stay; Email exchange with KAB, MRP, NEJ, GAW, CRW, ER & MR
                                                                    re: same
         1368.002    07/10/2024   MRP          0.50          375.00 Emails w/ S&C, MBM and KAB re: Celsius request to adjourn lift stay motion; review
                                                                    tolling agreement w/r/t extension of hearing date; call w/ RLF re: Celsius motion
                                                                    hearing; discussion w/ KAB re: same; Email w/ Cole Schotz re: request to adjourn RFS
                                                                    motion hearing; Call w/ B. Schlauch re: Celsius unsealing of exhibits
         1368.002    07/10/2024   KAB          0.20          185.00 emails with S&C, A. Landis, M. McGuire and M. Pierce re: Celsius stay/claim obj
                                                                    adjournment request and related issues; emails with Cole Schotz, A. Landis and M.
                            Case 22-11068-JTD            DocFee
                                                        Detail  24025-2         FiledReport
                                                                   Task Code Billing   08/29/24            Page 35 of 41                                  Page: 34
                                                               Fee App - Detailed Fees
                                                               Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill       Amount
Phase ID B150 Relief from Stay/Adequate Protection Proceedings
                                                                   Pierce re: same; discussion with M. Pierce re: same
         1368.002    07/10/2024    MBM        1.10        1,127.50 emails with Pierce and S&C re: Celsius issues (.2); review of Celsius stay relief motion
                                                                   (.9)
         1368.002    07/11/2024      KAB      0.40          370.00 emails with Cole Schotz, M. Pierce and A. Landis re: Celsius' requests on sealing and
                                                                   adjournment; emails with S&C, A. Landis and M. Pierce re: same; discussions with A.
                                                                   Landis and M. Pierce re: same
         1368.002    07/11/2024      AGL      0.80        1,020.00 discussions with counsel to Celsius (.2), LRC team (.2) and S&C team (.4) re:
                                                                   sealing/redaction issues and lift stay motion
         1368.002    07/11/2024    MBM        0.40          410.00 numerous emails with S&C and LRC re: Celsius tolling amendment
         1368.002    07/11/2024    MRP        0.90          675.00 Emails w/ Cole Schotz re: Celsius relief from stay motion (.5); emails w/ S&C re: the
                                                                   same (.4)
         1368.002    07/12/2024       MR      0.20           70.00 review docket re: UCC's Joinder to Debtors' objection to Celsius's RFS motion; email
                                                                   with AGL, KAB, MRP, NEJ, GAW, CRW, ER and MPH re: same
         1368.002    07/12/2024      KAB      0.30          277.50 emails with Cole Schotz, RLF, M. Pierce and A. Landis re: Celisus lift stay and sealing
                                                                   motions and adjournment issues; review email from L. Heggen re: Celsius amended
                                                                   notices re: RFS and sealing motions in 11 and 15; review and analyze notices
         1368.002    07/12/2024     MPH       0.40          140.00 Review and analyze Amended Notice of Hearing of Motion of the Celsius Litigation
                                                                   Administrator's Motion for Relief from the Automatic Stay and Amended Notice of
                                                                   Hearing of Celsius Litigation Administrator's Motion for Entry of an Order for
                                                                   Authority to File Under Seal the Transfer Schedules Containing Confidential
                                                                   Information filed in the main FTX case and the FTX Market Ch. 15; Email exchange
                                                                   with AGL, MBM, MRP, GAW, CRW, ER & MR re: same
         1368.002    07/12/2024     MRP       0.20          150.00 Multiple emails w/ Cole Schotz and RLF re: Celsius stay relief motion and
                                                                   adjournment of the same (.2)
         1368.002    07/12/2024     MRP       0.20          150.00 Analyze UCC joinder to objection to Celsius stay motion
         1368.002    07/12/2024     MRP       0.10           75.00 Review revised notices w/r/t Celsius stay relief motion
         1368.002    07/16/2024     KAB       0.10           92.50 review and analyze L. Stuart email re: JPL's filing re: Celsius
         1368.002    07/18/2024     KAB       1.60        1,480.00 review and analyze Eden Protocol RFS motion
         1368.002    07/18/2024     MRP       0.20          150.00 Emails and call w/ Cole Schotz re: UST issues with sealing of exhibit iso Celsius lift stay
                                                                   motion
         1368.002    07/19/2024      KAB      0.80          740.00 call with M. Pierce, counsel to Celsius and UST (for a portion) re: sealing issues and
                                                                   RFS motion (.7); follow-up call with M. Pierce re: same and MORs (.1)
         1368.002    07/26/2024     GAW       0.30          135.00 multiple emails w. MRP, CRW, M. Ramirez and MH re: eden protocol Lift Stay
                                                                   Objection; review same
         1368.002    07/26/2024     CRW       0.30          118.50 Emails w. MRP, GAW, M. Ramirez and MPH re: Lift Stay Objection; review and analyze
                                                                   same
         1368.002    07/26/2024       MR      0.40          140.00 finalize objection to Eden Protocol Relief from Stay Motion and declaration re: same;
                                                                   emails with MRP,GAW, CRW, MPH re: same
         1368.002    07/26/2024     MPH       0.40          140.00 file FTX's Objection to Eden Protocol Ltd's Motion for Relief from the Automatic Stay
                                                                   & S. Coverick's Declaration in Support Thereof; Email exchange with MRP, GAW, CRW
                                                                   & MR re: same
         1368.002    07/26/2024     MRP       2.20        1,650.00 Emails w/ S&C re: Eden Protocol lift stay objection (.3); review and comment on draft
                                                                   of the same (1.6); review final filing version of the same (.3)

Total for Phase ID B150           Billable   18.80       15,683.50 Relief from Stay/Adequate Protection Proceedings

Phase ID B151 Schedules/Operating Reports
         1368.002   07/17/2024    KAB         0.10           92.50 discussions with M. Ramirez and N. Jenner re: MORs; emails with A&M, M. Pierce, N.
                                                                   Jenner and G. Williams re: same
         1368.002    07/17/2024      NEJ      0.20          120.00 Emails w. KAB, MRP, GAW, CRW, and A&M re: June 2024 MORs; confer w. KAB and
                                                                   MR re: same
         1368.002    07/17/2024      MR       0.10           35.00 Discussions with KAB and NEJ re: MORs
         1368.002    07/19/2024     CRW       1.40          553.00 Call with GAW re: MORs (.4); emails with GAW and A&M re: same (.1); draft tracking
                                                                   schedule for MOR filings (.6); emails with MRP, GAW and MPH re: same (.1); emails
                                                                   with KAB, MRP, GAW, JH and MPH re: same and filing preparations (.2)
         1368.002    07/19/2024       JH      0.10           31.00 Emails w/ GAW, CRW and MPH re: preparing to file June 2024 MORs
         1368.002    07/19/2024     GAW       1.00          450.00 emails w. KAB, MRP, NEJ, CRW and A&M re: MORs (.2); confer CRW re: same (.4);
                                                                   emails w. NEJ, CRW, JH and MH re: same and filing preparations (.4)
         1368.002    07/19/2024      KAB      0.10           92.50 emails with A&M, M. Pierce, G. Williams and C. Wood re: June MORs and related
                                                                   issues
         1368.002    07/19/2024     MPH       0.30          105.00 Email exchange with NEJ, GAW, CRW & JH re: June 2024 MORs; Email exhange with
                                                                   GAW & CRW re: same
         1368.002    07/22/2024     MRP       0.20          150.00 Multiple emails w/ A&M, S&C, GAW and KAB re: MORs
                            Case 22-11068-JTD             DocFee
                                                         Detail  24025-2         FiledReport
                                                                    Task Code Billing   08/29/24             Page 36 of 41                                Page: 35
                                                                Fee App - Detailed Fees
                                                                Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill         Amount
Phase ID B151 Schedules/Operating Reports
         1368.002   07/22/2024 GAW             4.80          2,160.00 emails w. KAB, MRP, RLKS, S&C and A&M re: June MORs (.1); confer w. CRW re: same
                                                                      (.1); multiple emails w. KAB, MRP, CRW and M. Ramirez re: finalizing and filing of
                                                                      MORs (.3); call w. MRP re: same (.3); discussions w. JLF re: same (.3) review 81 MORs
                                                                      for filing (3.7)
         1368.002    07/22/2024     CRW        3.20          1,264.00 Review MORs for filing (2.9); emails with KAB, MRP, GAW, S&C, and A&M re: same
                                                                      (.2); confer with GAW re: same (.1)
         1368.002    07/22/2024       JLF      3.70          1,295.00 Confer with G. Williams re: MORs (.3); finalize and file 81 June MORs (3.4)
         1368.002    07/22/2024      KAB       0.30            277.50 multiple emails with A&M, S&C and LRC teams re: June MORs; multiple emails with
                                                                      LRC team re: finalization and filing of same
         1368.002    07/22/2024     MRP        1.40          1,050.00 Emails w/ A&M re: June 2024 MORs (.1); emails w/ GAW and MR re: the same (.1);
                                                                      briefly review filing versions of June 2024 MORs (1.2)
         1368.002    07/23/2024       MR       0.10             35.00 email with AS, TD and JH re: June MORs and chart re: same
         1368.002    07/23/2024       JH       1.60            496.00 Emails w/ MR, AS and TD re: June MORs and tracking chart (.1); draft and revise June
                                                                      MOR tracking chart (1.5)
         1368.002    07/23/2024     CRW        0.90            355.50 Review and revise June MOR Tracker Chart

Total for Phase ID B151           Billable   19.50           8,562.00 Schedules/Operating Reports

Phase ID B154 LRC Retention Applications & Disclosures
         1368.002   07/11/2024 GAW             0.30            135.00 emails w. KAB, MRP, NEJ, & EAR re: 10th round conflicts check for potential
                                                                      supplemental disclosures and related issues; email w. KAB, MRP, NEJ, EAR, AS, TD and
                                                                      JH re: same
         1368.002    07/11/2024        JH      0.10             31.00 Email w/ KAB, MRP, NEJ, GAW, CRW, EAR, AS and TD re: 10th round conflicts check
                                                                      for potential supplemental disclosures and related issues
         1368.002    07/11/2024      EAR       1.80            963.00 Review and analyze conflicts report for other supplemental disclosures and related
                                                                      issues (1.5); multiple emails w. NEJ re: the same (.2); discussion w. NEJ re: same (.1)
         1368.002    07/11/2024      NEJ       0.20            120.00 Emails w. GAW and EAR re: LRC conflict check re: 10th omni claim objections for
                                                                      potential supplemental disclosures and related issues; confer with EAR re: same
         1368.002    07/15/2024        JH      0.10             31.00 Email w/ KAB, MRP, NEJ, GAW and EAR re: 10th round conflicts check for potential
                                                                      supplemental disclosures and related issues
         1368.002    07/15/2024      EAR       0.10             53.50 Review of multiple emails w. NEJ re: conflicts next steps and potential supplemental
                                                                      disclosures and related issues
         1368.002    07/15/2024      NEJ       0.10             60.00 Emails w. KAB, MRP, GAW, CRW, EAR, and JLH re: conflicts check for 10th round omni
                                                                      claim objections and potential supplemental disclosures and related issues
         1368.002    07/24/2024     GAW        0.90            405.00 confer w. MRP and EAR re: parties in interest lists and conflicts checks for potential
                                                                      supplemental disclosures and related issues (.7); emails w. EAR re: same (.2)
         1368.002    07/24/2024      EAR       2.90          1,551.50 review of additional parties in interest list and conflicts report for other supplemental
                                                                      disclosures and related issues (2.2); meeting with MRP and NEJ re: same (.7)
         1368.002    07/24/2024     MRP        0.70            525.00 Meeting w/ GAW and ER re: review of supplemental PII list results for potential
                                                                      supplemental disclosure and related issues
         1368.002    07/25/2024      EAR       2.90          1,551.50 Review of additional conflict reports for potential supplemental disclosures and
                                                                      related issues
         1368.002    07/29/2024     GAW        0.90            405.00 Review and analyze portion of 10th round omnibus objection conflict check report for
                                                                      potential supplemental disclosures and related issues
         1368.002    07/31/2024      EAR       1.40            749.00 Draft/revise list of potential conflicts for Partner review for potential supplemental
                                                                      disclosures and related issues (1.2); emails w. LRC team re: the same (.1); discussion w.
                                                                      GAW re: the same (.1)
         1368.002    07/31/2024     GAW        0.10             45.00 Discussion with EAR and CRW re: potential conflicts for review
         1368.002    07/31/2024     MRP        0.80            600.00 Email w/ M. Hancock, AGL and KAB re: Fee Examiner report w/r/t LRC interim fee
                                                                      application (.1); review fee examiner letter report (.7)

Total for Phase ID B154           Billable   13.30           7,225.50 LRC Retention Applications & Disclosures

Phase ID B155 Non-LRC Retention Applications & Disclosures
         1368.002  07/01/2024    KAB          0.30            277.50 prepare for and call with Ellex re: foreign OCP issues
         1368.002  07/03/2024    KAB          0.30            277.50 emails with Ellex, S&C, M. Pierce and G. Williams re: foreign OCP issues; emails with
                                                                     A&M team re: same; consider issues related to same
         1368.002    07/03/2024     GAW        0.20            90.00 emails w. KAB, MRP, NEJ, S&C and local Counsel for Lithuania re: OCP declaration
         1368.002    07/03/2024     MRP        0.10            75.00 Emails w/ J. Slekonyte and KAB re: OCP retention
         1368.002    07/08/2024      KAB       0.40           370.00 emails with A&M, S&C, PWP and M. Pierce re: supplemental A&M declaration and
                                                                     sealing issues; consider same; discussion with M. Pierce re: same
         1368.002    07/09/2024      KAB       0.30           277.50 emails with PWP, S&C, A&M and M. Pierce re: potential redactions on PIIL and
                                                                     related issues; consider same; confer with M. Pierce re: same; emails with LRC team re:
                            Case 22-11068-JTD            DocFee
                                                        Detail  24025-2         FiledReport
                                                                   Task Code Billing   08/29/24             Page 37 of 41                                Page: 36
                                                               Fee App - Detailed Fees
                                                               Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill         Amount
Phase ID B155 Non-LRC Retention Applications & Disclosures
                                                                     finalization and filing of same
         1368.002    07/09/2024       MR      0.20             70.00 file supplemental declaration for EY subcontractor Walter Bieganski; confer with NEJ
                                                                     re: same; email with KAB, MRP and NEJ re: same
         1368.002    07/09/2024      NEJ      0.40            240.00 Emails w. MRP, EY, and S&C re: EY supplemental declaration re: W. Bieganski; review
                                                                     same; confer w. MRP re: same; confer w. M. Ramirez re: same; emails w. KAB, MRP
                                                                     and M. Ramirez re: filing same
         1368.002    07/17/2024      NEJ      0.30            180.00 Emails w. MRP, EY, and S&C re: EY/ACM Associates declaration; review same; emails
                                                                     w. MRP and M. Ramirez re: filing same
         1368.002    07/17/2024      MR       0.30            105.00 finalize and file D. Messing Declaration; emails with NEJ re: same
         1368.002    07/17/2024     MRP       0.40            300.00 Email w/ EY and NEJ re: supplemental disclosure declaration; review EY declaration;
                                                                     emails w/ NEJ and MR re: finalizing the filing the same
         1368.002    07/19/2024      KAB      0.40            370.00 emails with A. Kranzley and R. Esposito re: sealing issues related to retention
                                                                     disclosures and consider same; email M. Pierce re: same
         1368.002    07/19/2024     MRP       0.40            300.00 Emails w/ A&M and S&C re: sealing w/r/t supplemental PII list; email w/ KAB re: the
                                                                     same
         1368.002    07/23/2024      KAB      0.60            555.00 emails with Ellex, S&C, M. Pierce and G. Williams re: foreign OCP retention and
                                                                     conflict review issues (.1); research same (.5)
         1368.002    07/24/2024      KAB      0.10             92.50 emails with Ellex, S&C and LRC teams re: Ellex foreign OCP dec
         1368.002    07/29/2024      KAB      0.10             92.50 emails with S&C, M. Pierce, G. Williams and C. Wood re: amended OCP list and UK
                                                                     OCP; discussion with M. Pierce re: same
         1368.002    07/29/2024     GAW       0.30            135.00 email w. KAB, MRP, and S&C re: OCP declaration (Beltrami); review and revise same;
                                                                     confer w. JF re: same
         1368.002    07/29/2024     CRW       0.50            197.50 Review and analyze OCP list for updates; emails with KAB and MRP re: same
         1368.002    07/29/2024      KAB      0.40            370.00 multiple emails with PWP, A&M, S&C and M. Pierce re: professional disclosures and
                                                                     sealing issues; consider same
         1368.002    07/29/2024      JLF      0.10             35.00 Confer with GAW re: OCP declaration (Beltrami)
         1368.002    07/30/2024     KAB       0.10             92.50 emails with A&M, S&C and M. Pierce re: supplemental disclosures for A&M and S&C
         1368.002    07/30/2024     MRP       0.30            225.00 Multiple emails w/ S&C, A&M, PWP and KAB re: supplemental PII list
         1368.002    07/30/2024     MRP       0.30            225.00 Emails w/ A&M re: supplemental A&M declaration; review updated version of the
                                                                     same

Total for Phase ID B155           Billable    6.80           4,952.50 Non-LRC Retention Applications & Disclosures

Phase ID B156 LRC Fee Applications
         1368.002   07/01/2024     KAB        2.20           2,035.00 review and revise LRC May fee narratives for compliance with Local Rules, UST
                                                                      guidelines and for privileged and confidential information
         1368.002    07/02/2024     CRW       2.40             948.00 Draft and revise LRC May Fee App (2.1); confer w/ KAB, GAW, JF re: same and
                                                                      non-LRC fee apps (.2); emails with MBM re: same (.1)
         1368.002    07/02/2024      KAB      4.40           4,070.00 multiple discussions with G. WIlliams, C. Wood and J. Huynh re: LRC's May fee app
                                                                      (.5); review and revise LRC's May fee narratives for compliance with Local Rules, UST
                                                                      Guidelines and for privileged and confidential information (3.9)
         1368.002    07/02/2024     GAW       0.50             225.00 Confer with KAB, CRW and JH re: LRC's 18th fee app
         1368.002    07/03/2024     CRW       2.90           1,145.50 Review and revise LRC May fee narratives for compliance with UST guidelines and
                                                                      confidential/privileged info (2.4); emails with KAB, GAW, JH, AS re: same (.2); confer
                                                                      with KAB, GAW, JH, and AS re: same (.2); Call with HWR and GAW re: same (.1)
         1368.002    07/03/2024      KAB      6.30           5,827.50 review and revise LRC's May fee narratives for compliance with Local Rules, UST
                                                                      Guidelines and for privileged & confidential information (6.1); call with C. Wood re:
                                                                      LRC fee app and related issues (.2)
         1368.002    07/03/2024     GAW       0.80             360.00 emails w. CRW re: LRC monthly fee app (.2); review and revise same (.3); call with
                                                                      HWR and CRW re: same (.1); confer with KAB, CRW, JH, AS re: same (.2)
         1368.002    07/03/2024     HWR       0.10              53.50 Call w/ GAW and CRW re: LRC May fee application
         1368.002    07/03/2024      JH       0.40             124.00 Emails w/ KAB, GAW, CRW and AS re: LRC's May Fee App; confer w/ KAB, GAW, CRW
                                                                      and AS re: same
         1368.002    07/05/2024     CRW       3.70           1,461.50 Review and revise May fee narratives for compliance with UST guidelines and
                                                                      confidential/privileged info (3.1); emails with MRP, KAB, GAW, JH, and AS re: same
                                                                      (.2); confer with GAW re: same (.2); Finalize LRC eighteenth monthly fee application
                                                                      (.2)
         1368.002    07/05/2024     GAW       1.60             720.00 confer w. CRW re: LRC fee app (.2); emails w. KAB, MRP. CRW, JLH, and ALS re: same
                                                                      (.2); review and revise same (1.1); emails w. KAB, CRW and JLF re: same (.1)
         1368.002    07/05/2024      KAB      2.60           2,405.00 review and revise May fee narratives for compliance with local rules, UST guidelines
                                                                      and for privileged & confidential information (1.2); review and revise LRC's 18th
                                                                      monthly fee app (1.1); multiple emails with G. Williams and C. Wood re: same (.3)
         1368.002    07/05/2024        JH     0.20              62.00 Emails w/ KAB, MRP, GAW, CRW and AS re: LRC's May fee application

                                                                                                                                       Thursday 08/29/2024 8:02 pm
                            Case 22-11068-JTD           DocFee
                                                       Detail  24025-2         FiledReport
                                                                  Task Code Billing   08/29/24           Page 38 of 41                                 Page: 37
                                                              Fee App - Detailed Fees
                                                              Landis Rath & Cobb LLP

                          Trans              Hours
            Client         Date      Tkpr    to Bill     Amount
Phase ID B156 LRC Fee Applications
         1368.002   07/05/2024     JLF        0.70        245.00 Emails to/from K. Brown and G. Williams and finalize and file Eighteenth Monthly Fee
                                                                 Statement of Landis Rath & Cobb LLP
         1368.002    07/09/2024      NEJ      2.20      1,320.00 Review and analyze June prebills for compliance with local rules, UST guidelines and
                                                                 privilege issues
         1368.002    07/10/2024      NEJ      2.10      1,260.00 Review and analyze June prebills for compliance with local rules, UST guidelines and
                                                                 privilege issues
         1368.002    07/15/2024     HWR       0.70        374.50 Review and revise LRC fee app for privilege and confidentiality issues related to
                                                                 adversaries
         1368.002    07/15/2024      NEJ      0.70        420.00 Review and analyze June prebills for compliance with local rules, UST guidelines and
                                                                 privilege issues
         1368.002    07/18/2024      NEJ      1.80      1,080.00 Review and analyze June fee narratives for compliance with local rules, UST guidelines
                                                                 and privilege issues
         1368.002    07/22/2024      EAR      0.80        428.00 Draft LRC's June fee app (.7) and discussion w. GAW re: the same (.1)
         1368.002    07/22/2024     GAW       0.10         45.00 Discussion with EAR re: LRC's June Fee App
         1368.002    07/23/2024     CRW       0.50        197.50 Review and revise CNO for LRC's May monthly fee app; emails with EAR, GAW, and
                                                                 MPH re: same
         1368.002    07/29/2024     GAW       0.20         90.00 confer w. KAB re: LRC June fee app; emails w. EAR, TD, AS, and JH re: same
         1368.002    07/29/2024       JH      0.20         62.00 Emails w/ GAW, EAR, TD and AS re: LRC's June fee application
         1368.002    07/30/2024     GAW       0.70        315.00 emails w. JH re: LRC June fee app (.1); emails w. KAB & JH re: same (.1); confer with
                                                                 CRW re: LRC June fee app (.5)
         1368.002    07/30/2024     CRW       0.60        237.00 Confer with KAB (.1) and GAW (.5) re: LRC June Fee App and filing issues
         1368.002    07/30/2024      KAB      5.80      5,365.00 emails with J. Huynh, E. Rogers and G. Williams re: June fee app (.1); review and revise
                                                                 LRC's fee narratives for compliance with local rules, UST guidelines, privileged and
                                                                 confidential info (5.7)
         1368.002    07/30/2024       JH      0.20         62.00 Emails w/ GAW re: LRC's June fee application; emails w/ KAB and GAW re: same
         1368.002    07/31/2024     GAW       9.40      4,230.00 confer w. KAB re: time reports for privilege and confidential information (.2); review
                                                                 and revise fee narratives for privileged and confidential information (8.6); numerous
                                                                 emails & confer w. KAB, MRP, EAR and CRW re: same (.6)
         1368.002    07/31/2024       MR      0.10         35.00 confer with MPH re: filing LRC fee app
         1368.002    07/31/2024      KAB      5.80      5,365.00 review and revise LRC's fee narratives for compliance with Local Rules, UST
                                                                 Guidelines, privileged and confidential information (4.1); review and revise LRC's June
                                                                 Fee app (1.1); discussions with G. Williams, E. Rogers and C. Wood re: same (.3);
                                                                 emails with FE, UST and LRC teams re: LRC's 6th interim and consider same (.3)
         1368.002    07/31/2024     EAR       0.70        374.50 Review, revise and finalize LRC June fee app
         1368.002    07/31/2024     MPH       1.00        350.00 finalize and file LRC's 19th Monthly Fee Statement for June 2024 (.8); Email exchange
                                                                 with KAB, GAW, CRW & ER re: same (.1); confer with M. Ramirez re: same (.1)

Total for Phase ID B156           Billable   62.40     41,292.50 LRC Fee Applications

Phase ID B157 Non-LRC Fee Applications
         1368.002  07/02/2024    KAB          0.40        370.00 emails with LRC team re: upcoming filings for debtor professional fee apps and
                                                                 consider filing plan; discussion with G. Williams, C. Wood and J. Ford re: filing plan for
                                                                 debtors professional fee apps and related issues
         1368.002    07/02/2024     GAW       0.20         90.00 confer w. KAB, CRW & JF re: debtors professionals fee apps
         1368.002    07/02/2024      JLF      0.20         70.00 Confer with KAB, GAW and CRW re: debtors professionals fee apps
         1368.002    07/03/2024     GAW       0.50        225.00 emails w. KAB re: debtors professionals May fee apps; call with EY re: same; emails w.
                                                                 KAB, CRW and JLF re: same; confer with CRW re: same
         1368.002    07/03/2024      KAB      0.10         92.50 emails with G. Williams and C. Wood re: debtor professionals May fee apps status and
                                                                 filing plan
         1368.002    07/03/2024     CRW       0.40        158.00 Emails w/ KAB, GAW and JLF re: Debtors' Professionals May Fee Apps; Confer with
                                                                 GAW re: same
         1368.002    07/05/2024     GAW       5.20      2,340.00 emails w. KAB, CRW, and A&M re: monthly fee statements (.2); emails w. KAB, CRW,
                                                                 and QE re: monthly fee statements (.1) confer w. JLF re: same (.2); analyze and revise
                                                                 A&M monthly fee statement (1.3); confer w. CRW re: fee apps finalization and related
                                                                 issue (.4); phone call w. QE re: fee app (.2); emails w. KAB, MRP, S&C re: PWP monthly
                                                                 fee statement (.1); review and revise PWP monthly fee app (.8); emails w. KAB, CRW,
                                                                 & JLF re: S&C fee app (.1); review and revise S&C fee app (1.1); review and revise QE's
                                                                 fee app (.7)
         1368.002    07/05/2024     CRW       2.90      1,145.50 emails with KAB, GAW, and A&M re: A&M May Monthly Fee app (.1); emails with
                                                                 KAB, GAW, and QE re: QE May Monthly Fee app (.1); Review and finalize Debtors'
                                                                 Professionals May Monthly Fee Applications (S&C (.5), A&M (.5), PWP (.5), Q&E (.5));
                                                                 emails with KAB, GAW, JLF re: same (.3); confer with GAW re: same (.4)
         1368.002    07/05/2024     GAW       0.40        180.00 emails w. KAB, MRP, NEJ and CRW re: limited objection to debtors professionals
                            Case 22-11068-JTD       DocFee
                                                   Detail  24025-2         FiledReport
                                                              Task Code Billing   08/29/24          Page 39 of 41                                Page: 38
                                                          Fee App - Detailed Fees
                                                          Landis Rath & Cobb LLP

                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B157 Non-LRC Fee Applications
                                                             interim fee apps; review and analyze same; emails w. EY re: same
        1368.002     07/05/2024   KAB     4.60      4,255.00 numerous emails with G. Williams, C. Wood and J. Ford re: non-LRC debtor fee apps
                                                             (.5); call with G. Williams re: same (.1); calls with C. Wood re: same (.2); emails with
                                                             S&C and LRC teams re: S&C's 19th monthly fee app (.1); review and revise same (.9);
                                                             review and revise A&M's 19th monthly fee app (.9); review and revise QE 18th
                                                             monthly fee app (.8); review and revise PWP 19th monthly fee app (.7); emails with
                                                             Porter Hedges, S&C, and LRC teams re: same (.1); discussion with J. Ford re:
                                                             finalization and filing of non-LRC debtor professional fee apps and related issues (.3)
        1368.002     07/05/2024   KAB     0.50        462.50 review and analyze MDL plaintiff's limited objection to professional fee apps; confer
                                                             with A. Landis and M. Pierce re: same; emails with G. Williams re: same
        1368.002     07/05/2024   AGL     0.60        765.00 review and analyze FTX Customer Group objection to fee applications (.4) and
                                                             communications with KAB and MRP re: same (.2)
        1368.002     07/05/2024    JLF    0.40        140.00 Confer with GAW re: monthly fee statements; Confer with KAB re: finalization and
                                                             filing of non-LRC debtor professional fee apps and related issues
        1368.002     07/05/2024    JLF    3.20      1,120.00 Emails to/from K. Brown and G. Williams and finalize and file 19th Monthly Fee
                                                             Statement of of Sullivan & Cromwell LLP (.8); Emails to/from K. Brown and G. Williams
                                                             and finalize and file 19th Monthly Fee Statement of Alvarez & Marsal North America,
                                                             LLC (.8); Emails to/from K. Brown and G. Williams and finalize and file 19th Monthly
                                                             Fee Statement of Perella Weinberg Partners LP (.8); Emails to/from K. Brown and G.
                                                             Williams and finalize and file 18th Monthly Fee Statement of Quinn Emanuel
                                                             Urquhart & Sullivan, LLP (.8)
        1368.002     07/05/2024   MRP     0.30        225.00 Communications w/ AGL and KAB re: MDL objection
        1368.002     07/08/2024   GAW     1.60        720.00 calls w. EY re: interim fee app & October fee app (.9); review EY's fee apps (.1); emails
                                                             w. EY re: October monthly fee app & draft language for same in connection w. same
                                                             (.5); email with CRW and MH re: Certificate of No Objection for Kroll's fee app (.1)
        1368.002     07/08/2024   KAB     0.80        740.00 emails with S&C, M. Pierce and N. Jenner re: RLKS June staffing and comp report (.1);
                                                             review and revise same (.6); emails with M. Ramirez and N. Jenner re: finalization and
                                                             filing of same (.1)
        1368.002     07/08/2024   MR      0.20         70.00 file RLKS June monthly fee report; emails with KAB and NEJ re: same
        1368.002     07/08/2024   NEJ     0.90        540.00 Emails w. GAW, CRW and M. Ramirez re: Certificate of No Objection for Kroll's May
                                                             2024 fee statement (.1); Emails w. KAB, MRP, GAW, and S&C re: RLKS June 2024
                                                             staffing and compensation report (.2); review and finalize same (.5); emails w. KAB,
                                                             MRP, GAW, CRW, and M. Ramirez re: same (.1)
        1368.002     07/08/2024   NEJ     0.30        180.00 Call w. MNAT re: limited objection to interim fee apps; confer w. KAB and MRP re:
                                                             same
        1368.002     07/08/2024   MPH     0.40        140.00 Draft & revise Certificate of No Objection re: Kroll's Monthly Fee Application for May
                                                             2004; Email exchange with GAW & CRW re: same
        1368.002     07/09/2024   GAW     0.60        270.00 review and revise CNO to Kroll's monthly fee application (.3); email w. MRP, CRW and
                                                             Kroll re: same (.2); email w. MRP, NEJ, CRW and MH re: same (.1)
        1368.002     07/09/2024   NEJ     0.20        120.00 Emails w. MRP, GAW, CRW, and Kroll re: Certificate of No Objection for May 2024 fee
                                                             statement; Emails w. MRP, GAW, CRW, and MPH re: finalizing same
        1368.002     07/09/2024   KAB     0.70        647.50 emails with S&C, M. Pierce and N. Jenner re: Owl Hill June fee app (.1); review and
                                                             revise same (.5); emails with M. Pierce, N. Jenner and M. Ramirez re: finalization,
                                                             revision and filing of same (.1)
        1368.002     07/09/2024   MR      0.20         70.00 file Owl Hill's June fee report; emails with KAB and NEJ re: same
        1368.002     07/09/2024   NEJ     0.50        300.00 Emails w. KAB, MRP, GAW, and S&C re: Owl Hill's June 2024 staffing and
                                                             compensation report; review and finalize same; emails w. KAB, MRP, GAW, and M.
                                                             Ramirez re: finalizing same
        1368.002     07/11/2024   GAW     0.10         45.00 email w. KAB, MRP, CRW and M. Ramirez re: debtors professionals June fee apps
        1368.002     07/11/2024   CRW     0.10         39.50 Email with KAB, MRP, GAW and M. Ramirez re: Debtors' Professionals June fee apps
        1368.002     07/15/2024   GAW     0.30        135.00 emails w. KAB re: debtors professionals fee apps; email w. AlixPartner re: same; email
                                                             w. A&M re: same; email w. QE re: same; email w. EY re: same; email w. PWP re: same
        1368.002     07/15/2024   KAB     0.10         92.50 emails with A. Kranzley and G. Williams re: June fee apps; emails with G. Williams re:
                                                             updates to debtor professionals re: same
        1368.002     07/18/2024   GAW     0.20         90.00 email w. MR re: CNO to AlixPartners Fee app; confer w. CRW re: drafting same
        1368.002     07/18/2024   CRW     0.50        197.50 Emails and confer with GAW re: AlixPartners May (18th monthly) Fee Statement
                                                             Certificate of No Objection; draft same
        1368.002     07/19/2024   CRW     0.20         79.00 Emails with GAW and MPH re: AlixPartners May eighteenth monthly fee statement
                                                             and CNO; emails with MRP, GAW and MPH re: same
        1368.002     07/19/2024   GAW     0.50        225.00 emails w. CRW and MH re: CNO to Alixpartners 18th Monthly Fee App; review and
                                                             revise same; emails w. MRP re: same
        1368.002     07/22/2024   GAW     0.20         90.00 confer w. M. Ramirez re: CNO AlixPartners 18th Fee App; emails w. MRP & M. Ramirez
                                                             re: same
                            Case 22-11068-JTD       DocFee
                                                   Detail  24025-2         FiledReport
                                                              Task Code Billing   08/29/24           Page 40 of 41                                Page: 39
                                                          Fee App - Detailed Fees
                                                          Landis Rath & Cobb LLP

                          Trans          Hours
            Client         Date   Tkpr   to Bill     Amount
Phase ID B157 Non-LRC Fee Applications
         1368.002  07/22/2024 MPH         0.10         35.00 Email exchange with MR re: Certificate of No Objection re: AlixPartners 18th Monthly
                                                             Fee Statement
        1368.002     07/22/2024    MR     0.10         35.00 Confer with GAW re: Certificate of No Objection AlixPartners 18th Fee App
        1368.002     07/22/2024   MRP     0.20        150.00 Emails w/ MR re: Certificate of No Objection for AlixPartners fee app; review draft of
                                                             the same
        1368.002     07/23/2024   CRW     0.70        276.50 Draft emails to Debtors' Professionals: S&C, A&M, QE and PWP re: CNOs for May fee
                                                             apps (.6); discussion with EAR and GAW re: CNOs for May fee apps (.1)
        1368.002     07/23/2024   EAR     1.20        642.00 Review and revise draft emails and CNOs for non-LRC May fee applications (1.0);
                                                             emails w. GAW and CRW re: the same (.1); discussion w. GAW and CRW re: the same
                                                             (.1)
        1368.002     07/23/2024   MPH     1.20        420.00 Draft and revise Certificates of No Objection re: Debtors' Professionals Monthly Fee
                                                             Statements for May 2024 (1.0); Email exchange with GAW, CRW & MR re: same (.2)
        1368.002     07/23/2024   MPH     0.10         35.00 Review and analyze Fifth Consolidated Monthly and Fifth Interim Application with
                                                             notice and certificate of service for Fee Examiner and Counsel for Fee Examiner; Email
                                                             exchange with AGL, KAB, MRP, GAW,CRW, ER & MR re: same
        1368.002     07/23/2024   GAW     0.10         45.00 discussion with EAR and CRW re: CNOs for 18th/19th round of fee apps
        1368.002     07/24/2024   GAW     1.20        540.00 emails w. KAB & PWP re: PWP's monthly fee app (.2); emails w. MRP & M. Ramirez re:
                                                             same (.2); review PWP's fee app (.7); emails w. CRW re: same (.1)
        1368.002     07/25/2024   GAW     1.50        675.00 review CNOs for QE's (.1), S&C's (.2), A&M's (.2) and PWP's (.2) May Fee Apps; emails
                                                             w. MRP, CRW and QE re: CNO (.1); email w. MRP, CRW and S&C re: CNO (.1); email w.
                                                             MRP, CRW and PWP re: CNO (.1); email w. MRP, CRW and A&M re: same (.1); review
                                                             of objection to fee application (.3); confer w. MRP re: same (.1)
        1368.002     07/25/2024   KAB     0.40        370.00 review email from A. Gollman and attachment thereto re: MDL Plaintiffs' objection to
                                                             professional fees; emails with S&C, A. Landis and M. Pierce re: same
        1368.002     07/26/2024   GAW     1.20        540.00 email KAB, MRP, S&C and AlixPartners re: fee app (.2); review AlixPartners fee app (.9);
                                                             email w. MRP and M. Ramirez re: same (.1)
        1368.002     07/26/2024   AGL     1.30      1,657.50 review and analyze MDL plaintiffs fee objection (.5); communications with MRP and
                                                             S&C team re: same and go forward strategy (.8)
        1368.002     07/26/2024   MRP     0.70        525.00 Email w/ AlixPartners and S&C re: draft Alix monthly fee statement (.1); review the
                                                             same (.3); emails w/ GAW and MR re: finalizing the same (.1); review filing version of
                                                             the same (.2);
        1368.002     07/29/2024   KAB     0.10         92.50 emails with M. Cilia, S&C, A. Landis and M. Pierce re: objections to May fee apps and
                                                             related issues
        1368.002     07/29/2024   KAB     0.30        277.50 emails with S&C, A. Landis and M. Pierce re: MDL fee objection; review and analyze
                                                             letter to MDL re: objection and 2019 issues
        1368.002     07/29/2024   MPH     2.70        945.00 Draft and revise Fee Application Index for 9/12/2024 Interim Fee Hearing
        1368.002     07/30/2024   KAB     0.50        462.50 call with R. Popitti and M. Pierce re: MDL fee objections, response and related issues;
                                                             discussion with M. Pierce re: same
        1368.002     07/30/2024   AGL     1.30      1,657.50 discussions with YCST re: MDL fee objection and related issues (.6); discussions with
                                                             MRP and BDG re: same and process (.5); review and revise notice of MDL objection
                                                             (.2)
        1368.002     07/30/2024   MPH     2.20        770.00 Revise Fee Application Index for September 12, 2024 Interim Fee Hearing
        1368.002     07/31/2024    MR     0.10         35.00 confer with MPH re: filing Debtors professional June fee apps
        1368.002     07/31/2024    AGL    0.60        765.00 discussions with BDG and MRP re: MDL fee objection, process and issues
        1368.002     07/31/2024   CRW     4.90      1,935.50 Review and revise A&M (1.2), Q&E (1.1), S&C (1.4) June fee applications; multiple
                                                             discussions with KAB, EAR and GAW re: same (.6); numerous emails with LRC team re:
                                                             finalization and filing of non-LRC fee apps (.6)
        1368.002     07/31/2024   GAW     1.50        675.00 emails w. KAB, CRW, PWP (.1), S&C (.1), QE (.1) and A&M (.1) re: fee applications;
                                                             numerous emails w. KAB, MRP, EAR, CRW and MH re: same (.5); multiple discussions
                                                             w. KAB, EAR and CRW re: finalization and filing of same (.6)
        1368.002     07/31/2024   KAB     4.10      3,792.50 emails with UST, S&C and Fee Examiner teams re: UST comments to various non-LRC
                                                             debtor professional fee apps and consider same (.3); emails with S&C, M. Pierce and
                                                             G. Williams re: S&C June monthly fee app (.1); review and revise same (.8); emails with
                                                             LRC team re: finalization and filing of same (.1); emails with A&M, S&C, M. Pierce and
                                                             G. Williams re: A&M's monthly fee app (.1); review and revise same (.8); emails with
                                                             LRC team re: finalization and filing of same (.1); emails with QE, S&C, M. Pierce and G.
                                                             Williams re: QE monthly fee app (.1); review and revise same (.7); emails with LRC
                                                             team re: finalization and filing of same (.1); call with M. Hitchens re: filing of non-LRC
                                                             monthly fee apps and related issues (.3); multiple discussions with E. Rogers, G.
                                                             Williams and C. Wood re: same (.6)
        1368.002     07/31/2024   MPH     3.40      1,190.00 Draft/revise, finalize and file S&C's 20th (.8), A&M's 20th (.8), and QE's 19th (.8)
                                                             Monthly Fee Statements for June 2024; Email exchange with KAB, GAW, CRW & EAR
                                                             re: same (.2); call with KAB re: same (.3); confer with EAR re: same (.5)
                            Case 22-11068-JTD             DocFee
                                                         Detail  24025-2         FiledReport
                                                                    Task Code Billing   08/29/24         Page 41 of 41                               Page: 40
                                                                Fee App - Detailed Fees
                                                                Landis Rath & Cobb LLP

                          Trans                Hours
            Client         Date      Tkpr      to Bill      Amount
Phase ID B157 Non-LRC Fee Applications
         1368.002  07/31/2024     EAR           9.50       5,082.50 Multiple discussions with KAB, GAW and CRW re: June fee applications for debtor
                                                                    professionals (.5); Review, revise and finalize QE (2.4), A&M (2.4) and S&C (2.5) fee
                                                                    apps; multiple discussions (.6) and emails (.6) w. KAB, GW, MPH, and CW re: the same;
                                                                    confer w. MPH re: the same (.5)
         1368.002    07/31/2024     MRP         0.10          75.00 Emails w/ S&C and EY re: UST questions on EY interim fee app
         1368.002    07/31/2024     MRP         1.90       1,425.00 Emails w/ S&C re: S&C June fee app (.1); emails w/ KAB, EAR, GAW and CRW re:
                                                                    finalizing the same (.1); review compiled S&C June fee app (.4); email w/ GAW and
                                                                    EAR re: QE fee app (.1); review compiled filing version of QE fee app (.3); email w/
                                                                    GAW re: A&M fee app (.1); review compiled filing version of A&M fee app (.5);
                                                                    numerous emails w/ LRC team re: filing finalized June fee apps (.3)

Total for Phase ID B157           Billable     71.70      41,556.00 Non-LRC Fee Applications

Phase ID B160 Examiner
         1368.002   07/12/2024      MPH         0.20         70.00 Review and analyze Examiners Motion to Amend the Cost of Phase I of Examination;
                                                                   Update calendar and Critical Dates Memo re: same; Email exchange with AGL, MBM,
                                                                   KAB, MRP, NEJ, HWR, GAW, CRW, ER & MR re: same
         1368.002    07/16/2024     KAB         0.70        647.50 review and analyze Examiner's pleadings to amend Phase 1 budget
         1368.002    07/31/2024     MPH         0.10         35.00 Review and analyze Order Amending the Cost of Phase I Examination; Email
                                                                   exchange with AGL, MBM, KAB, MRP, GAW, CRW, ER & MR re: same

Total for Phase ID B160           Billable      1.00        752.50 Examiner

                                                                  GRAND TOTALS

                                  Billable   1,125.60    688,073.00
